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12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14

15    UNITED STATES OF AMERICA,                   )   Case No. CR 88-972-TJH-6
                                                  )
16                             Plaintiff,         )   DEFENDANT’S MOTION TO
17
                                                  )   REDUCE SENTENCE PER 18
                    v.                            )   U.S.C. §3582(c)(1)(A)
18                                                )
      MICHAEL R. HARRIS,                          )
19                                                )
                               Defendant.         )
20                                                )
21                                                )

22
           Defendant MICHAEL R. HARRIS, by and through his undersigned counsel,
23
     respectfully submits this memorandum of law (and the attached exhibits) in support
24
     of his motion, pursuant to 18 U.S.C. §3582(c)(1)(A), for entry of an Order reducing
25
     his 235-month sentence (of which he already has served 30 years) to time served.
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 1 Date: April 27, 2020               Respectfully submitted:
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  1                       DEFENDANT’S MOTION TO REDUCE
  2                      SENTENCE PER 18 U.S.C. §3582(c)(1)(A)
  3                                            I.
  4                                   INTRODUCTION
  5        Movant, Michael R. Harris, through undersigned counsel, respectfully asks
  6 this Court to grant his motion for reduction in sentence and compassionate release

  7 under 18 U.S.C. §3582(c)(1)(A), and to order his forthwith release to be followed by

  8 the 5-year term of Supervised Release that was imposed at sentencing. This motion

  9 should be granted due to the “extraordinary and compelling reasons” confronting the
 10 Federal prison system with the pandemic of COVID-19 as well as the fact that Mr.

 11 Harris is not a danger to the community. He has served more than 30 years in prison

 12 which have been distinguished by extraordinary self-rehabilitative efforts and

 13 participation in programs to assist his fellow inmates. Mr. Harris is now scheduled

 14 for release from the BOP in June of 2028. His offense conduct terminated in 1987,

 15 and he has been in continuous custody since then.

 16        The urgency of this request is heightened by the serious medical condition
 17 known as Guillain-Barré Syndrome with which Michael Harris has been diagnosed.

 18 Guillain-Barré Syndrome is characterized by serious respiratory disorder caused by

 19 weakening of the breathing muscles and damage to the immune system. These pre-

 20 existing health problems leave Michael Harris, who is 58 years old, highly

 21 susceptible to contracting the coronavirus and at elevated risk for death or serious

 22 lasting injury if infected.

 23        As this Court is aware, the Bureau of Prisons generally, and the Federal
 24 Corrections Complex (FCC) at Lompoc, California, in particular, have been overrun

 25 by the COVID-19 epidemic in recent weeks. As of April 26, 2020, FCC Lompoc

 26 had 89 confirmed cases of COVID-19 among inmates (approximately 11.5% of total
 27 BOP cases, and third highest in the BOP) along with 27 infected staff. One inmate

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  1 has recently died, along with another who died just days after being released from
                           1
  2 prison on April 1, 2020 following 27 years imprisonment in the BOP.

  3           The overarching principles of respect for the law and general deterrence, along
  4 with the other 18 U.S.C. §3553(a) factors, would in no way be undermined by

  5 granting Mr. Harris’ motion for compassionate release or converting the remainder

  6 of his sentence to Home Confinement in light of the cataclysmic toll of the current

  7 pandemic, especially in view of his personal transformation that has been evident for

  8 many years and his proven commitment to rehabilitation.

  9           We respectfully ask the Court to consider this motion on an expedited basis
 10 since each day in custody brings renewed risk to Michael Harris’ health. If Mr.

 11 Harris were to become critically ill or die while in custody, it would be not only

 12 devastating from a human standpoint for Mr. Harris and his family, but would

 13 eliminate a person who, following his release, would in all probability serve as a

 14 great source of healing and mentoring in the disadvantaged community of South

 15 Central Los Angeles in which he was raised.

 16                                               II.
 17           OVERVIEW: COMPELLING GROUNDS EXIST TO IMMEDIATELY
 18               GRANT INMATE MICHAEL HARRIS’ MOTION FOR RELEASE
 19                                UNDER 18 U.S.C. §3582(c)(1)(A)
 20           While the Coronavirus outbreak vastly increases the exigency of this motion,
 21 it is by no means the extraordinary or compelling grounds on which it should be

 22 granted. Mr. Harris and undersigned counsel had been well on the way to submitting

 23 this motion under §3582(c)(1)(A) before the advent of the current pandemic made it

 24 potentially a life or death matter.

 25           When Congress abolished federal parole with the passage of the Sentencing
 26 Reform Act of 1984, it invested in the U.S. Bureau of Prisons ("BOP") the discretion
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              1
                  See Los Angeles Times article entitled, “Coronavirus Outbreak at Lompoc
 28 Prison is the Worst in the Nation: 69 Inmates, 25 Staff Infected” dated April 16,
      2020.
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  1 to revisit the sentences imposed on a few narrow categories of defendants. But the

  2 BOP seldom exercised that authority. Rather than building a bridge out of prison for

  3 those prisoners whose conduct warranted a second chance and for whom

  4 "extraordinary and compelling reasons" existed to grant release, the BOP, in almost

  5 every instance, chose to stand with the status quo and keep such deserving prisoners

  6 locked up. Historically, this has been true even for those prisoners who were

  7 sentenced decades ago, even for those prisoners serving exceedingly long prison

  8 terms that were the functional equivalent of life, and even prisoners for whom

  9 continued incarceration could no longer be justified on moral or utilitarian grounds
 10 nor for the safety of the community.

 11        Responding to the reality that the BOP was not making use of its legal
 12 authority to seek sentence reductions for qualified defendants, Congress recently

 13 vested federal judges with the power to do what previously they were prohibited

 14 from doing absent a motion from the Director of the BOP. Specifically, changes to

 15 18 U.S.C. §3582(c)(1)(A) contained in the First Step Act ("FSA"), signed into law

 16 on December 21, 2018, authorizes a District Court judge to reduce a term of

 17 imprisonment -- even to time served -- of any defendant, after that defendant has

 18 exhausted his/her administrative remedies. The Court is authorized to do this if it

 19 finds that "extraordinary and compelling reasons" warrant such a reduction. In other

 20 words, Federal judges now are empowered to take a "second look" at the sentence

 21 imposed on a worthy and deserving defendant, and if, in their discretion,

 22 "extraordinary and compelling reasons" exist, provide that defendant with a second

 23 chance.

 24        Michael Ray Harris is such a defendant. In 1990, Mr. Harris was sentenced to
 25 nineteen years and seven months for a non-violent federal drug offense. Yet thirty

 26 years later, for reasons that are "extraordinary and compelling" and militate for a
 27 second evaluation, Mr. Harris is still imprisoned with eight years of his federal

 28 sentence left to serve. Of the thirty-two continuous years he has spent in prison, Mr.


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  1 Harris served twenty-three years for a state crime of which he actually is innocent,

  2 and the last nine years in federal prison due to a series of errors made by the U.S

  3 Marshals Service in calculating and executing his federal sentence.

  4        Mr. Harris realizes that the above circumstances are all ultimately
  5 consequences of mistaken decisions that he himself made in his younger years. He

  6 has taken responsibility and has strived to make the most of opportunities that

  7 existed in the prisons where he has been housed -- first inside the California

  8 Department of Corrections and Rehabilitation (CDCR) and now within the BOP, to

  9 educate, improve and better himself. Rather than become embittered and resentful,
 10 Mr. Harris founded, led, advised, or participated in more than a dozen successful,

 11 forward-looking programs in California's prisons that benefitted fellow inmates,

 12 some of which have been emulated in prison systems across the country.

 13        There is little question that Mr. Harris long ago matured out of the
 14 irresponsible and self-destructive attitudes of his youth. His character has evolved

 15 inexorably during the last 32 years that he has been incarcerated. He has aligned

 16 himself with the most positive elements within the inmate population and has never

 17 lost hope of someday reestablishing himself in his family and community,

 18 incorporating the lessons and insight acquired during his sojourn through the state

 19 and federal prison systems.

 20        Accordingly, and for all the reasons detailed below -- including but not limited
 21 to: his actual innocence with respect to his state conviction; the improper plea tactics

 22 of the U.S. Attorney’s Office; the improper jury instructions in his federal trial; his

 23 minor role in the federal offense; the erroneous drug amount attributed to him which

 24 improperly elevated his guidelines base offense level under U.S.S.G. §2D1.1(c); the

 25 improper computation and execution of his federal sentence by the United States

 26 Marshals Service; and the disparity between the length of his sentence and those of
 27 his co-defendants -- Mr. Harris respectfully asks this Court take a "second look" at

 28 his record of exceptional post-conviction rehabilitation and consider it as one among


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  1 multiple "compelling and extraordinary” reasons, together with the current health

  2 crisis, to enter an order, pursuant to 18 U.S.C. §3582(c)(1)(A) reducing Mr. Harris'

  3 sentence to time served.

  4        It is important to note that when Mr. Harris originally submitted his Request to
  5 the Warden at FCI Lompoc for Compassionate Release, pursuant to §3582(c)(1)(A)

  6 as amended by the First Step Act of 2018 ("FSA"), he submitted it for reasons that

  7 were extraordinary and compelling, but were not primarily related to medical

  8 condition, age, or family circumstances.

  9        Mr. Harris’ original such request was submitted on August 16, 2019, and was
 10 denied on August 21, 2019. It was resubmitted on November 17, 2019, received by

 11 the BOP on November 25, 2019, and also denied, on January 22, 2020. (See Exhibit

 12 C.) At that time, the global COVID-19 coronavirus pandemic had not yet really hit

 13 the United States. However, events that have transpired in the interim heighten the

 14 urgency of Mr. Harris’ Compassionate Release request due to his diagnosis of

 15 Guillain-Barré Syndrome, an auto-immune disorder often marked by the body's

 16 immune system attacking itself.

 17        Because of the COVID-19 virus, administrative offices at FCI Lompoc have
 18 been shut down until further notice as part of the nationwide mandatory BOP

 19 lockdown. Administrative staff, such as case managers and counselors, have been

 20 reassigned by the BOP to correctional officer status. Currently all FCI Lompoc

 21 inmates, including Mr. Harris, are on a 24 hour a day quarantine lockdown with no

 22 access to telephones or e-mail nor ability to communicate with their attorneys. Any

 23 further pursuit of administrative remedies would be futile and ineffective under the

 24 present circumstances. Mr. Harris' incurable medical condition should, either in

 25 combination with other factors or standing alone, be considered an extraordinary and

 26 compelling reason for the Court to reduce his sentence to time served and to order
 27 his immediate release.

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  1        Due to the recent, aggressive, and explosive expansion of COVID-19 corona
  2 virus cases throughout the United States and in the BOP, including more than one

  3 hundred combined cases between inmates and staff at the Lompoc prison complex,

  4 Mr. Harris is now in acute danger of contracting COVID-19 in his prison setting

  5 where his impaired auto immune system would leave him essentially defenseless.

  6 COVID-19 is especially deadly for older individuals with immune-compromised

  7 conditions such as Mr. Harris. This imminent threat to his health and safety is in its

  8 own right an "extraordinary and compelling" reason to reduce Mr. Harris' sentence to

  9 time served and to effectuate his immediate release.
 10                                            III.
 11                             PERSONAL BACKGROUND
 12 A.     Formative Years -- Seeds Planted
 13        Michael Ray Harris was born in Los Angeles, California on September 20,
 14 1961. His mother and father were part of the "Great Migration" of the Twentieth

 15 Century from the mostly rural deep South to the cities of the North and West of the

 16 United States.

 17        Michael Harris' father, Henry Harris, was born in 1915 in Dumas, Arkansas,
 18 one of eleven children. Henry Harris' father was a farmer, and his mother ran a

 19 laundry. His maternal grandmother, Mattie Hardin, had been a slave. Henry Harris

 20 came to Bakersfield, California, at age thirteen to live with his sisters and attend high

 21 school. Subsequently, he moved to Los Angeles in search of work.

 22        Michael Harris' mother, Fannie Mae Jordan, was born in 1935 in Arkadelphia,
 23 Arkansas, and grew up in Oak Grove, Louisiana, a small town 87 miles east of

 24 Monroe, Louisiana, 20 miles south of the Arkansas border and 20 miles west of the

 25 Mississippi River. She was one of ten children. Her parents were sharecroppers

 26 who farmed cotton, corn, peas, sorghum and livestock, as her grandparents had done
 27 previously. Her father, Minous Jordan, was eventually able to purchase the land on

 28 which he had sharecropped.


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  1        Michael's parents separated when he was four years old. He was raised by his
  2 mother, although he saw his father sporadically. Michael's family was a loving

  3 family. He was very close to his siblings. His younger brother, David Louis Harris,

  4 was one year younger, and his sister, Starlisa Young, is four years younger than

  5 Michael. Michael's father separately had three sons with another woman prior to

  6 Michael's birth, and Starlisa's father, James Young, brought to the household two

  7 sons and a daughter he had fathered, Calvin, Donald and Loretta. Besides Michael's

  8 siblings and step-siblings, there were numerous uncles, aunts, and countless cousins

  9 in his very large extended family. The family regularly attended New Hope Baptist
 10 Church at 52nd Street and Central Avenue in Los Angeles.

 11        The greatest influence on Michael in his formative years was his mother.
 12 From his mother Michael learned how to observe and navigate with people from all

 13 walks of life. At her funeral in 2017, she was remembered as a mother who "was set

 14 on teaching her children, grandkids and great-grandkids how to be independent self-

 15 sufficient go-getters. Her children remember her as a kind, gentle, patient, driven

 16 mother who encouraged them to pursue their goals...[she] was a jack of all trades,

 17 but best known for her cooking. Often an example of talent, she could cook any kind

 18 of breakfast and soul food, that would make your mouth water and leave you

 19 wanting more. She was a generous, witty, dedicated woman who was passionate

 20 about helping and feeding people in the community."

 21        Both of Michael's parents had an entrepreneurial spirit. Prior to moving to Los
 22 Angeles, his mother had worked at Pippin's Restaurant in Oak Grove, a popular spot

 23 for members of the community to meet and talk while enjoying wholesome Southern

 24 cuisine. Pippins' sweet potato pie, banana pudding, peach cobbler and tea cakes

 25 were the best, west of the Mississippi. The restaurant was popular among both

 26 whites and Blacks, although as strange as it may seem now, the restaurant was
 27 sectioned off with a wall between the section for white customers and the section for

 28


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  1 Black customers. This segregation of customers at Pippin's lasted well into the

  2 1980s.

  3        Michael was raised in the Los Angeles neighborhood of South Park, in a home
  4 on 53rd and Avalon Blvd. and later, in a house on 46th Street near Central Avenue.

  5 His youth was centered around the heart of urban life in L.A., bordered by Central

  6 Ave, Hooper Ave., Vernon Ave. and Slauson Blvd., an area that in the 1930s, 40s

  7 and 50s had been known informally as "Harlem West," and that today is called

  8 "South Central L.A."

  9        Michael's mother worked two, and sometimes three jobs, often 16 to 20 hours
 10 a day, six to seven days a week, including at a near-by restaurant, Chapman's Grill,

 11 located also at 52nd Street and Central Avenue, across the street from the family's

 12 church. Her strong work ethic and thrift was reflected in the way she saved tips and

 13 wages from overtime, eventually enabling her to purchase the house on 46th near

 14 Central Avenue in which she lived with Michael and her other children, as well as

 15 hosting numerous relatives who would visit from near and far.

 16        Michael's mother eventually purchased Chapman's Grill with the money she
 17 had saved and renamed it Fannie's Grill (later changing the name to Fannie Mae's).

 18 It became a neighborhood culinary landmark, a gathering place before and after

 19 work, during lunches, and following church on Sundays. It was locally-famous for

 20 its breakfasts and soul food dinners. In a short time, she made enough to purchase

 21 Pippin's Restaurant in the community of her youth, Oak Grove, Louisiana, renaming

 22 it Jordan's Cafe. The Louisiana restaurant was managed by Fannie Jordan's sister,

 23 Michael's Aunt Matilda. The two restaurants provided employment for Michael, his

 24 siblings, aunts, uncles, and cousins -- those in Louisiana as well as those in Los

 25 Angeles.

 26        Michael's mother taught her children the importance of honesty and hard
 27 work. As a young boy watching his mother work so hard, it pained Michael that he

 28 was not able to relieve the financial difficulties she faced. In the sixth grade he


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  1 began working on weekends and after school to contribute to the household. He

  2 helped with whatever he could do at his mother's restaurant, from sweeping the floor

  3 to washing dishes and making deliveries. It was the first chance he had in his life to

  4 help relieve the strain on his mother.

  5        Until age 15, Michael, while growing up, would spend his summers with his
  6 maternal grandmother, Caroline (Callie) Jordan, in Louisiana. There, in Oak Grove,

  7 in the warm embrace of his extended clan, Michael came to appreciate the

  8 importance of family. His mother's family owned 187 acres which had been

  9 acquired by his deceased grandfather, Minous Jordan. Under the direction of
 10 Grandmother Callie, they raised cattle, sheep, chickens, and grew potatoes, okra,

 11 corn, sweet potatoes, watermelon, cantaloupe and squash, some for their own

 12 consumption and the rest to sell.

 13        Those 187 acres were surrounded by thousands of acres owned by a prominent
 14 white land owner of the area, Mr. Slim Milton. The headquarters for the Milton

 15 operation was next door to Grandmother Callie's 187 acres. Young Michael and his

 16 brother and sister helped both at his Grandmother Callie's farm and at the nearby

 17 headquarters of the much larger surrounding Milton ranch. There, on both of those

 18 rural properties, Michael learned to ride horses, round-up cattle, feed animals, plant,

 19 grow and harvest crops, pick cotton, and the dozens of other jobs a farm demands.

 20        Slim Milton for years had wanted to purchase the 187 acres Michael's family
 21 owned, and add it to his other holdings, which included the local bank and large

 22 tracts of real estate both in Oak Grove and in other towns. The Milton land was

 23 prime grazing land on which cattle could be raised. The segregationist practices

 24 included keeping Blacks from owning such grazing land. Instead, they were allowed

 25 to raise crops to feed themselves on small farms, usually on white-owned land on

 26 which they farmed as sharecroppers.
 27        It was unusual for a Black family to own grazing land, and it went against the
 28 white controlled "Southern way." At age 13, Michael became aware that Slim


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  1 Milton was putting pressure on his family to sell their farm. A majority of

  2 Grandmother Callie's children wanted to sell, at whatever price they could get. They

  3 needed the money, and Mr. Milton could wield his local power to make life difficult

  4 for the family if they did not sell. Michael's mother wanted to keep the land in the

  5 family, but she was outvoted by other family members, and the farm was sold to Mr.

  6 Milton for pennies on the dollar.

  7          Michael was deeply affected by what he considered an unfair transaction and
  8 was bothered that at his young age he couldn't do anything about it. He felt helpless.

  9 He was a kid, watching and silently protesting. The 187 acres of the family farm
 10 was the only thing connecting young Michael to his grandfather. Along with

 11 recognizing that the sale for far less than it was worth was tantamount to stealing a

 12 legacy from his grandfather, the incident made clear to Michael that real estate had

 13 value.

 14          Michael's work ethic was learned not only from his mother and grandmother,
 15 however. His father, Henry Harris, had acquired and owned a block-long lumber

 16 mill in Los Angeles, "Harris Custom Mill," that provided finished wood for furniture

 17 manufacturers. His father also owned a fleet of dump trucks. His mill had its own

 18 railroad siding along the "Alameda Corridor," between Gage and Florence Avenues,

 19 a little more than three miles from Michael's home near Central Avenue. Like his

 20 mother, Michael's father acquired and built his businesses with sweat and long hours.

 21          Unknown to Michael's mother at the time of their meeting, Michael's father
 22 was married to another woman and had three other older sons, Kurt, Kenny, and

 23 Gene, from a previous relationship. Michael's father acknowledged Michael and his

 24 younger brother, David, as his sons, but Michael felt the sting of not being fully

 25 included in his father's life. Not once, for instance, did his father ever invite him

 26 over to his home.
 27          Although a successful businessman, his father was not a warm, engaging
 28 individual. He did not smile or give praise easily. This father/son wound was one


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  1 which Michael carried into adulthood and it caused both positive and negative

  2 reactions. Positively, Michael vowed to love and never to abandon or neglect any

  3 children he fathered. Negatively, the fact his father never took Michael under his

  4 wing in the lumber mill business, in spite of Michael repeatedly asking for the

  5 opportunity to work there, fueled the drive to succeed at any cost that Michael later

  6 displayed.

  7        The role models for Michael and his siblings while growing up were their
  8 hardworking, industrious family members. From them, Michael developed his own

  9 tenacious work ethic.
 10 B.     Seeds Sprouting
 11        Starting in the seventh grade, Michael began working weekends and after
 12 school at Scotty's Shoe Shine Parlor on Central Avenue in the Black center of Los

 13 Angeles. Scotty's was on the same block as Johnson's Shoe Shine Parlor. There was

 14 furious competition between the two parlors. Both parlors hired youth from the

 15 community, who made it almost a sport in competing for customers. Michael and

 16 the other kids would do the shoe refinishing, replacing soles, shining shoes and so

 17 forth. Sometimes, a customer would drop off fifteen or twenty pairs of shoes,

 18 forcing Michael to make partners out of his fellow shoeshine youths whom he

 19 normally tried to out-hustle. That competitive atmosphere taught Michael how to be

 20 a salesman. On a good weekend, Michael would make seven hundred to a thousand

 21 dollars from his service and tips, giving the majority to his mother to help ease her

 22 burden.

 23        Michael, a keen listener and learner, would keep his eyes and ears open while
 24 working at Scotty's, observing people, learning how to manage people and situations.

 25 Later, as a dealer of cocaine, his mind would go back to his days at Scotty's, not

 26 thinking at that time of the harm he was helping create with drug dealing, but
 27 applying to the drug trade the business lessons he had learned from keeping his eyes

 28 and ears open in those early years.


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  1        As a youth, Michael had plenty of positive hobbies. He had a passion for
  2 photography, sports, music and films, especially those which chronicled and

  3 highlighted Black culture. He became a disciplined practitioner of Tae Kwon Do. In

  4 the early 1970s, local youth gangs were beginning to form into the Bloods and Crips,

  5 but Michael and his younger brother learned to navigate without becoming members

  6 of, or pledging allegiance to, any gang.

  7        At a young age, Michael was classically trained on the piano by his next-door
  8 neighbor, Mrs. Payne. In elementary school, he was active in various school

  9 productions. While in junior high, he acted in plays, performed with the school
 10 band, and learned to play various instruments, including trombone and drums. Later,

 11 in college, he enrolled in numerous acting classes from comedy to drama to improv.

 12 One of his first business ventures was a music studio called "Jingle Factory," a

 13 company that specialized in creating radio commercials for local businesses.

 14        Some years later, as a young adult, Michael Harris was mentored by Eric
 15 Monte on script writing. Monte was the creator and writer of the urban cult classic

 16 hit, "Cooley High," and the hit TV series, "Good Times." He had taken time out to

 17 help Michael Harris write an urban film entitled, "Crenshaw Boulevard," a story

 18 highlighting growing up in the urban core of Los Angeles in the 1980s. Michael

 19 Harris also met with Mr. and Mrs. Michael Schultz, the directing team of the urban

 20 film, "Car Wash," about directing his proposed film.

 21        Along with his interest in film, Michael Harris' early interest in entertainment
 22 found expression with his enthusiasm for live theater. His attraction to theater was

 23 sparked at the Inner City Cultural Center where he first encountered the play,

 24 "Checkmates." It created in him a desire to produce Black-themed live theater.

 25        In his early attempts to set up his company to produce plays, Michael he
 26 continually ran into negativity. Many excellent Black actors and actresses were
 27 unemployed. Yet, because a Black producer in theater never had made it to

 28 Broadway, the response to his efforts was "Black productions are not profitable.


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  1 Why try?" Invariably, Michael's response was, "Why not?" What followed was his

  2 creation of Y-Not Production Company. His objective was to produce shows which

  3 entertained, provoked thought, and depicted positive images, especially for people of

  4 color.

  5          Under that company, Michael Harris went on to produce two plays:
  6 "Checkmates" and "Stepping Into Tomorrow." The first play he produced,

  7 "Checkmates," opened at the Westwood Playhouse to critical acclaim and then

  8 toured the country with cast members Denzel Washington, Ruby Dee, Paul Winfield,

  9 and Vanessa Williams. "Checkmates" went on to premiere on Broadway and
 10 enjoyed a run of six months. It was the first Broadway play ever financed and

 11 produced by an African-American.

 12          "Stepping Into Tomorrow," the second play produced by his production
 13 company, was memorable because it was co-written by daughters of the two historic

 14 giants of the civil rights movement of the mid-Twentieth Century: Yolanda King,

 15 daughter of Dr. Martin Luther King, Jr., and Attallah Shabazz, daughter of Malcolm

 16 X. The play featured performances by the daughters of Harry Belafonte, Dr. King,

 17 Malcolm X, and Sidney Poitier.

 18          Although Michael Harris's first play, "Checkmates" was a critically acclaimed
 19 success during its tour to Broadway, when it reached Broadway, he already had been

 20 arrested in Los Angeles and he was not present to use his marketing skills to

 21 continue to promote it.

 22 C.       The Businessman
 23          The successes Michael Harris had with his production company, Y-Not,
 24 during its relatively brief existence, were not his only achievements in the business

 25 world. In his early 20s, he began to create and partner with others in legitimate

 26 businesses, several of which related directly or indirectly to entertainment. Into
 27 these businesses he put to use the skills and disciplines developed in his youth: his

 28 classical piano lessons, high school acting and band practice, and college courses in


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  1 drama and script writing. Some businesses he started from scratch, and some he

  2 helped rescue after partnering with owners who were struggling to maintain and

  3 make their business profitable. With every business, he invested himself, as he had

  4 seen his mother invest herself in her restaurants.

  5         The common theme of all his businesses is that they were designed to provide
  6 Black and other minority employment. He learned everything he could about each

  7 business. Ultimately, he provided employment for hundreds of minority men and

  8 women, and each business was successful

  9         His first business was a limousine service, Kartier Service ("Cars of the
 10 Stars"). That business rapidly grew to fifteen limousines. For special events at

 11 which large numbers of limousines were required, he'd arrange with competitors to

 12 split their hourly fee, thus making pure profit while turning a competitor into a

 13 partner. Also, through his limousine business, one of only a few Black-owned limo

 14 services in Los Angeles at that time, he developed contacts in the music and

 15 entertainment world in Hollywood and Beverly Hills, contacts which later would

 16 serve him well.

 17         In addition to the limousine service, Michael Harris started Jingle Factory, to
 18 create commercials for local Black-owned businesses to use on radio. For that

 19 venture, he built a studio and hired talent, again efforts which later would serve him

 20 well.

 21         Another two businesses he began were hair salons and beauty supply shops,
 22 one in Beverly Hills and one in the L.A.'s Crenshaw District.

 23         From his time learning the electric contractor supply business while working a
 24 few years earlier at the Darnella Company, he opened his own electric contractor

 25 business, serving the greater Los Angeles area, successfully bidding on and

 26 completing dozens of large contracts, both private and public.
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  1        Michael Harris also developed a maintenance company, Universal Service
  2 Center, obtaining and fulfilling contracts to maintain many significant commercial

  3 buildings in the Brentwood, Westwood and Beverly Hills areas of Los Angeles.

  4        In addition, he ran a printing company, "Between The Trees Publishing," to
  5 produce urban entertainment and business materials.

  6        Included in his businesses was 54th Street Deli, a delicatessen in the Crenshaw
  7 area of Los Angeles.

  8        Continuing with his entertainment ventures, and drawing both on his musical
  9 education and knowledge of the streets, Michael Harris co-founded his first record
 10 label, Rap-A-Lot Records, in Houston, Texas.

 11        But what followed Rap-A-Lot is what Michael Harris is most famous for in
 12 music history: he founded and financed Death Row Records. He conceived the idea

 13 of the label while in San Quentin Prison. He had been returned there after his federal

 14 prosecution in 1990. When he returned, San Quentin had changed from a high

 15 security institution to low security, and he was considered out of custody. The only

 16 space available to house him was on Condemned Row, aka Death Row. Hence, the

 17 name for his new music business venture, created while temporarily housed on Death

 18 Row.

 19        But being housed on Death Row not only provided the source of the name of
 20 his new record label. It was on Death Row, while talking with condemned men

 21 awaiting execution, that Michael began to look inward and search for the how and

 22 why he had gotten off track, how he had lost his moral compass.

 23 D.     Blind Ambition
 24        With such evident talent, work habits, and so much promise, how did Michael
 25 Harris get off track, lose his moral compass, and get into the drug trade? There is no

 26 simple answer. Mr. Harris has written that as a young adult, he put into practice both
 27 the positive and negative lessons of his formative years. He always had the burning

 28 desire to ease the burden on his mother, with her non-stop work schedule to provide


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  1 for and protect her family. As a child, that sense that he needed to be the protector of

  2 his family was deepened as the result of an accident in which his younger brother

  3 was hit by an automobile in front of young Michael's eyes. Fortunately, his brother

  4 survived, but the image and helplessness Michael felt stayed implanted in his psyche.

  5 Never again did he want that feeling of helplessness regarding the security of any

  6 member of his family.

  7        The strong work ethic young Michael learned while helping in his mother's
  8 restaurants and during summers at the family's Louisiana farm, became evident after

  9 his graduation from high school, when he began working at the Century Plaza Hotel
 10 at the same time he began college courses at West Los Angeles City College. At

 11 college, however, he avoided general education courses while focusing on classes in

 12 business, music, and entertainment. He wanted to learn everything he could about

 13 starting and running a business.

 14        Eventually, he lost his job at the Century Plaza Hotel for falling asleep before
 15 his shift ended. Right away he was hired at Darnella Electric, an electric equipment

 16 wholesaling company near LAX where the owners took an interest in him and

 17 became mentors, making him feel there could be a good future with the company.

 18 The owners taught him all the different jobs in the shop.

 19        However, one day, a year and a half later, the owner came to Michael and said
 20 he had to let Michael go, because people in the company felt he was learning too

 21 much. He told Michael other employees felt intimidated and were afraid Michael

 22 was going to take their jobs.

 23        Driving home, Michael Harris pondered the eighteen months he had spent on
 24 that job, and sensed he had been used. He felt frustrated, deflated, angry and

 25 humiliated. The owners had utilized his intelligence, ambition, drive, and

 26 organizational skills in an attempt to squeeze more productivity from their
 27 employees by scaring them into thinking he would replace one or another of them. It

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  1 was clear to Michael that the owners never had the intention of allowing him to

  2 continue as an employee, let alone move up in the company.

  3        When he got home, Michael sat on his porch and found himself looking
  4 around. He saw his former classmates and neighborhood friends driving nice new

  5 cars. They didn't have jobs. Michael knew where their money was coming from, a

  6 lifestyle and path he previously had rejected. He remembers suddenly waking up to

  7 what was going on around him: his community was being flooded with a tidal wave

  8 of cocaine. Among the seed planted in his youth, at that vulnerable point, a

  9 poisonous weed had sprouted in his psyche. At that moment he thought, "Why not
 10 me?" He wanted more for himself and his family, and there it was, waiting for the

 11 taking.

 12        That day, Michael cashed his last paycheck from Darnella, bought some drugs,
 13 sold them, and began the chain of decisions which, within a short time, would land

 14 him in prison for the following 32 years...and counting. In the few years following

 15 his initial drug purchase -- a purchase born of anger, humiliation, ambition, and the

 16 lure of "easy" money -- he was able to achieve a certain level of monetary success.

 17 Looking back years later, after psychologically crawling up and out of the ruins of

 18 what had been his life, he realized that when he had been financially richest was

 19 when he had been most morally bankrupt.

 20        Michael Harris has acknowledged his participation in the drug trade, and that
 21 he was more than just a peddler. He combined and applied all those business lessons

 22 he had learned with the street hustling skills he had developed, and took advantage of

 23 the gigantic amount of cocaine flooding Los Angeles at that time. In hindsight, he

 24 comprehends that he became an agent of destruction of his own Black community, of

 25 his family, his adulthood, his freedom. He became oblivious to the harm and was

 26 guided by blind ambition and greed. He came to realize the end result was exactly
 27 opposite of what originally he intended.

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  1 E.     Transformation
  2        But being a drug dealer is what Michael Harris did, not who he is. He has not
  3 tried to hide what he did. He has apologized to his community in interviews and

  4 elsewhere for the appalling damage he helped inflict on the community in which he

  5 was raised. He lost everything he had loved and everything which had real value to

  6 him. During his time as a drug dealer, he has said, he had grown physically as a

  7 male, but he acted in immature boyish ways, to the detriment of himself, his family,

  8 and countless others. After more than three decades in prison, when he leaves, he

  9 will be a senior citizen, but also he will leave as a morally mature man. It took
 10 losing everything and spending years in prison before Michael Harris started to take

 11 the deep dive into the ashes of his life, a dive which led to unexpected and positive

 12 results for him, for many other prisoners, and for society.

 13        The process of transformation for Michael Harris began when he was
 14 temporarily on San Quentin's Death Row. One might think the conditions of Death

 15 Row -- as well as at "Super Max" Pelican Bay State Prison (where he spent two

 16 years), and other high security prisons in which he spent time -- would have

 17 produced a monster. Instead, in prison, one's mind can be impacted in unexpected

 18 ways. In prison, a person is stripped of normal human interactions and has plenty of

 19 time to think, to dissect one's existence, and reflect on his life. In the case of

 20 Michael Harris, he was able to start to fully understand the wisdom and lessons from

 21 his mother and grandmother, especially the "mother wit" of tempering wisdom with

 22 sound, compassionate judgment.

 23        Thus, in those stark prison settings, among the most restrictive in the world,
 24 listening to men who, like Michael Harris, had life sentences, and especially talking

 25 with condemned men on Death Row, relating to their stories, he was profoundly

 26 affected. It awakened him to the reality of why he was there, how he got there, and
 27 what harm he had helped produce.

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  1        With this initial awakening, as he struggled to develop a path forward, Mr.
  2 Harris began to read books directly related to the social, psychological, and spiritual

  3 causes and effects of his prior actions. He recognized in himself, and in other

  4 prisoners whose stories he heard, some common themes.

  5        He began to recognize that the very factors which had motivated the harm he
  6 had produced also were present in many other prisoners, including "the lifers" as

  7 well as in many condemned men on Death Row. Like him, they had chosen a

  8 criminal lifestyle due to environmental conditioning, producing destructive habits

  9 such as acting and reacting before thinking. Like him, he realized, they seemed
 10 stuck in a place that is horrendous, moving through their lives thoughtlessly,

 11 unconsciously, defiantly and often violently, their actions born of a state of continual

 12 inflamed fury. Worst of all, he realized, they had no consideration for the effects of

 13 their actions on other people or even on themselves.

 14        Eventually, Mr. Harris was transferred from his temporary Death Row housing
 15 to Pelican Bay State Prison, which had just opened as arguably the highest security

 16 and most restrictive prison in the country. There, his internal transformation

 17 continued. He continued to read, and to engage other prisoners and to share some of

 18 the ideas he had run across in his reading which had resonated with him. He

 19 discussed with other prisoners some of the social and psychological ideas he had

 20 encountered in his reading which he felt were related to the themes he recognized he

 21 had in common with them, especially with those like-minded prisoners who wanted

 22 to discover the essence of their lives and more fully understand why they had ended

 23 up in prison. He was combining psychology with his own experiences and

 24 communicating it through street vernacular.

 25        In the early 2000s, Michael Harris had been relocated to Soledad State Prison,
 26 where 95% of the prisoners were "lifers" like him. However, it was apparent that the
 27 institution lacked therapeutic groups that the men so desperately needed to effectuate

 28 change within themselves. The lack of self-help groups was so great that the waiting


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  1 list extended to 18 to 24 months for the few groups available. But there he continued

  2 his informal discussions with prisoners. The warden gave Mr. Harris and his co-

  3 founders permission for the organization of a group within prison, to be led by Mr.

  4 Harris. In 2001, an organization of prisoners was formed which the participants

  5 named, "Partnership Building Community Groups," or PBCG.

  6        The participants in PBCG were gang members from the rival Bloods and Crips
  7 gangs, as well as non-affiliated "gangsters." They had all come from the street life

  8 and were now looking for meaning in their lives. They wanted to contribute by

  9 keeping young people from getting deeper into the criminal lifestyle. Michael Harris
 10 shared what he had learned through his reading, knowledge of the street, and prior

 11 informal discussions in prison, such as how to engage verbally and empathetically

 12 instead of defiantly.

 13        Thus, with increasing self-awareness, Michael Harris began the process of re-
 14 engineering himself and, by sharing his awareness with other prisoners, he was able

 15 to get at the roots of the defiance and rebelliousness within those who wished to re-

 16 engineer themselves.

 17        In 2005, Michael Harris was returned to San Quentin. This time, he was put in
 18 the general population. In the years since he had been transferred from Death Row

 19 to Pelican Bay, San Quentin had been designated a Level Two facility -- lower

 20 security than before. In San Quentin he found a progressive, forward-looking prison

 21 administration which encouraged exactly the style Michael Harris had been steadily

 22 developing on his own for the prior fifteen years: introspection, sharing of

 23 experiences, integration of psychological and spiritual therapeutic techniques with a

 24 prisoner's own experiences, helping prisoners to understand rehabilitation processes

 25 to avoid prison in the future, and how to impart to others such hard-earned wisdom.

 26 To aid these processes, the prison administration had encouraged the organization of
 27 over thirty prisoner-participation groups, many of which prisoners themselves

 28 organized, to promote such positive processes and goals.


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  1        Just as impressive, there were three thousand volunteers who came into the
  2 prison to share knowledge and skills of all kinds, from vocational subjects to poetry

  3 and literature, to advanced scientific academic disciplines. There was something for

  4 everyone. Also, there were high school and college courses available for all

  5 prisoners. Obtaining a degree was encouraged. Ironically, as a direct result of

  6 coming to prison and landing in San Quentin, quite a few prisoners became the first

  7 in their family to graduate from college, thus demonstrating the power of restorative

  8 justice as well as the law of unintended consequences.

  9        There were financial literacy seminars, a Job Day, vocational courses and
 10 seminars, violence prevention groups, a Journalism Guild, presentations by top notch

 11 speakers, writers, sociologists, psychologists, retirees, professors & former

 12 professors, visits by graduate and undergraduate students who participated with

 13 prisoners in various groups, and other volunteers from every conceivable endeavor to

 14 share with the prisoners. There were incubator groups which grew with prisoner

 15 participation, with those prisoners eventually going on to lead other groups.

 16        Michael Harris thrived in this environment like a seed thrown into a newly
 17 plowed field. He helped organize or lead seven new prisoner groups. He was a

 18 powerhouse of ideas, becoming a conduit for sharing the knowledge he had learned.

 19 Eventually, he organized or led well over a dozen groups, their common cause being,

 20 among other goals, to end the psychological and social isolation of prisoners.

 21        Of the many projects Michael Harris was instrumental in beginning and/or
 22 which he led, two stand out. The first was his involvement with the "San Quentin

 23 News." After it had remained dormant for seventeen years, Mr. Harris revived and

 24 became editor-in-chief of "San Quentin News," an in-prison newspaper. Under his

 25 editorship, the paper reported news of relevance not only to the prisoners but also to

 26 the staff, such as news related to the negotiations for a new contract between the
 27 state and the union representing correctional officers. "The San Quentin News,"

 28 produced by the prisoners themselves, helped transform the interior of the San


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  1 Quentin walls into a thriving community. The prison success stories also represented

  2 a beacon of hope for the outer community.

  3          As editor, Mr. Harris made sure the newspaper interviewed those prisoners
  4 about to leave, as well as Death Row inmates. There were interviews with

  5 government officials who visited the prison, including governors, senators,

  6 congresspersons, assemblypersons, and United States District Court Judge Thelton

  7 Henderson, who had ruled that the State of California needed to build adequate

  8 health care facilities in state prisons. News about rehabilitation programs, skills

  9 seminars, college courses, therapeutic programs, sports competitions in San Quentin,
 10 human interest stories of what particular prisoners had done occupationally prior to

 11 prison, unique skills prisoners had, what the various prisoner groups were doing -- all

 12 this and much more was covered in the "San Quentin News," stimulating further

 13 interest and participation in those prison-sanctioned activities among the prisoners.

 14          The newspaper treated the prisoners as residents rather than inmates. With the
 15 "San Quentin News," many prisoners, for the first time, felt a sense of being part of a

 16 caring community, one in which they took an interest. Relations between prisoners

 17 and between prisoners and staff, sometimes adversarial and tense, became more

 18 relaxed and respectful as each read and expressed an interest in stories about the

 19 other.

 20          The newspaper was distributed not only in San Quentin Prison but in 33 other
 21 California state prisons, as well as to officials in the capital, Sacramento. The

 22 newspaper is now circulating on the world-wide web. Producing each issue over

 23 many years trained hundreds of prisoners. "Learning by doing" was not just a

 24 slogan. Working on the "San Quentin News" prepared numerous prisoners in one or

 25 another skill later utilized into paying jobs on the outside once released.

 26          Another project led by Mr. Harris was The Richmond Project. When the
 27 Project began, Richmond, California, had the highest per capita murder rate in the

 28 entire country. Many of those involved in Richmond gang life were serving time in


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  1 San Quentin. They had ties to the Richmond community, which lay just across the

  2 Richmond-San Rafael Bridge from San Quentin. The Richmond Project gathered

  3 those prisoners, many of them rivals, into a group to meet weekly and discuss,

  4 develop, and implement programs to decrease the rate of violence and murder in

  5 Richmond.

  6        Under the mentoring of Mr. Harris, rival members of gangs in Richmond sat
  7 in a circle, discussed their differences -- but more often discovered how much they

  8 had in common -- and reached conclusions on how to end what had seemed an

  9 endless cycle of mayhem in the city. City officials were brought in to speak with the
 10 Richmond prisoners, and those prisoners, in turn, brought out messages of peace and

 11 reconciliation when released back to Richmond. Soon, the murder rate in Richmond

 12 dropped dramatically as the rate of school attendance increased. The program was

 13 so successful, that, as will be seen later in this motion, the Police Chief or Richmond,

 14 who never had written a letter of support for any prisoner, strongly advocated for

 15 Harris to be released. The Mayor of Richmond and other Richmond officials also

 16 wrote letters urging the release of Mr. Harris.

 17        Michael Harris continues his decades-long journey of re-engineering himself
 18 and assisting those other inmates who also want to transform themselves. To date,

 19 Mr. Harris estimates he has read over 3,000 books in prison and mentored over

 20 10,000 prisoners, one-on-one and in small groups. He sums up what he has learned

 21 and the message he continues to share with other prisoners in one sentence: "There is

 22 no right way to do wrong."

 23 F.     Fatherhood
 24        Michael's younger sister, Starlisa, has written in support of Michael's release
 25 from prison. Her letter (appended) states in part:

 26              Michael went above and beyond to take care of our mother.
 27              He loved her so much and was very protective of her.
 28              Having a strong mother in the household is what kept


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  1               Michael grounded for a short while. Michael never spoke
  2               too much about his biological father, nevertheless it is
  3               natural to feel some sort of void and possibly build minor
  4               animosity towards life itself when either parent is absent
  5               from a child's life. Our mother was hard working and, at
  6               times, her jobs required her to be away from the house a lot.
  7               Michael quickly took on the role of "man-of-the-house,"
  8               because there were days that my siblings and I had to rely
  9               on him. (See Exhibit B.)
 10        The fulfillment of responsibility as "man-of-the-house" described by Mr.
 11 Harris' sister foreshadows the responsibility Mr. Harris has displayed toward his

 12 children, albeit from behind prison walls.

 13        In the midst of the success Mr. Harris was achieving in his legitimate
 14 businesses while exiting the drug trade, his girlfriend became pregnant with his first

 15 child. A healthy baby girl was born. She is Mr. Harris' eldest daughter, Mykel Ray'a

 16 Harris.

 17        When Mykel's mother suffered a mental breakdown, he took on sole parenting
 18 responsibility for his then one-and-a-half year old child. For two years, until his

 19 arrest and incarceration, he was a single parent raising his young daughter with the

 20 help of his mother and sister, Starlisa. In hindsight, he's horrified at the thought of

 21 the potential danger which could have befallen his daughter and extended family

 22 members prior to his arrest, due to his criminal activity. All the while he thought he

 23 was a responsible father.

 24        Inherent in that lifestyle was the threat of the loss of the child's father, which is
 25 exactly what happened. He was lost to prison. Nevertheless, even from prison, he

 26 strived to protect, support, educate, and loved his daughter. He talked and
 27 corresponded with Mykel as best as could be expected in his circumstances.

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  1       That child, now a 35-year old woman, graduated with a Bachelor's Degree in
  2 Business Management and has been a human resources specialist for the last ten

  3 years, now working at NASA Johnson Space Center in Houston, Texas, as a Senior

  4 Human Resources Generalist. She writes:

  5             Since I can remember, my father has been the only
  6             consistent parent in my life, even while being
  7             incarcerated...for that I will always be grateful and
  8             appreciative of him... It has been very difficult to grow up
  9             without both of my parents by my side, but I believe it is
 10             [a] contribution that has made me the strong woman I am
 11             today... When I first expressed to my dad I was with child,
 12             his face flooded with emotion, he was so excited knowing
 13             that his first born was expecting his first grandchild...
 14             When he looked at her [for the first time], I could not hold
 15             back my tears as I saw tears of joy flow down his face as
 16             he held his granddaughter in his hands... My dad shows
 17             her the same love if not more that he has showed me over
 18             the years and continues to do so. Having him home with
 19             us, just the thought brings tears to my eyes, happy tears of
 20             course.
 21             I owe my ongoing success and determination to my
 22             father... He was always there to listen to me, and be my
 23             shoulder to cry on (digitally). He is very aware of his role
 24             as a father, an exceptional father at that... My father has
 25             become a very wise man over the years, and this skill
 26             allows him to instill in others what was never instilled in
 27             him as a young man.
 28


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  1              I believe in my father so strongly that I know that he can
  2              come home and continue to live out his dreams of
  3              becoming one of the most prominent and successful
  4              entertainment gurus. (See Exhibit B.)
  5        In 1995, a second daughter, Lydasia Harris, was born. She was the result of a
  6 conjugal visit between Mr. Harris and his then-wife, Lydia Harris, in Lancaster State

  7 Prison. Lydasia Harris writes:

  8              I am Lydasia Rayanna Harris, the second and youngest
  9              child of Michael Ray Harris... [My] father has been
 10              incarcerated my entire life... I reside in Houston, Texas...
 11              [I] attended Xavier University, where I played collegiate
 12              tennis as well as obtained my bachelor's degree in Business
 13              Management.
 14              With my father not physically being around through the
 15              years of me growing up, it has definitely taken a toll on me
 16              but in the same sense has made me stronger. When I was
 17              younger and could not comprehend what was going on, the
 18              confusion and the feeling of neglect not only caused pain
 19              but also caused anger. I was an extremely angry child and
 20              also very distant. Consequently, I developed habits of
 21              always wanting more and never being satisfied. I knew
 22              something was missing and it frustrated me that I could not
 23              put the pieces together on my own. The missing piece was
 24              and still is the absence of my father. Although my [mother
 25              and grandmother] did the very best they could, there are
 26              some things that only a father can teach his daughter.
 27              Growing up and seeing my friends spend time with both
 28              parents was something I truly envied. As a child I never


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  1            understood why I always had to be excluded from father
  2            and daughter events, why he was never there to support me
  3            and why I could never see him outside of prison walls. All
  4            of these unanswered questions at the time troubled me so
  5            deeply that I started to resent my family as a whole
  6            because I was craving for this "normal family" that I did
  7            not have. Though I was angry, the desire for a relationship
  8            with my father was always there.
  9            I always look forward to the weekends that I am able to go
 10            and visit with him. My favorite day to visit and also the
 11            day where the reality of him being away from family
 12            becomes an even heavier burden is Father's Day. Every
 13            Father's Day we were not fortunate enough to spend
 14            together, but there [have been] several times we were able
 15            to spend this day together at the prison. Just to see his face
 16            brings a sense of comfort and a smile to mine. While
 17            visiting with my father we have deep conversations and he
 18            always leaves me with positive and inspirational words.
 19            Spending the few hours with him and possibly returning
 20            the next day is something I always look forward to but the
 21            goodbye is always the part that is hard for me to cope with.
 22            To look back and see him standing there wishing he could
 23            walk out with us is an indescribable pain. There is not a
 24            time I have left the prison without crying on the way out. I
 25            love my Dad with everything in me and although he's been
 26            away we are as close as the prison walls will allow us to
 27            be. There are many life lessons that I never learned
 28            because of his absence and as a result, I am having to learn


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  1            the hard way by teaching myself how to overcome
  2            adversity. This is where the strength that I have developed
  3            has come from. [That is the one thing] that completes me
  4            and having to find a way to go day-by-day builds strength
  5            and character. As I am now a young woman in business I
  6            do have a very strong desire to have my father alongside to
  7            witness all of my accomplishments thus far.
  8            No one is perfect, and I believe everyone deserves a
  9            second chance if they are making progress and taking the
 10            initiative to do better. My father is an extremely intelligent
 11            man, and full of ideas. While he has been incarcerated he
 12            has used his natural born talents to contribute to a
 13            mentoring program in the prison. He has spoken to young
 14            men about good decision-making and his goal is to inspire
 15            them to steer away from street life and to focus more on
 16            pursuing their careers and making their passion into a
 17            profession. He makes it a priority to inform and bring
 18            awareness to the bad decisions he made in his younger
 19            years, because he wants people to learn from his mistakes.
 20            My father is truly my hero, because over the years I have
 21            seen him grow and I have seen how he wants others to
 22            grow. Life is not just about one's self, but it is also about
 23            how you treat others and my father is one to give his last to
 24            those around him. He is one of the strongest people I
 25            know, because in the midst of it all, he never folded,
 26            remains hopeful and refuses to let this current situation
 27            defeat him. In March of 2017, our family lost someone
 28            that was special to us all. This special woman was my


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  1              father's mother Fannie Jordan. Because of his
  2              incarceration, my father was not able to spend any time
  3              with his mother before she took her last breath. She loved
  4              him dearly and through her constant battle with cancer she
  5              reminded us all that all she wanted was to see her son walk
  6              out of the prison doors. Although she is gone to be with
  7              the Lord, she still lives through her family.
  8              If my father is released, he will reside in California again.
  9              All of his family that is left lives in different parts of
 10              California and because my dad is a family man I know he
 11              will want to be close with the family. God makes no
 12              mistakes and I do believe there is no better timing than His
 13              timing. My father, his family and friends have all suffered
 14              long enough with him being away. My whole life I have
 15              had to endure the pain of being apart and him never having
 16              the opportunity to see me accomplish anything. The
 17              thought of him being home after so many years is
 18              indescribable. I cannot even imagine how I would react,
 19              seeing him walk outside of the prison doors. The dream I
 20              have been dreaming for years would finally become my
 21              reality. (See Exhibit B.)
 22 G.     Conclusion
 23        Michael Harris is more than a survivor. He is a father, grandfather, brother,
 24 uncle and granduncle. He is his family's patriarch. He's an historic figure in the

 25 annals of music, recognized as the one who -- from behind prison walls -- helped put

 26 hip hop in motion as a leading form of American music in the last decade of the
 27 Twentieth Century, and as a leading form of World Music in the first two decades of

 28 the Twenty-First Century. On March 25, 2020, Librarian Carla Hayden of the


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  1 Library of Congress announced that an album from 1992, "Dr. Dre's The Chronic,"

  2 owned and produced by Mr. Harris' GF Entertainment/Death Row Records, Co., was

  3 inducted into the National Recording Registry, to showcase the breadth and depth of

  4 American sounds. It was one of only 25 "American sounds," spanning the period

  5 1927 to the present, inducted in 2020, culled from an historical list of 800

  6 possibilities.

  7        The question becomes how did this man, who showed so much promise in his
  8 youth, become a drug dealer, helping spread the poison which decimated his

  9 community in the 1980s? While in prison, he began the process of reclaiming his
 10 soul, his better self. He has continually apologized to his community. He came to

 11 fully understand the lessons from his mother and grandmother, from whom he had

 12 learned the value of hard work and staying on the straight narrow path. In prison, he

 13 has taken that long path to redemption. He became a mentor literally to thousands of

 14 men during his 32 years of incarceration. He has reclaimed his other self which, in

 15 his youth, he had traded for the quick buck and fast life. Now, as a senior citizen,

 16 and for the many unique "extraordinary and compelling reasons," detailed on the

 17 following pages, it is time for Michael Ray Harris to be released back into society.

 18                                            III.
 19         FACTUAL AND PROCEDURAL BACKGROUND AND HISTORY
 20 A.     Distinguishing the Two Undischarged California State Sentences at the Time
 21        the Instant Federal Sentence was Imposed
 22        1.        State Underlying Offense Conduct.
 23        In July 1987, Mr. Harris was charged in Los Angeles County with Conspiracy
 24 to Commit Murder (PC §182(1)/PC §187(a)), including an enhancement for

 25 inflicting Great Bodily Injury (PC §12022.7). See People v. Michael (Sean) Harris,

 26 Los Angeles County Case No. A954053. After posting bond, Mr. Harris remained
 27 free through the date of his conviction in April 1988.

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  1        During the period Mr. Harris remained free on bail, the DEA task force
  2 conducted an investigation targeting the Villabona/Bennett organization, based in

  3 Los Angeles, which was responsible for distributing large amounts of cocaine.

  4        In March of 1988, Mr. Harris proceeded to trial in LA County on the
  5 attempted murder charge. Petitioner was convicted on April 16, 1988 of the

  6 conspiracy to commit murder charges, with an enhancement for Great Bodily Injury.

  7 Thereafter, he was remanded to the custody of the Sheriff and held at the LA County

  8 Jail until the sentencing process concluded.

  9        On September 16, 1988, Mr. Harris was sentenced. He received a 3-year
 10 determinate sentence for the Great Bodily Injury to run consecutive to, and be served

 11 prior to, a twenty-five (25) year-to-life indeterminate sentence for the attempted

 12 murder.

 13        On September 27, 1988, Mr. Harris was transferred to the custody of the
 14 California Department of Corrections and Rehabilitation ("CDCR") to serve his

 15 term(s) of imprisonment.

 16        On November 1988, Mario Villabona, Brian Bennett and other participants in
 17 their organization were arrested and charged in federal court in Los Angeles with

 18 drug trafficking. See U.S. v. Villabona, No. 88-CR-972-WJR.

 19        On December 2, 1988, a federal grand jury in Los Angeles returned a four-
 20 count indictment against Mr. Harris, charging him with possession and distribution

 21 of cocaine, in violation of 21 U.S.C. §§841(a) (1) and 846. These charges were

 22 brought in a superseding indictment returned in the Villabona prosecution. See U.S.

 23 v. Villabona, No. 88-CR-972-WJR (Dkt. Ent. #2).

 24        On December 29, 1988, Mr. Harris was removed from State custody, into the
 25 custody of the United States Marshals Service ("USMS"), on a writ of habeas corpus

 26 ad prosequendum to answer to the federal charges.
 27        On January 3, 1989, a federal grand jury returned another superseding
 28 indictment charging Mr. Harris with possession and distribution of cocaine, in


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  1 violation of 21 U.S.C. §§841(a) (1) and 846. Mr. Harris appeared in federal court on

  2 January 5, 1989. See U.S. v. Villabona, No. 88-CR-972-WJR (Dkt. Ent. #59).

  3      On August 3, 1989, a federal grand jury returned a second superseding
  4 indictment charging Mr. Harris and twelve others with conspiracy to possess and

  5 distribute nearly 2,776 kilograms of cocaine, in violation of 21 U.S.C. §§841(a)(1)

  6 and 846. Petitioner was charged with three substantive counts of possessing cocaine

  7 with the intent to distribute (21 U.S.C. §841(a) (1)), for the three transactions set

  8 forth in paragraph three. (Dkt. Ent. #291).

  9        On May 18, 1990, following a 67-day jury trail, Mr. Harris was convicted on
 10 each of the four counts of the second superseding indictment in which he was

 11 charged.

 12        On November 26, 1990, Mr. Harris was sentenced in the United States District
 13 Court for the Central District of California by Honorable William J. Rea to 235

 14 months on each of the four counts of conviction, to run concurrent to each other. Mr.

 15 Harris' federal sentence was also ordered to run consecutive to the State sentence

 16 "defendant is presently serving." (Exhibit D.) This sentencing order by the federal

 17 judge judicially aggregated Mr. Harris' 235-month determinate federal sentence to

 18 the 36 month (three year) determinate State sentence Mr. Harris was "presently

 19 serving" to be served prior to Mr. Harris' 25-year-to-life indeterminate State

 20 sentence. Mr. Harris was then remanded into the custody of the United States

 21 Marshals Service ("USMS"), who entered the following sentencing information into

 22 their Prisoner Tracking System, "235 MONTHS CAG CONSECUTIVE TO

 23 STATE."

 24        This sentencing information, used by the USMS to execute Mr. Harris' federal
 25 sentence, was erroneous as it was not the same sentencing instruction from the

 26 federal judge on Mr. Harris' Judgment and Commitment Order filed on December 5,
 27 1990, which ordered: "The defendant is hereby committed to the custody of the

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  1 Bureau of Prisons for the terms of 235 months... This shall run consecutive to the

  2 state prison sentence the defendant is presently serving." (Exhibit D.)

  3        On January 15, 1991, the USMS returned Mr. Harris back to San Quentin, to
  4 surrender the writ of habeas corpus ad prosequendum, effectively placing Mr. Harris

  5 back into state custody.

  6        On January 18, 1991, the USMS placed a detainer against Mr. Harris as a
  7 "Sentenced Federal Prisoner" with the CDCR.

  8        On January 27, 1991, Mr. Harris' three-year determinate state sentence expired
  9 by law, thus, by the federal judge's sentencing order and by operation of California
 10 law (Cal. PC §669), Mr. Harris should have been delivered back into federal custody

 11 to begin serving his 235-month federal sentence. Instead, Mr. Harris was improperly

 12 left in CDCR custody to begin serving his 25-year-to-life indeterminate state

 13 sentence.

 14        On April 2, 1991, over 60 days after Mr. Harris' 3-year determinate sentence
 15 had expired, and when Mr. Harris should have already been delivered into federal

 16 custody, the USMS finally contacted the CDCR Records Department seeking status

 17 on the state sentence Mr. Harris was "presently serving." Since Mr. Harris's three-

 18 year determinate state sentence which he was "presently serving" on November 26,

 19 1990, when the consecutive federal sentence was imposed, had already expired, the

 20 CDCR provided the USMS with the sentencing information regarding Mr. Harris'

 21 25-year-to-life indeterminate state sentence he was "presently serving" on April 2,

 22 1991, when the request for information was made: "From United States Marshals

 23 Service. Attention: Records at San Quentin. RE: U.S. Marshal Service Detainer

 24 Status. SUBJECT: Michael Harris D-97093. On: Jan. 18, 1991 the United States

 25 Marshal for the Northern District of California - Placed a Detainer on Michael Harris

 26 for Sentenced Federal Prisoner. Please answer one of the below questions regarding
 27 defendant's status at your facility and return this form in the enclosed self-addressed

 28


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  1 envelope. Subject's tentative release date? (Answer:) MEPD 8-21-2006." (See

  2 Exhibit F.)

  3        From January, 1991 through 2011, Mr. Harris was transferred between State
  4 and federal custody on several occasions, for a combined total of approximately two

  5 years and eight months, which provided the USMS ample opportunities to correct

  6 their error. However, at no time during this period did the USMS properly execute

  7 the 1990 federal sentencing order and deliver Mr. Harris into the custody of the

  8 Federal Bureau of Prisons to commence serving his 235-month federal sentence.

  9 (See Exhibit D.)
 10        On October 11, 2011, the USMS picked up Mr. Harris, but, due to their
 11 improper execution of Mr. Harris' federal sentence, they delivered him to the custody

 12 of the federal Bureau of Prisons some three years after his federal sentence should

 13 have legally expired in or about 2008.

 14 B.     Federal Case
 15        1.     Federal Underlying Offense Conduct
 16        Information presented by the government alleged the following: In the 1980's
 17 co-conspirators Mario Villabona and Brian "Bo" Bennett were the leaders of a large

 18 scale drug trafficking organization based in Los Angeles and operating in other states

 19 as well. The Villabona Organization was responsible for distributing thousands of

 20 kilograms of cocaine. Beginning in about 1983 and continuing until December

 21 1988, Villabona, a Colombian national, and Bennett, a United States citizen,

 22 obtained their cocaine from Villabona's suppliers in Colombia, principally an

 23 individual named "Oscar" whom, it later became known, was Villabona's uncle and a

 24 high ranking member of the Cali Cartel.

 25        It was Villabona who "organized and supervised the obtaining of 1000-
 26 kilogram quantities of cocaine" from his source of supply in Colombia and then
 27 "organized and supervised the transportation of large quantities of cocaine" from

 28 Colombia to the United States. (See 1990 PSR at ¶56.)


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  1        The Organized Crime Drug Enforcement Task Force (the "Task Force") in Los
  2 Angeles brought together federal, state, and local agencies under the leadership of

  3 special Agent Comer of the Drug Enforcement Administration. From 1985 through

  4 the spring of 1987, the task Force conducted a major narcotics and money laundering

  5 investigation. In this investigation, code-named Operation Pisces, undercover agents

  6 posing as money launderers met and accepted large quantities of U.S. currency from

  7 narcotics traffickers and persons responsible for collecting and transporting cash

  8 derived from illicit cocaine sales. During the above time span, approximately $45

  9 million in U.S. currency was delivered to Operation Pisces undercover agents in Los
 10 Angeles, New York, Miami and elsewhere. Surveillance made possible by these

 11 deliveries resulted in the seizures of large quantities of cocaine in Los Angeles.

 12        It was in March 1987 during the course of the Operation Pisces investigation
 13 that undercover agents met with and received large amounts of U.S. currency from

 14 the Los Angeles-based drug trafficking organization led by Mario Villabona. After

 15 Villabona had been identified through Operation Pisces, the Task Force began an

 16 investigation targeting his network. This investigation continued until Villabona's

 17 arrest in November 1988.

 18        With respect to Michael Harris' connection to these events, it should be noted
 19 that Mr. Harris first met Mario Villabona in the summer of 1987. The Government

 20 has a photograph of Harris and Villabona at the function where they were originally

 21 introduced to one another.

 22        Defendant Harris' involvement in Villabona's drug activity is summarized in
 23 the 1990 PSR, which indicates that Mr. Harris participated in a December 1987

 24 phone call to set up a transaction involving 11.5 kilograms of cocaine. (Exhibit G at

 25 Paragraph 70.) It should be noted that the PSR does not present or cite any specific

 26 evidence of Mr. Harris' involvement in additional drug activity. There is no
 27 allegation of Mr. Harris being involved in any Villabona-Bennett drug-related

 28 activity before or after December 1987.


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  1        In November of 1988, Villabona was arrested at his residence in Malibu on the
  2 instant Federal drug trafficking charges.

  3        On December 6, 1988, a Federal Grand Jury in Los Angeles indicted
  4 Villabona, together with 12 other individuals on narcotics charges. On January 3,

  5 1989, the Grand Jury returned a first superseding indictment against the same

  6 defendants. Mr. Harris appeared in U.S. District court that month and entered a not

  7 guilty plea. On August 3, 1989, the Grand Jury returned a second superseding

  8 indictment against the same defendants. The second superseding indictment charged

  9 all thirteen defendants with conspiracy to (1) possess cocaine with intent to
 10 distribute, (2) distribute cocaine, and (3) aid and abet the possession and distribution

 11 of cocaine, in violation of 21 U.S.C. §§846 and 841(a)(1). The conspirators were

 12 alleged to have distributed well over a thousand kilograms of cocaine (Count 1). Mr.

 13 Harris also was charged with one count of possessing cocaine with intent to

 14 distribute, in violation of 21 U.S.C. §841(a)(1) (Count 3), and two counts of aiding

 15 and abetting in similar activity (Counts 2 and 4). Harris was arraigned on the second

 16 superseding indictment on August 7, 1989, and entered a plea of not guilty to all

 17 charges.

 18        On May 18, 1990, all of the defendants that had proceeded to trial, including
 19 Michael Harris, were convicted.

 20        In July 1990, a Presentence Report was prepared. In determining Mr. Harris'
 21 Base Offense Level, the U.S. Probation Office calculated that Mr. Harris should be

 22 held accountable for the entire amount of 2,776 kilograms of cocaine attributed to

 23 the Villabona-Bennett organization throughout the full length of the conspiracy, by

 24 virtue of him having been convicted of the conspiracy charged in Count One (see

 25 1990 PSR at ¶113).

 26        On November 26, 1990, the Honorable William J. Rea, District Court Judge,
 27 sentenced Michael Harris to a 235-month term of imprisonment at the low end of the

 28 guideline range for Level 36, Criminal History Category III. Mr. Harris, having been


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  1 determined to be a participant in Villabona's drug conspiracy, was sentenced on the

  2 basis of 2,776 kilograms of cocaine, even though that amount far exceeded the

  3 amount of cocaine that he had been personally responsible for. The court ordered the

  4 terms of all four counts to be served concurrently with each other, for a total terms of

  5 235 months, but to be served consecutively to the three year determinate state prison

  6 sentence for Great Bodily Injury ("GBI") that Harris had been serving at the time his

  7 Federal sentence had been imposed. (Note that his 25 years to life indeterminate

  8 state term had not commenced to run at the time of his federal sentence.)

  9         In 1995, the Ninth Circuit vacated Villabona's and Bennett's 21 U.S.C. §848
 10 Continuing Criminal Enterprise (CCE) convictions. It did so on grounds that there

 11 was insufficient evidence to support §848's requirement that Villabona and Bennett

 12 must each have supervised five or more criminally culpable individuals. Notably,

 13 the Government conceded in their appeal brief that Harris, as a matter of law, was
                     2
 14 not a supervisee.

 15         According to both the Government and the Ninth Circuit, Harris' relationship
 16 with the Villabona/Bennett group was properly characterized as a buyer/seller

 17 relationship.

 18         In 1996, Villabona and Bennett were resentenced after the Ninth Circuit
 19 vacated their §848 convictions, along with the life sentences that had been imposed

 20 back in November 1990. Villabona and Bennett were each resentenced to terms of

 21 328 months (27 years, 4 months). Both Villabona and Bennett were released from

 22 the Bureau of Prisons seven to eight years ago.

 23         The only defendant in this case still incarcerated is Mr. Harris,
 24 notwithstanding the fact that his role in the overall drug activity was far less

 25 significant than Villabona, Bennett, and several of the other principals.

 26         On December 4, 1987, Danish authorities learned that Helle Nielson, Mario
 27

 28         See Nos. 90-50686 and 90-50694, Appellee's Brief in U.S. v. Brian Bennett
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      and Michael Harris, Page 48, Footnote 36.
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  1 Villabona and Brian Bennett had registered at the Savoy Hotel in Copenhagen. A

  2 court-authorized wire tap was initiated and numerous telephone calls between

  3 Villabona and his criminal associates were intercepted. These calls were made to

  4 various parts of the world, including conversations regarding money laundering and

  5 cocaine delivery. (See PSR, ¶67.) On December 9, 1987, Villabona and Bennett

  6 traveled to Milan, Italy.

  7        On December 10, 1987, an Italian Magistrate issued an order authorizing
  8 wiretaps on Villabona and Bennett's room telephones at the Milan Hotel. More

  9 incriminating calls were intercepted. "Villabona called defendant Michael Harris,
 10 and they discussed and 11.5-kilogram deal." (See PSR, ¶70.) Villabona called

 11 Michael Harris with instructions regarding picking up cocaine from Martinez.

 12 Martinez called (sic) Villabona to report "mission accomplished." (See PSR, ¶72.)

 13 Mr. Harris "allegedly operated his own distribution ring in Los Angeles, which was

 14 separate and apart from the Villabona-Bennett Enterprise, for which he was a

 15 distributor." (See PSR, ¶109.) Mr. Harris' PSR contains no assertion or allegation

 16 that he (or anyone else associated with the Villabona-Bennett Organization) ever

 17 engaged in any acts of violence or trafficked in or used weapons.

 18        2.    Mr. Harris' Removal from California State Prison Into Federal Custody
 19              to Face His Federal Indictment
 20        On December 12, 1988, while Mr. Harris was serving his three year
 21 determinate state sentence in California for Great Bodily Injury, he was physically

 22 removed from the custody of the CDCR, transferred into the custody of USMS on a

 23 writ of habeas corpus ad prosequendum, and transported to Metropolitan Detention

 24 Center, Los Angeles, ("MDC-LA") to face federal drug charges. Mr. Harris was

 25 indicted along with twelve other individuals with a variety of narcotic-related

 26 offenses. In the twenty-eight count indictment, Mr. Harris was charged with the
 27 following four counts:

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  1        Count 1: Conspiracy to Possess With Intent to Distribute, and to Aid and Abet
  2 Possession and Distribution of Cocaine, in violation of 21 U.S.C. §§841; 841(a)(1);

  3 18 U.S.C. §2.

  4        Count 2: Aiding and Abetting With Intent to Distribute Cocaine in Violation
  5 of 21 U.S.C. §841(a)(1); 18 U.S.C. §2.

  6        Count 3: Possession With Intent to Distribute Cocaine in Violation of 21
  7 U.S.C. §841(a)(1).

  8        Count 4: Aiding and Abetting Possession With Intent to Distribute Cocaine in
  9 violation of 21 U.S.C. §841(a)(1); 18 U.S.C. §2.
 10        3.    Mr. Harris' Plea Negotiations and Trial
 11        Upon retaining counsel, Mr. Harris attempted to enter plea negotiations with
 12 the government. He made it clear that he was willing to accept responsibility for his

 13 own acts and limited involvement with Mr. Villabona. Though the government

 14 accepted non-cooperation pleas from six of Mr. Harris' co-defendants, all who were

 15 supervisees of the criminal conspiracy, they denied Mr. Harris the same opportunity.

 16 Instead, they demanded Mr. Harris and co-defendants Villabona and Bennett

 17 cooperate with the government to receive a lesser sentence under a plea, or they

 18 would require he would go to trial and face a sentence that was significantly harsher.

 19        Since Mr. Harris had only minor interaction with Mr. Villabona, no
 20 involvement in the larger conspiracy, and was unwilling to provide perjured

 21 testimony, he had no choice but to go to trial. Mr. Harris was unsuccessful in his

 22 attempt to sever his trial from those of his co-defendants, so he was tried alongside

 23 the leaders of the criminal conspiracy.

 24        4.    The United States Probation Officer's Calculation of Mr. Harris'
 25              Guidelines Offense Level for His Narcotics-Related Convictions
 26        The United States Probation Office grouped Mr. Harris' convictions on Counts
 27 1-4 together for the purposes of calculating his offense level under the United States

 28 Sentencing Guidelines (the "Guidelines") for his narcotics-related convictions. (See


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  1 PSR, ¶¶112-114.) It then used §2D1.1 of the Guidelines to calculate that offense

  2 level. (Id.) In particular, §2D1.1 of the Guidelines instructs that the base offense

  3 level for any narcotics-related offense is determined by the Drug Quantity Table.

  4        5.      The U.S. Probation Office's Calculation of Mr. Harris' Guidelines
  5                Offense Level Adjustment for Role in the Offense
  6        U.S.S.G. §3B1.2 provides that the offense level for a minor participant in a
  7 conspiracy shall be reduced by 2 points. Even though Mr. Harris was described by

  8 the DEA as a "Los Angeles trafficker" who allegedly operated his own distributor

  9 ring which was "separate and apart from the Villabona-Bennett enterprise," (see
 10 PSR, ¶109) the Probation Office still recommended that no 2 point downward

 11 adjustment for mitigated role be applied.

 12        6.      The Probation Office's Computation of Mr. Harris' Criminal History
 13                Category
 14        The computation of a defendant's criminal history is used by the United States
 15 Probation Office to place a defendant in a category (I-VI), which when combined

 16 with the "Total Offense Level," determines an applicable Guidelines Sentencing

 17 Range. The number, and severity, or prior terms of imprisonment, are assigned

 18 Criminal History Points and are added together to establish a defendant's Criminal

 19 History Category. Mr. Harris had a prior state case in 1983 for carrying a concealed

 20 weapon, which resulted in a 2 point Guideline score. In 1985, Mr. Harris plead

 21 guilty to Possession of a Weapon in a Vehicle, a misdemeanor, which resulted in 1

 22 point of Criminal History. In 1988, Mr. Harris had been convicted of a Conspiracy

 23 to Commit Murder and Great Bodily Injury, which resulted in his being sentenced to

 24 an indeterminate state sentence of 25 years to life to run consecutive to a 3 year

 25 determinate state sentence and an increase in his Criminal History Guideline Score

 26 of 3 points.
 27        As previously mentioned, Mr. Harris has always maintained his innocence of
 28 committing the state crime. The total Criminal History points of 6 placed Mr. Harris


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  1 in Category III, which set his then sentencing guidelines range between 188-235

  2 months. If the 3 points for the 1988 state crimes that Mr. Harris has proof he

  3 actually was innocent of, were removed then Mr. Harris would be reduced to

  4 Criminal History Category II, which would result in a Guidelines Sentencing range

  5 of 168-210 months.

  6        7.     Mr. Harris' Sentencing Hearing on November 26, 1990
  7        Mr. Harris appeared before Judge William J. Rea for sentencing on Nov. 26,
  8 1990, and was represented by David M. Dudley. Mr. Dudley argued principally that

  9 the court should not effectively sentence Mr. Harris to a life sentence by ordering his
 10 235-month federal sentence to run consecutive to his two undischarged state

 11 sentences (see Sentencing Transcript, Exhibit H). There was much discussion by

 12 Mr. Dudley as to why Judge Rea should order Mr. Harris' federal sentence to run

 13 concurrent to his state sentences. It is explicitly clear based on the sentencing

 14 transcript that Judge Rea chose to run Mr. Harris' federal sentence consecutive to the

 15 state sentence that Mr. Harris was presently serving because the state offense was a

 16 crime of violence. The information in front of Judge Rea at the time of sentencing

 17 was a Probation Report which showed Mr. Harris was sentenced by the state court to

 18 serve two undischarged state sentences:

 19        1)     a 3-year determinate state sentence for Great Bodily Injury which was
 20               being served consecutive to;
 21        2)     a 25-year-to-life indeterminate state sentence for Conspiracy to Commit
 22               Murder.
 23        It is abundantly clear that Judge Rea chose to run Mr. Harris' federal sentence
 24 consecutive to the determinate state sentence for GBI Mr. Harris was presently

 25 serving because of the violent nature of the state crime. Judge Rea even stated that

 26 "the thrust of this particular case" was that Mr. Harris should not receive any federal
 27 credit, or a "free bite out of the apple," for a state crime that included conspiracy to

 28 commit murder. (Id.) Nowhere does Judge Rea ever state, or imply, that it was the


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  1 nature of Mr. Harris' federal drug convictions on which he was basing his decision to

  2 impose a consecutive federal sentence. Quite the opposite, Judge Rea chose to run

  3 each of Mr. Harris' four federal drug convictions concurrent with each other.

  4        The second issue Mr. Dudley argued both at sentencing and in his sentencing
  5 memorandum (see Exhibit I; 1990 Sentencing Memorandum) is his objection to the

  6 Probation Officer's failure -- based on the irrefutable facts presented at trial -- to

  7 apply a 2 point minor participation reduction, per U.S.S.G. §1B1.2, to Mr. Harris'

  8 role in the overall Villabona-Bennett conspiracy which would have reduced his

  9 offense level from 36 to 34. Although Mr. Dudley clearly brought his objection to
 10 the attention of Judge Rea, a review of the sentencing transcripts will show that

 11 Judge Rea failed to ever address the issue. While Mr. Harris, the government, and

 12 the Court all agreed that Mr. Harris' base offense level for drug amount was 36,

 13 which at the time represented any amount of cocaine greater than 50 kilograms, at no

 14 time during the course of sentencing was there ever any discussion much less

 15 agreement concerning the specific amount of drugs involved in the greater

 16 conspiracy that was directly attributable to Mr. Harris's own or relevant conduct.

 17        8.     Mr. Harris' Federal Direct Appeal
 18        To United States Court of Appeals for the Ninth Circuit. United States v.
 19 Barona, 56 F.3d 1087; 1995 U.S. App. LEXIS 13590; 95 Cal. Daily Op. Service

 20 4161; 95 Daily Journal DAR 7174, October 5, 1994, Argued and Submitted,

 21 Pasadena, California, June 5, 1995, Filed.

 22        Mr. Harris timely appealed his conviction and sentence to the U.S. Court of
 23 Appeals for the Ninth Circuit (the "Ninth Circuit"), which was affirmed in part,

 24 reversed in part, and remanded to the District Court on June 6, 1995. Writ of

 25 Certiorari was denied on January 22, 1996.

 26        9.     Mr. Harris' Other Post-Conviction Litigation
 27         Petitioner filed a motion under 28 U.S.C. §2255. See Dkt. Ent. #1086. The
 28 Court denied Petitioner's §2255 motion on August 31, 1995, which the Ninth Circuit


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  1 affirmed on July 15, 1996. See United States v. Harris, 1996 U.S. App. LEXIS

  2 17765 (9th Cir., Mem. Disp. Dated: July 15, 1996).

  3         On October 30, 1995, Petitioner filed a motion for resentencing under Fed. R.
  4 Crim. P. 32. See Dkt. Ent. #1118. Following an evidentiary hearing conducted on

  5 November 6, 1995, the Court denied Petitioner's motion. The Ninth Circuit affirmed

  6 on October 10, 1996. See United States v. Harris, 1996 U.S. App. LEXIS 26690

  7 (9th Cir., Mem. Disp. Dated: October 10, 1996).

  8         On December 16, 2011, Petitioner filed his Petition for Writ of Habeas
  9 Corpus, pursuant to 28 U.S.C. §2241, Michael Ray Harris v. Jack Fox (U.S. Dist.
 10 Court, Northern Dist. Cal. Case No. C-11-80261-WHA). (Dkt. Ent. #12.) On

 11 December 30, 2011, the government filed a Motion to Dismiss. (Dkt. Ent. #22.) On

 12 September 4, 2014, the District Court entered an order denying the Petition under

 13 §2241. (Dkt. Ent. #45.)

 14         On October 2, 2014, Petitioner filed a timely Notice of Appeal as to the order
 15 denying his Petition for Writ of Habeas Corpus. (Dkt. Ent. #49.)

 16         On September 4, 2014, Petitioner filed a Motion to Alter or Amend the Order
 17 and Judgment under Fed. R. Civ. P. 59(e) and 60(b). (Dkt. Ent. #48.) On November

 18 10, 2014, the District Court denied Petitioner's Motion. (Dkt. Ent. #56.)

 19         On December 9, 2014, Petitioner filed a timely Notice of Appeal as to the
 20 order denying his Motion to Alter or Amend the Order and Judgment. (Dkt. Ent.

 21 #57.)

 22         On May 17, 2017, Petitioner filed in the sentencing court to reduce his
 23 sentence by the equivalent of two guideline levels pursuant to U.S.S.G. Amendment

 24 No. 782 and 18 U.S.C. §3582(c)(2).

 25         On May 17, 2017, the District Court ordered the Probation Office to submit an
 26 updated/complete supplemental presentence report for purposes of resolving
 27 defendant Harris' §3582(c)(2) motion. On July 24, 2017, the supplemental PSR and

 28 recommendation letter were disclosed to the parties. The revised PSR initially


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  1 supported the motion for a 2-level reduction in the Base offense Level for drug

  2 amount from 36 to 34. The cover letter to the Presentence Report contained an

  3 insightful analysis of pertinent considerations in assessing the propriety of the

  4 Amendment 782 reduction with respect to Mr. Harris. In recommending a reduction

  5 from 235 months to 188 months, the Probation Officer cited:

  6        --The 18 U.S.C. §3553(a) criteria, with a particular emphasis on relative
  7        culpability among the defendants in this case and avoiding "unwarranted
  8        sentencing disparities among defendants with similar records who had been
  9        found guilty of similar conduct" (see Pages 3-4 of Cover Letter to Presentence
 10        Report, dated July 17, 2017);
 11        -- Public Safety Considerations. The Probation Officer noted that if the
 12        sentencing reduction were to be granted, Mr. Harris would be approximately
 13        61 years old when released from prison and pointed out that "research clearly
 14        shows the risk of recidivism is substantially lower for an offender that age. In
 15        short, reducing the defendant's sentence to 188 months is unlikely to
 16        compromise public safety" (see Pages 4-5 of Cover Letter to Presentence
 17        Report, dated July 17, 2017); and
 18        --Post-Sentencing Conduct. Here the Probation Officer observed:
 19              Harris has distinguished himself by his exceptional pro-
 20              social, post-sentencing conduct while in state prison. He
 21              worked to make society safer by mentoring fellow inmates
 22              to lead a crime-free life, and by promoting educational and
 23              vocational initiatives within the prison system. It speaks
 24              volumes that so many distinguished public servants in the
 25              Bay area, occupying high-profile positions, would endorse
 26              so strongly someone like Harris, who was then a San
 27              Quentin inmate serving a 25-year prison sentence for
 28              attempted murder. A common theme runs through the


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  1               many letters submitted by both the mayor and chief of
  2               police for the city of Richmond, California, as well [as]
  3               those submitted by the state senator, assembly member,
  4               county supervisor and others serving that area (PACER
  5               Doc. No. 1373-1). All believed the city of Richmond
  6               would have benefitted immediately if Harris was paroled,
  7               so that he might deploy his unique skill set to improve
  8               neighborhood safety.
  9               Since entering the Bureau of Prisons, Harris has continued
 10               his exceptional post-sentencing rehabilitation. He has
 11               completed numerous educational programs, including
 12               college-level courses. As was the case in the California
 13               Department of Corrections, Harris has maintained an
 14               exemplary disciplinary record. In light of the factors
 15               considered above, the Probation Officer recommends the
 16               Court exercise its discretion to reduce Harris's base offense
 17               level by two levels. (See Page 5 of Cover Letter to the
 18               PSR.)
 19        On October 3, 2017, the Government filed its Opposition. On October 9, 2017
 20 the Probation Office filed an amended PSR, reversing its earlier position. On

 21 October 13, 2017, Petitioner Harris, through counsel, replied to the Government's

 22 Opposition.

 23        On March 27, 2018, the Court considered Petitioner Michael Harris' motion
 24 for a sentence reduction pursuant to 18 U.S.C. §3582(c)(2), together with the moving

 25 and opposing papers. This court stated that Petitioner "Harris raises various

 26 arguments as to why the full 2,776 kilograms should not be attributable to him.
 27 However, [Section] 3582(c)(2)'s limited scope allows for the Court to, now,

 28 determine only what the amended guideline range would have been had the relevant


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  1 amendment been in effect at the time of the initial sentencing. See Dillon vs. United

  2 States, 560 U.S. 817, 827 (2010). Accordingly, Harris' arguments are outside the

  3 scope of a [Section] 3582(c)(2) motion. See Dillon, 560 U.S. at 827.

  4        "Because Harris is ineligible for a sentence reduction, the Court may not
  5 consider Harris's post-conviction achievements or any other 18 U.S.C. §3582(a)

  6 sentencing factors in evaluating this motion. See Serrano, 615 Fed. Appx. at 468."

  7 The motion for sentence reduction based on Amendment 782 was denied.

  8        Harris filed a timely appeal on July 9, 2018 to the Ninth Circuit, United States
  9 v. Michael Harris, C.A. No. 18-50114. After briefing was completed by both parties,
 10 the government filed a supplemental letter dated April 25, 2019 pursuant to Federal

 11 Rule of Appellate Procedure 28(j) to address recently published authority, United

 12 States v. Rodriguez, C.A. No. 17-10233 (slip op.) (9th Cir. April 24, 2019), which

 13 address issues raised in Mr. Harris' appeal. The government in its letter conceded

 14 that the recently decided Rodriguez opinion "undermines" its position.

 15        In response to the government's April 25, 2019 letter, Petitioner Harris'
 16 attorney filed a letter dated April 27, 2019, in which Harris agreed that the Rodriguez

 17 opinion "undermines [the government's] previously argued position in its answering

 18 brief that 'the sentencing court's adoption of the PSR's uncontested drug-quantity

 19 findings precluded further fact-finding to determine defendant's eligibility for relief

 20 under 18 U.S.C. §3582(c)(2)."

 21        The Ninth Circuit panel, in a Memorandum dated July 2, 2019, affirmed the
 22 lower court's opinion that "Harris' arguments are outside the scope of a Section

 23 3582(c)(2) motion."

 24                                            IV.
 25                                      ARGUMENT
 26        Mr. Harris recognizes the significant harm caused by the cocaine that flooded
 27 into Los Angeles during the late 1980s, and he accepts full responsibility for his role

 28 and active participation in its distribution. However, Mr. Harris' case is


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  1 extraordinary and compelling because Harris served 23 years in the California state

  2 prison system for a crime of which he is actually innocent, and consequently he now

  3 is barely halfway through serving a 19-year consecutive federal sentence that was

  4 improperly executed and should have expired years ago. During this 32 period, Mr.

  5 Harris' rehabilitation has been beyond exceptional, as he has not only transformed his

  6 own life, he has helped to create numerous rehabilitative programs that have helped

  7 countless other prisoners to transform their own.

  8        Over these past three decades, Mr. Harris, by his actions, has consistently
  9 proven himself to be deserving of a "second chance" and a reduction of his sentence.
 10 And with the recent passage of the First Step Act of 2018, this Court has been

 11 authorized by Congress to take a "second look" at Mr. Harris's case, and based on

 12 any reason(s) this Court finds "extraordinary and compelling," this court is

 13 empowered to reduce Mr. Harris' sentence and grant his release.

 14                                            V.
 15         THIS COURT HAS THE AUTHORITY TO REDUCE MR. HARRIS
 16          SENTENCE TO TIME SERVED PURSUANT TO 3582(c)(1)(A)(i)
 17              FOR EXTRAORDINARY AND COMPELLING REASONS
 18        With the changes to 18 U.S.C. §3582(c)(1)(A) contained in the First Step Act,
 19 District Courts no longer need await a motion from the Director of the BOP before

 20 reducing a defendant's sentence (even to time served) based on the existence of

 21 "extraordinary and compelling" circumstances. Rather, District Courts may now do

 22 so directly upon the filing of a motion by a defendant after the earlier of the

 23 following two events: (1) rejection by the warden of the facility in which a defendant

 24 is being held of such a request; or (2) the lapse of 30 days from the receipt of the

 25 request by the warden of such facility.

 26        Moreover, the "extraordinary and compelling reasons" upon which District
 27 Courts may reduce a sentence are no longer limited to medical condition, age and

 28 family circumstances. Rather, no limits any longer exist as to the "extraordinary and


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  1 compelling reasons" that might warrant a sentence reduction pursuant to 18 U.S.C.

  2 §3582(c)(1)(A). This Court therefore is free to determine on its own whether

  3 "extraordinary and compelling reasons" exist such that a reduction of Mr. Harris's

  4 federal sentence is warranted.

  5 A.     Congress Intended to Empower District Courts to Reduce Sentence Based on
  6        "Extraordinary and Compelling Reasons" Other Than Medial Condition, Age
  7        and Family Circumstances
  8        Congress first enacted the modern form of "compassionate release" in 18
  9 U.S.C. §3582 as part of the Comprehensive Crime Control Act of 1984. That
 10 legislation included (among other things) the major sentencing reforms reflected in

 11 the Sentencing Reform Act of 1984, including the abolition of parole and

 12 implementation of the Sentencing Guidelines, which combined to ensure that most

 13 defendants would serve in full the terms of imprisonment imposed on them at

 14 sentencing (save for limited "good-time" credit). Recognizing that the abolition of

 15 parole would eliminate the criminal justice system's means for adjusting to changed

 16 circumstances, Congress created number of statutory sentence adjustment provisions
                                                          3
 17 which are collectively codified in 18 U.S.C. §3582(c).

 18        As relevant here, 18 U.S.C. §3582(c)(1)(A) provides that District Courts can
 19 modify a "final term of imprisonment" if "extraordinary and compelling reasons

 20 warrant such a reduction." Three points bear noting with regard to the operation of

 21 18 U.S.C. §3582(c)(1)(A):

 22        First, Congress empowered district courts, not the U.S. Parole Commission, to
 23 decide, in individual cases, if "there is a justification for reducing a term of

 24 imprisonment." See S. Rep. No. 98-225, at 56 (1983). Put differently, Congress

 25 envisioned 18 U.S.C. §3582(c)(1)(A) acting as a "safety valve[] for [the]

 26 modification of sentences" and intended for district courts to be able to reduce
 27
           3
               See generally Shon Hopwood, Second Looks & Second Chances, Cardozo
 28 Law Review (available today at https://papers.ssrn.com/so13/papers.cfm?
      abstract_id=3404899).
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  1 sentences when justified by the various factors and reasons that the U.S. Parole

  2 Commission previously had considered in making parole determinations. Id. at 121.

  3 Lawmakers further noted that the foregoing approach would keep "the sentencing

  4 power in the judiciary where it belongs," rather than with the U.S. Parole

  5 Commission, and that 18 U.S.C. §3582(c)(1)(A) would allow for the "later review of

  6 sentences in particularly compelling situations." Id. This legislative history

  7 demonstrates that Congress, in passing the Comprehensive Crime Control Act 1984,

  8 intended to give district courts an equitable power to employ on an individualized

  9 basis to correct sentences when "extraordinary and compelling reasons" indicate that
 10 the sentence initially imposed on any individual defendant no longer served

 11 legislative objectives.

 12        Second, although the power to reduce sentence provided for by 18 U.S.C.
 13 §3582(c)(1)(A) has most often been used to reduce the prison terms of elderly and/or

 14 terminally ill defendants, nothing in the statutory language or legislative history of

 15 18 U.S.C. §3582(c) indicates that Congress intended to limit its application to elderly

 16 defendants or defendants with compelling medical circumstances. Rather, if a judge

 17 finds the existence of any "extraordinary and compelling reasons" warranting a

 18 sentence reduction, those reasons could, pursuant to 18 U.S.C. §3582(c)(1)(A), form

 19 the legal basis for the reduction "of an unusually long sentence." Id. at 55-56.

 20 Indeed, the legislative history of 18 U.S.C. §3582(c)(1)(A) indicates that lawmakers

 21 thought that "extraordinary and compelling reasons" for a sentence reduction should

 22 not be limited to medical condition, age and family circumstances. In particular,

 23 recognizing that parole had historically played a key role in the federal criminal

 24 justice system, legislators explained how some defendants may warrant a sentence

 25 reduction (after service of some period of incarceration) based on any number of

 26 "circumstances":
 27               The [Senate Judiciary] Committee believes that there may
 28               be unusual cases in which an eventual reduction in the


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  1              length of a term of imprisonment is justified by changed
  2              circumstances. These would include cases of severe
  3              illness, cases in which other extraordinary and
  4              compelling circumstances justify a reduction of an
  5              unusually long sentence, and some cases in which the
  6              sentencing guidelines for the offense of which the
  7              defendant was convicted have been later amended to
  8              provide a shorter term of imprisonment." Id. at 55-56
  9              (1983). (Emphasis added.)
 10        Third, notwithstanding all of the foregoing, Congress conditioned the
 11 reduction of any "final term of imprisonment pursuant to 18 U.S.C. §3582(c)(1)(A)

 12 on the filing of a motion by the Director of the BOP requesting such a reduction.

 13 Thus, District Courts -- until the recently enacted First Step Act -- were only

 14 authorized to reduce a sentence based on "extraordinary and compelling reasons" if

 15 asked to do so by the Director of the BOP.

 16 B.     The U.S. Sentencing Commission has Indicated that the "Extraordinary and
 17        Compelling Reasons" Upon Which a Sentence Reduction Pursuant to 18
 18        U.S.C. §3582(c)(1)(A) May Be Based are Not Limited to Medical Condition,
 19        Age and Family Circumstances
 20        In enacting the Comprehensive Crime Control Act of 1984, Congress tasked
 21 the U.S. Sentencing Commission (the "Sentencing Commission") with responsibility

 22 for developing standards for identifying the existence of "extraordinary and

 23 compelling reasons" for a sentence reduction. See 28 U.S.C. §994(t) ("The

 24 Commission...shall describe what should be considered extraordinary and

 25 compelling reasons for sentence reduction, including the criteria to be applied and a

 26 list of specific examples"). The Sentencing Commission, though, initially neglected
 27 that legislatively mandated obligation. But in 2007, the Sentencing Commission

 28 finally acted, promulgating a policy statement advising that "extraordinary and


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  1 compelling reasons" warranting a sentence reduction could include medical

  2 condition, age, family circumstances and "other reasons." See U.S.S.G. §1B1.13,

  3 Application Note 1(A) (Amendment 698).

  4         Notwithstanding the foregoing, in April, 2013, the Office of the Inspector
  5 General of the U.S. Department of Justice (the "OIG") issued a scathing report

  6 finding that the Director of the BOP rarely filed 18 U.S.C. §3582(c)(1)(A) sentence

  7 reduction motions (even for defendants who clearly met the Sentencing
                                                              4
  8 Commission's objective criteria for a sentence reduction). In response, the

  9 Sentencing Commission expanded its guidance to district courts on qualifying
 10 circumstances and encouraged the BOP to file 18 U.S.C. §3582(c)(1)(A) motions

 11 whenever a defendant meets the criteria set forth in §1B1.13 of the guidelines. See

 12 U.S.S.G. §1B1.13, Applications Note 4; United States v. Dimasi, 220 F. Supp. 3d

 13 173, 175 (D. Mass 2016) (discussing the progression from the OIG report to new

 14 "encouraging" guidelines). In doing so, the Sentencing commission identified

 15 several categories of qualifying "extraordinary and compelling reasons," including

 16 medical condition, age, family circumstances and "[o]ther reasons, for circumstances

 17 in which the Director of the BOP determines that there is an extraordinary and

 18 compelling reason other than, or in combination with," medical condition, age and

 19 family circumstances. U.S.S.G. §1B1.13, Application Note 1(A) (internal quotation

 20 marks omitted). The Sentencing Commission also clarified that "extraordinary and

 21 compelling reasons" need "not have been unforeseen at the time of sentencing in

 22 order to warrant" a sentence reduction. Id. Application Note 2. In other words, an

 23 "extraordinary and compelling" reason for a sentence reduction that could have been

 24 known or anticipated by a district court at the time of initial sentencing "does not

 25 precludes [its] consideration" for a sentence reduction. Id.

 26
 27
            4
                See U.S. Department of Justice Office of the Inspector General, "The Federal
 28 Bureau of Prisons' Compassionate Release Program (Apr. 2013) (Footnote 11). (See
      also https://oig.justice.gov/reports/2013/e1306.pdf.).
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  1        Thus, simply put, the Sentencing Commission, consistent with the text and
  2 legislative history of 18 U.S.C. §3582(c)(1)(A), concluded that reasons beyond

  3 medical condition, age and family circumstances could constitute "extraordinary and

  4 compelling reasons" for a sentence reduction and that those "extraordinary and

  5 compelling reasons" need not necessarily relate to a defendant's circumstances after

  6 sentencing.

  7        One other significant point bears noting: Congress set forth only one
  8 limitation when it delegated authority to the Sentencing Commission to develop

  9 standards for identifying "extraordinary and compelling reasons" for a sentence
 10 reduction: "Rehabilitation of the defendant alone shall not be considered an

 11 extraordinary and compelling reason." 28 U.S.C. §994(t). (Emphasis added.)

 12 Lawmakers no doubt legislated that sole limitation so that District Courts would not

 13 use a defendant's rehabilitation, standing alone, as a basis for a sentence reduction,

 14 thereby creating a direct substitute for the parole system that Congress abolished

 15 when it passed the Comprehensive Crime Control Act of 1984. But legislators' use

 16 of the modifier "alone" evidences that they believed that rehabilitation is relevant to

 17 the question of whether a sentence should be reduced and that rehabilitation, when

 18 considered together with other equitable factors, could constitute "extraordinary and

 19 compelling reasons" for a sentence reduction.

 20 C.     The First Step Act Authorizes Federal Courts to Reduce Sentences Based on
 21        Virtually Any "Extraordinary and Compelling Reasons"
 22        As detailed above, District Courts, before the First Step Act, could only reduce
 23 a defendant's sentence if the Director of the BOP filed a motion before the District

 24 Court requesting such relief. See United States v. Beck, Case No. 13-CR-

 25 186-6, 2019 WL 2716505, at *4 (W.D.N.C. June 28, 2019) ("Before passage of the

 26 First Step Act of 2018, district courts could grant compassionate release sentence
 27 reductions only upon a motion by the BOP Director"). In other words, District

 28 Courts had no authority before the First Step Act (absent the filing of a motion by the


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  1 Director of the BOP) to reduce the sentence of any defendant, even if a defendant

  2 unambiguously presented "extraordinary and compelling reasons" for a sentence

  3 reduction (either as determined by a judge or as defined by the Sentencing

  4 Commission in §1B1.13 of the Guidelines).

  5         Thus, practically speaking, the Director of the BOP was unilaterally
  6 empowered to determine which defendants presented "extraordinary and compelling

  7 reasons" for a sentence reduction and was the only individual authorized by law to
                                             5
  8 initiate a sentence reduction proceeding. Indeed, even the U.S. Department of

  9 Justice recognized that, before passage of the First Step Act, the BOP (not the
 10 Sentencing Commission, a defendant, a prosecutor or even a judge) functionally had

 11 final say on what constituted an "extraordinary and compelling reason" for a

 12 sentence reduction because only the Director of the BOP could file an 18 U.S.C.

 13 §3582(c)(1)(A) sentence reduction motion. As the U.S. Department of Justice

 14 asserted in a letter to Gilberto Hinojosa, Chairman of the U.S. Sentencing

 15 Commission in 2007, since Congress authorized the BOP alone to determine which

 16 defendants to bring to a court's attention for a potential sentence reduction, "it would

 17 be senseless [for the Sentencing Commission] to issue policy statements allowing the

 18 court to grant such motions on a broader basis than the responsible agency will seek

 19 them").

 20         The OIG found that leaving the Director of the BOP with such unilateral and
 21 unqualified authority created several problems. Among other things, the OIG found

 22 that the BOP: (1) failed to provide adequate guidance to staff on the criteria for 18

 23 U.S.C. §3582(c)(1)(A) motions; (2) failed to set time-lines for the review of requests

 24 for 18 U.S.C. §3582(c)(1)(A) motions; (3) failed to create formal procedures for

 25 informing defendants about 18 U.S.C. §3582(c)(1)(A); and (4) failed to generate a

 26
            5
 27 sentenceThe BOP's policies and procedures concerning 18 U.S.C. §3582(c)(1)(A)
             reduction motions in existence before passage of the First Step Act are
      found in "Program Statement 5050.49 -- "Compassionate Release/Reduction in
 28 Sentence: Procedures for implementation of 18 U.S.C. §3582(c)(1)(A) and 4205(g)"
      (March 25, 2015). See https://www.bop.gov/policy/progstat/5050_049_CN-1.pdf.
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  1 system for tracking requests for 18 U.S.C. §3582(c)(1)(A) motions. Thus, the OIG

  2 concluded that the "BOP does not properly manage the compassionate release

  3 program, resulting in inmates who may be eligible candidates for release not being
                    6
  4 considered." Id.

  5         Congress heard and acted on those complaints. In late 2018, it passed the First
  6 Step Act, which fundamentally transformed the process by which 18 U.S.C.

  7 §3582(c)(1)(A) sentence reduction motions are adjudicated. In particular, instead of

  8 relying on the Director of the BOP to determine whether "extraordinary and

  9 compelling reasons" exist supportive of a sentence reduction and instead of relying
 10 on the Director of the BOP to file an 18 U.S.C. §3582(c)(1)(A) sentence reduction

 11 motion, District Courts today can resentence a defendant "upon motion of the

 12 defendant" as long as a defendant first files a request for a sentence reduction motion

 13 with the warden of the facility in which s/he is being held that is rejected or the lapse

 14 of 30 days "from the receipt of such a request by the warden of the defendant's

 15 facility," whichever happens first. See 18 U.S.C. §3582(c)(1)(A); Beck, 2019 WL

 16 2716505, at *5 ("Among other things, [the First Step Act] add[s] a provision

 17 allowing courts to consider motions by defendants for compassionate release without

 18 a motion by the BOP Director so long as the defendant has asked the Director to

 19 bring such a motion and the Director fails or refuses").

 20         Thus, simply put, once a defendant files an 18 U.S.C. §3582(c)(1)(A) sentence
 21 reduction motion after the occurrence of either of the two foregoing events, a district

 22 court may reduce that defendant's sentence to time served (or any other prison term

 23 short of the initial sentence) if it finds that (1) "extraordinary and compelling

 24 reasons" exist for a sentence reduction after considering the 18 U.S.C. §3553(a)

 25 factors; and (2) a reduced prison term is consistent with the applicable policy

 26 statements set forth in §1B1.13 of the Guidelines.
 27
            6
                See also Stephen R. Sady & Lynn Deffebach, "Second Look Resentencing
 28 Under 18 U.S.C. §3582(c) as an Example of Bureau of Prisons Policies That Result
      in Over Incarceration," 21 Fed. Sent. Rptr. 167 (Feb. 2009).
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  1         See Beck, 2019 WL 2716505 at *6 ("Thus, courts may, on motions by
  2 defendants, consider whether a sentence reduction is warranted for extraordinary and

  3 compelling reasons other than those specifically identified in the application notes to
                              7
  4 the old policy statement.

  5         Congress made the forgoing changes in an effort to expand the use of 18
  6 U.S.C. §3582(c)(1)(A) in the reduction of sentence that no longer serve the

  7 penological objectives of the federal criminal justice system. Thus, today, federal

  8 judges have the power to order sentence reductions and, doing so, are authorized to

  9 reduce prison terms (even to time served) on the full array of grounds reasonably
 10 encompassed by the phrase "extraordinary and compelling reasons." Put differently,

 11 relief under 18 U.S.C. §3582(c)(1)(A) is now available to any defendant whose

 12 conditions have changed such that a fair-minded person could conclude that

 13 "extraordinary and compelling" reason for a sentence reduction exist.

 14         United States v. Cantu-Rivera, Case No. 89-CR-204, 2019 WL 2578272 (S.D.
 15 Tex. June 24, 2019), is instructive with regard to this Court's newfound authority to

 16 reduce sentences based on "extraordinary and compelling reasons" (even if those

 17 reasons do not relate to medical condition, age or family circumstances). Initially, the

 18 court in Cantu-Rivera explained that"[t]he First Step Act of 2018 amended 18 U.S.C.

 19 §3582(c)(1)(A) to allow district courts to modify sentences of imprisonment upon

 20 motion by the defendant if the defendant has fully exhausted all [BOP]

 21 administrative remedies...or 30 days from the receipt of such a request by a warden

 22
            7
 23         Nothing in 18 U.S.C. §3582(c)(1)(A) precludes a district court from
    resentencing a defendant who presents "extraordinary and compelling reasons" for a
 24 sentence reduction to a prison terms that is shorter than any mandatory minimum
    (including, as applicable here, the mandatory life sentence provided for by 21 U.S.C.
 25 §848(b)).
           Also, notably, 18 U.S.C. §3582(c)(1)(A) sentence reduction motions do not
 26 constitute an appeal or review of a BOP determination on a request for such a
    sentence  reduction motion. Rather, any such motion is filed and considered on a de
 27 novo basis. See Beck,   2019 WL 2716505 at *13 ("the terms of the First Step Act
      give courts independent authority to grant motions for compassionate release and
 28 says nothing about deference to BOP, thus establishing that Congress wants courts to
      take a de novo look at compassionate release motion").
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  1 of the defendants facility, whichever is earlier." Id. at *1 (internal quotation marks

  2 omitted). It then reduced that defendant's life sentence (for conspiracy to possess

  3 with intent to distribute in excess of five kilograms of cocaine) to time served (after

  4 service of more than 30 years imprisonment) based principally on "the extraordinary

  5 degree of rehabilitation Mr. Cantu-Rivera has accomplished during," the 30 years he

  6 has been incarcerated," including "extensive educational achievements," such as

  7 completion of over 4,000 hours of teaching while in federal prison to complete a

  8 Teaching Aide apprenticeship with the Department of Labor," his "service as a

  9 teaching assistant in several prison facilities for high-school equivalency and
 10 English-as-a Second-Language programs" and "his service in the BOP's suicide

 11 watch program , helping to care for inmates placed in solitary confinement due to

 12 suicide attempt."

 13        Similarly, in United States v. Cantu, Case No.05-CR-458, 2019 WL 2498923
 14 (S.D. Tex. June 17, 2019), the court properly noted that "[a] court may now,"

 15 Pursuant to 18 U.S.C. §3582(c)(1)((A), "modify a defendant's sentence if it finds on

 16 either the BOP's or the defendant's motion that 'extraordinary and compelling reasons

 17 warrant such a reduction' and 'such a reduction is consistent with applicable policy

 18 statements issued by the Sentencing Commission.'" Id. at*1. It then reduced that

 19 defendant's 290-month sentence (which had previously been reduced to 210 months

 20 based on Amendments 782 and 788 to the Guidelines) to time served (after service

 21 of more than 14 years imprisonment) based principally on his medical condition,

 22 even though he "ha[d] not presented evidence that his reasons are extraordinary and

 23 compelling under the three explicitly defined reasons" set forth in Application Note 1

 24 to §1B1.13 of the Guidelines. Id. at *3.

 25        And, in United States v. McGraw, Case No. 02-CR-00018, 2019 WL 2059488
 26 (S.D. Ind. May 9, 2019), the court stated that the First Step Act's modification of 18
 27 U.S.C. §3582(c)(1)(A) "now provides an avenue for a defendant to seek a [sentence

 28 reduction directly] from the Court" and that "courts have universally turned to


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  1 Sentencing Guidelines §1B1.13 to provide guidance on the 'extraordinary and

  2 compelling reasons' that may warrant a sentence reduction." Id. at *1. It then

  3 reduced that defendant's life sentence (after service of more than 17 years

  4 imprisonment ) based principally on "his serious medical conditions," even though

  5 he had a long criminal history and had occupied a "leadership" position in the

  6 Diablos motorcycle gang. Id. at 2-6.

  7                                            VI.
  8    MR. HARRIS HAS EXHAUSTED HIS ADMINISTRATIVE REMEDIES FOR
  9      THE FILING OF AN 18 U.S.C. §3582(c)(1)(A) SENTENCE REDUCTION
 10                      MOTION DIRECTLY WITH THIS COURT
 11        On November 25, 2019, Mr. Harris filed a request for a sentence reduction
 12 motion (Remedy Request No. 998407-F1) with the warden of the facility in which he

 13 is incarcerated (Federal Correctional Institution, Lompoc ("FCI Lompoc"), in

 14 Lompoc, California (Exhibit C). More than 30 days passed before Mr. Harris

 15 received a response (on January 22, 2020) from the warden at FCI Lompoc rejecting

 16 his request for a sentence reduction motion. (Exhibit C.) Thus, Mr. Harris now is

 17 statutorily authorized to directly present this Court with the instant 18 U.S.C.

 18 §3582(c)(1)(A) sentence reduction motion.

 19                                           VII.
 20        EXTRAORDINARY AND COMPELLING REASONS SUPPORT THE
 21   REDUCTION OF MR. HARRIS' 235-MONTH SENTENCE TO TIME SERVED
 22        As noted before, Mr. Harris has served over 32 years in prison, 23 of those for
 23 a state crime for which he was innocent, and he has since served almost nine years

 24 on a 19-year federal sentence which was improperly executed -- a long time behind

 25 bars by any measure by anyone. (See McGraw, 219 WL 2059488 at *5 ("Mr.

 26 McGraw has been in custody since September, 2002 -- nearly 17 years. That is a
 27 significant sanction.")) Rather than blaming others for his incarceration, Mr. Harris

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  1 acknowledged and accepted complete responsibility for his incarceration as an

  2 inevitable consequence of his youthful and misguided decision to sell drugs.

  3        Having recognized the factors which led him to make the unfortunate choice
  4 to engage in a criminal lifestyle, Mr. Harris took action to change the direction of his

  5 life's journey and began to walk down a path of self-reflection, emotional growth,

  6 and personal transformation. Mr. Harris realized if he was to find meaning and self-

  7 worth in life, he would have to find it while incarcerated, so he became an active

  8 participant in the many self-help and educational programs offered within the prison

  9 over the years. Mr. Harris steadily progressed from one who sought help from
 10 others, to one who provided help to others. Mr. Harris has done everything in his

 11 power to rehabilitate himself, as demonstrated by his many exceptional

 12 accomplishments and his meritorious prison record. Mr. Harris' numerous

 13 contributions in bettering our communities have been recognized by prison officials,

 14 elected and government officials, and business and community leaders, all of whom

 15 have written letters of support and see no point in his continued confinement. And

 16 he has the wholehearted support of a large and loving family.

 17        As a buyer, who was "separate and apart" from the Villabona Organization,
 18 Mr. Harris played a minor role in the conspiracy, but he makes no excuses for the

 19 harm his distribution of drugs into Los Angeles caused his community and his

 20 family. Mr. Harris fully understands the nature and the magnitude of his

 21 wrongdoings, and does not seek to justify, diminish or detract from the seriousness

 22 of his offenses. He unequivocally accepts responsibility for his criminal conduct (as

 23 he was prepared to do before trial but for the government's insistence that he provide

 24 substantial cooperation and assistance against his co-defendants in order to be

 25 offered any plea agreement).

 26        The decades Mr. Harris has spent imprisoned has profoundly affected his view
 27 of himself, of his decisions, and of his impact upon society. He has put a great deal

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  1 of time and effort into transforming himself into a self-aware, responsible and pro-

  2 social citizen, who will present no danger to the public if released from custody.

  3        Thus, Mr. Harris respectfully submits that "extraordinary and compelling
  4 reasons" exist for the reduction of his 235-month sentence to time served.

  5 A.     Mr. Harris is Remorseful, Contrite, and Accepts Full Responsibility for His
  6        Criminal Conduct
  7        While Mr. Harris has made it clear that he was only a customer of the
  8 Villabona-Bennett Organization, Mr. Harris does not deny that he operated his own

  9 sizeable drug distribution network in Los Angeles. Though Mr. Harris has always
 10 maintained that he was a minor participant in the drug conspiracy for which he was

 11 indicted, Mr. Harris has never sought to diminish his role in the devastation wrought

 12 upon his community as a direct consequence of his drug distribution activities. Mr.

 13 Harris may have occupied a minor role in the particular criminal offense for which

 14 he was convicted, but he recognizes that his past actions play a major part in the

 15 damage caused by the cocaine epidemic of the 1980s.

 16        When Mr. Harris was selling drugs, in the mid-1980s, he thought he knew
 17 everything. As a wholesaler of cocaine, he wasn't involved in the day-to-day street

 18 level retail end of the drug trade. Since he didn't witness firsthand how the drugs he

 19 distributed were ruining the lives of the people who used them, he viewed his

 20 criminal activity as a victimless enterprise. While Mr. Harris tried to hide in plain-

 21 sight as a legitimate entrepreneur of society, he funded his businesses from the

 22 profits he obtained off the addictions of others. At the time of his arrest, Mr. Harris

 23 was too young and too self-centered to connect the dots between the drugs he

 24 distributed, and the lives of those drugs destroyed.

 25        During his lengthy period of incarceration, Mr. Harris has learned to recognize
 26 the errors in his thinking. Over the past more than three decades, Mr. Harris has
 27 lived alongside countless addicts, from every race and background, and he has

 28 listened to their personal horror stories of abusing the same kinds of drugs Mr. Harris


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  1 once distributed. This reality has profoundly altered his understanding of the harm

  2 his criminal activity actually caused. Mr. Harris recognizes that he earned his

  3 incarceration through his own choices. He accepts full responsibility for his past

  4 actions and to this day carries a deep sense of regret. It both pains and shames him

  5 to think about who he was, and what he did to his family and to his community. Mr.

  6 Harris has learned valuable lessons over the past more than thirty years, and he fully

  7 recognizes that he must always be accountable as a member of society, regardless of

  8 whether that society is located within a prison, or in the world outside of the prison's

  9 walls. Mr. Harris offers the following evidence of his remorse, contrition, and
 10 acceptance of responsibility, and respectfully submits that, combined with other

 11 factors detailed herein, these endorsements demonstrate "extraordinary and

 12 compelling reasons" supportive of a sentence reduction:

 13        Lt. S. Robinson, Public Information Officer, San Quentin State Prison wrote:
 14              Harris kindles a spirit of altruism necessary for community
 15              harmony as he demonstrates the transformation that an
 16              individual can achieve through authentic commitment to
 17              personal responsibility. Harris has unquestionably
 18              discarded his youthful, irresponsible direction in order to
 19              become a builder of character and hope. He has developed
 20              into a productive person and exemplifies the TRUST
 21              concept of rebuilding himself and becoming a productive
 22              member of society. (See Exhibit B.)
 23        Aly Tamboura, who spent time as an inmate in prison with Mr. Harris at San
 24 Quentin and worked on the "San Quentin News" after Mr. Harris resurrected it and

 25 became its editor-in-chief in response to the warden's request, now works with Mark

 26 Zuckerberg and his wife, Priscilla Chang, at their foundation, CZI Initiative. He
 27 writes:

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  1              I witnessed first-hand how remorseful Michael is for the
  2              harm he has caused to others. He held himself accountable
  3              for his mistakes and frequently influenced others to do the
  4              same. I wholeheartedly believe Michael deserves a second
  5              chance to be with his family and his community. I base
  6              my belief on my experience working with and learning
  7              from Michael. I am humbly asking the court to show
  8              mercy to a man who while incarcerated has had such a
  9              positive impact on many lives. (See Exhibit B.)
 10       John C. Eagan, retired after 30-plus years as a journalist, former reporter,
 11 editor and executive with The Associated Press, and an advisor to "San Quentin

 12 News," states:

 13              I am a retired journalist who has known Michael since
 14              April, 2008. I came to realize Michael as one of the finest,
 15              most extraordinary men I have known. He is a completely
 16              different man today than he was when he was involved in
 17              illegal drug activities, which resulted in his incarceration in
 18              California state prisons and subsequently the federal prison
 19              system. He has served more than enough time behind bars
 20              to pay his debt to society. (See Exhibit B.)
 21        Mykel Harris, oldest daughter of Mr. Harris, who works for NASA Johnson
 22 Space Center as a Senior HR Generalist, writes:

 23              I ask that you take careful consideration into the decision
 24              making of my father's freedom. My father is aware of his
 25              mistakes that I feel has been exceedingly paid off. I ask
 26              that you find it in your hearts to forgive this man; please
 27              know he will be a wise man and will appreciate his
 28              transition back into society. (See Exhibit B.)


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  1        Christopher Petrella, T.R.U.S.T. Educator, Ph.D. Candidate, University of
  2 California, Berkeley, asserts:

  3              Mr. Harris is affable, gentle, and highly motivated to "do
  4              the right thing." He is a clear-thinker, a soulful being, and
  5              undoubtedly remorseful over the crime that ultimately led
  6              him to San Quentin. Mr. Harris is magnanimous,
  7              thoughtful, kind-hearted, and committed to making the
  8              world a better place first by articulating a new value set
  9              premised on compassion, communication and
 10              understanding. Further, as a scholar of African American
 11              Studies I see with great clarity how dedicated Mr. Harris
 12              is, in particular to improving the African-American
 13              community, a community that he acknowledges destroying
 14              through his actions. (See Exhibit B.)
 15        Van Jones, CNN Commentator, Social and Criminal Justice Advocate, who
 16 co-founded and co-facilitated with Mr. Harris a self-help group in San Quentin called

 17 "Green Life," observes in his support letter:

 18              Please note: In my 20+ years of criminal justice advocacy,
 19              I have never written a letter for any individual prisoner,
 20              state or federal, in support of his or her clemency petition
 21              or any petition for reduction in sentence.
 22              Never. Not once.
 23              But with great pride and abiding hope, I write to express
 24              my full complete and unconditional support for Michael
 25              Ray Harris' application for reduction in sentence.
 26              And I hope that God will give me the skill to convey to
 27              you how worthy of release Mr. Harris is, in my eyes and in
 28              the eyes of so many others.


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  1               It is not just that his transformation and conduct has earned
  2               him his freedom.
  3               It's that we need him to be free...
  4               If there is one person behind federal bars whose release
  5               could result in immediate and unambiguously positive
  6               outcomes for whole communities, that person would be
  7               Michael Ray Harris.
  8               He is not proud of his past. There are things on his record
  9               that might give you pause. But I pray that you will see an
 10               opportunity here to show that redemption is possible, for
 11               anyone...
 12               Thirty years is long enough. I can attest to this journey of
 13               redemption; his commitment to the creation and
 14               implementation of practical programs that provide the
 15               metamorphosis required for America's rapidly-increasing
 16               prison populations.
 17 B.     Mr. Harris is Fully and Unconditionally Rehabilitated
 18        Some people in custody say you have to come to prison to find yourself. Mr.
 19 Harris doesn't believe that. But he does believe that it's up to a person to find

 20 himself, and to find some purpose in life, whenever and wherever one is able to do

 21 so. Mr. Harris realized there was no guarantee he would ever leave prison when he

 22 was committed over thirty years ago to serve a 25-years-to-life sentence for a crime

 23 of which he was actually innocent. Mr. Harris could have chosen to become

 24 embittered and resentful, but instead he chose to search within himself, and Mr.

 25 Harris found his true self, purpose, and plans for how to live a meaningful life, even

 26 while incarcerated.
 27        In the thirty-plus years Mr. Harris has been imprisoned, he has devoted
 28 himself to significant self-reflection and has gained a clear and articulate


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  1 understanding of the various factors that led to his living a life that involved criminal

  2 activity. Mr. Harris is able to identify and acknowledge that his addiction to money,

  3 coupled with his anger and disconnection with his community, led him down a dark

  4 path that ultimately resulted in his incarceration. Upon recognizing the factors that

  5 led to his regrettable decisions, Mr. Harris has worked to overcome his personal

  6 issues and he became deeply involved with self-help, therapeutic, educational, and

  7 community outreach programs. Mr. Harris invested decades working steadily to

  8 prove to himself and to others that he could lead a meaningful, purpose-filled

  9 existence. Mr. Harris has worked long and hard, in good faith, to make something of
 10 himself -- to earn his self-respect and to earn the respect of others:

 11        Dr. Sang G. Lee, a Foreign Service Diplomat with the U.S. Agency for
 12 International Development, has written:

 13               Mr. Harris has the respect of many working in and
 14               incarcerated in San Quentin Prison. He has a unique
 15               ability to motivate and have a positive influence on other
 16               people while identifying their talents. I saw this first hand
 17               teaching MOMAS. He worked as one of the lead
 18               facilitators while I worked as the lead teacher. He is
 19               committed to bettering the lives of others and openly
 20               speaks about his past mistakes with honesty and humility.
 21               (See Exhibit B.)
 22        Aly Tamboura wrote:
 23               I cannot attest to the man that Michael was when he was
 24               sentenced to prison because I never met that man.
 25               However, I can tell you that he is one of the humblest men
 26               I have had the privilege of meeting. He knew the
 27               destructive realities of prison life, and while many of the
 28               men I met in prison were raging against the administration,


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  1              Michael was diligently working to make it a better place
  2              for inmates and staff alike. (See Exhibit B.)
  3        Rebecca Carter, Ph.D., Founding Director of Bonafide, has written: "I have
  4 personally witnessed the respect young people hold for Michael and his ability to

  5 guide people from a path of self-destruction to one of community building and self-

  6 improvement. (See Exhibit B.)

  7        Mr. Harris has devoted thousands of hours during his incarceration
  8 participating in rehabilitation programs. Some of the more notable are:

  9        1)    T.R.U.S.T. (Teaching Responsibility Utilizing Sociological Training)
 10 Fellowship Group. The Mission of the San Quentin T.R.U.S.T. is to assist men in

 11 becoming leaders within themselves, their families, their communities and to build a

 12 bridge of accountability between the community inside and outside the prison. After

 13 identifying the undesirable value system, participants engage in a variety of methods

 14 to purge themselves of said values. The workshops also offered mature strategies for

 15 participants to continue the purging process throughout their lives.

 16        K. J. Williams, then Associate Warden, General Population at San Quentin
 17 State Prison, wrote: "The goal of the T.R.U.S.T. is to educate, organize and assist

 18 incarcerated men to become vibrant and productive community members through an

 19 understanding and reawakening of their history, culture and values. Mr. Harris

 20 repeatedly has demonstrated the goal of the T.R.U.S.T. through his creation of

 21 programs which benefit the community and his interaction with fellow inmates --

 22 promoting their personal development and improvement." (See Exhibit B.)

 23        Lt. S. Robinson, Chief Sponsor, San Quentin T.R.U.S.T. at San Quentin State
 24 Prison, wrote:

 25              May 14, 2007, Harris was inducted into the San Quentin
 26              T.R.U.S.T. for the Development of Incarcerated Men as a
 27              Probationary Member. September 10, '07 became Full
 28              Trust Member [and] a T.R.U.S.T. facilitator. Harris was


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  1              elected to the Education and Marketing committee. He has
  2              contributed to workshop curriculum building, completed
  3              T.R.U.S.T. training, and serves as a workshop facilitator.
  4              He supportively assisted in T.R.U.S.T. functions such as
  5              the annual Cinco de Mayo and Black History
  6              Month/Cultural Inclusion yard shows that foster cultural
  7              awareness and promotes traditional values. He also
  8              assisted in the annual Health Fair held in conjunction with
  9              Alameda County Health Department to stimulate the
 10              awareness of the correlation between a healthy body and a
 11              healthy mind.
 12        2)    Insight Prison Project. Another program Mr. Harris participated in was
 13 the Insight Prison Project (IPP). IPP's programs focus on a socialization process, a

 14 process of transformational re-education that is designed to bring about a shift in

 15 ingrained patterns of harmful and destructive behavior. IPP pushed cognitive

 16 behavioral work beyond isolated mental process and challenged participants in the

 17 program to integrate cognitive learning with an awareness of how thoughts, impulses

 18 and actions manifest physically and emotionally.

 19        3)    Victim Offender Education Group (VOEG). One of the most powerful
 20 programs Mr. Harris participated in was the Victim Offender Education Group

 21 (VOEG). A pioneer in the field of restorative justice, VOEG is a cornerstone

 22 program which positively affects rates of institutional violence, successful reentry

 23 into communities, and individual health and well-being. This program is a rare

 24 application supported by crime victims, incarcerated people, and community

 25 volunteers. VOEG was an 18-month intensive group program that allowed Mr.

 26 Harris to understand himself better, how his life experiences and decisions led him to
 27 prison and how his crimes impacted the many victims within his community. The

 28 process utilized a restorative justice philosophy that helped Mr. Harris to address


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  1 memories and feelings connected to traumatic and unresolved events in his life so

  2 that Mr. Harris could integrate his experiences into his life in order to experience a

  3 renewed sense of wholeness, authenticity, emotional well-being, and positive

  4 behavior.

  5        It was in this intensive environment that Mr. Harris began to truly realize the
  6 damage that the drugs he sold afflicted on his community. He began to connect the

  7 dots between what he had been doing and the lives that were ruined. Mr. Harris

  8 finally came to clearly see his direct responsibility for the damage caused by the

  9 cocaine epidemic of the 1980s. The experience of learning the personal stories of
 10 people of all ages, races, and backgrounds, who were abusing the same drugs he had

 11 been distributing, profoundly altered Mr. Harris's understanding of what he did and

 12 what brought him to prison. He fully accepted that he alone, and the choices he

 13 made, were responsible for his incarceration. This process of understanding and

 14 developing true insight into the underlying circumstances of his condition provided

 15 Mr. Harris the ability to self-identify patterns of negative behaviors and to replace

 16 them with healthier ways of thinking and behaving.

 17        4)     No More Tears/The Healing Circle. No More Tears is a violence and
 18 crime-prevention program founded by incarcerated men and concerned citizens

 19 (from the outside) to remedy the rise of violent crime in their communities and to

 20 reduce the recidivism rate of citizens returning from a period of incarceration. The

 21 curriculum consists of workshops which focuses on some of the factors that

 22 contributed to a life of crime and imprisonment. Here, men learn to reexamine their

 23 belief systems, learn de-escalation tactics, and develop alternatives to a life of

 24 violence or crime.

 25        The Healing Circle. Graduates of the No More Tears program, such as Mr.
 26 Harris, move on to attend The Healing Circle's transformative events where
 27 survivors of violent crime and former perpetrators unite in deep listening and

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  1 exploring sessions which sidestep the politics of difference in favor of self-

  2 exploration in an empathetic and supportive atmosphere.

  3        5)     Arts in Corrections. This is a creative writing class Mr. Harris
  4 participated in which allowed him to learn to express his feelings and experiences

  5 through the written word. He learned the power of keeping a written journal to keep

  6 track of his journey and struggles, his hopes and dreams. Mr. Harris debuted a short

  7 story version of his memoirs entitled "Nightmares and Daydreams" in a book series

  8 published by the class entitled "Brothers In Pen," which he hopes will allow readers

  9 to learn from his mistakes.
 10        6)     Prison University Project/Patten University. The Prison University
 11 Project, started at San Quentin State Prison, is a national leader in providing quality

 12 higher education opportunities to incarcerated people. The mission of the Prison

 13 University Project is to provide an intellectually rigorous, inclusive Associated of

 14 Arts degree program, and to foster the values of equity, civic engagement,

 15 independence of thought, and freedom of expression. Recognizing the value of

 16 knowledge and that education is a key to open the door of future legitimate

 17 opportunity, Mr. Harris enrolled in multiple programs with hopes to obtain degrees

 18 in both business and journalism.

 19        In addition to his years of active participation in rehabilitation programming,
 20 Mr. Harris was also subject to extensive psychological evaluations, as part of parole

 21 suitability, to determine whether he would pose a threat or danger to society if he

 22 was released or his sentence was reduced. The psychological analysis report rated

 23 Mr. Harris as a very low overall risk, with a GAF score of 19 and a very low range of

 24 psychopathy. His risk of recidivism under the LS/CMI is in the low range, and his

 25 HCR-20 risk assessment is very low. Additionally, numerous peer-reviewed

 26 research studies clearly have indicated that men who are older than 45 are 78% less
 27 likely to re-offend than men in their 20's. Mr. Harris is not the immature person he

 28 was at 26, when he first arrived in prison. He is now a 58-year old grandfather who


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  1 has dedicated the last 32 years transforming himself into a self-aware, conscientious,

  2 law-abiding, mature adult. Mr. Harris bears little resemblance, save in the physical

  3 sense, to the individual who entered prison in 1988. Over the last 32 years, Mr.

  4 Harris has experienced numerous life-changing lessons and has proven himself fully

  5 rehabilitated and able to lead a worthwhile, productive and crime-free life.

  6        Although Congress provided that rehabilitation alone cannot serve as an
  7 "extraordinary and compelling reason" for a sentence reduction, Mr. Harris's

  8 exceptional educational and rehabilitation accomplishments are still "extraordinary

  9 and compelling," and combined with the other factors detailed herein, supports a
 10 reduction of Mr. Harris' sentence to time served.

 11 C.     Mr. Harris has Been a Recognized Leader and Innovator During His Three
 12        Decades of Incarceration
 13        Over the years, Mr. Harris undertook the difficult and important challenges of
 14 successfully transforming himself from a self-centered, criminally-minded individual

 15 who caused harm to his own community, into a respectable leader dedicated to

 16 healing the same communities he once harmed. Having been born and raised in Los

 17 Angeles, Mr. Harris knew the language, mindset, lifestyle, and rules of the urban

 18 community ("the streets"), from where a sizeable percentage of the inmate

 19 population originates.

 20        Having also been a successful entrepreneur and business owner, including co-
 21 founding one of the most influential rap record labels of the 1990s, Mr. Harris knew

 22 as well the language, mindset, and rules of the business world, "the suites." Having

 23 the unique perspective of experiencing life from "the streets to the suites," Mr.

 24 Harris recognized the need for prison programs which not only taught participant-

 25 inmates emotional literacy, that is, how to take responsibility for their thoughts,

 26 feelings, actions, and how to abandon "criminal behavior," but also the need to
 27 embrace business and financial literacy, that is, practical knowledge of business

 28 communications, computer skills, financial management, and operational education.


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  1        By collaborating with other inmates, prison administrators, business leaders,
  2 community activists, government officials, and numerous volunteers, Mr. Harris

  3 helped to advise, create, develop, facilitate, and/or lead some of the most successful

  4 and forward-thinking rehabilitation programs in California's prison system, some of

  5 which have been duplicated by other prison systems across the country. Not only did

  6 Mr. Harris develop programs that provided the emotional and financial tools needed

  7 to succeed upon release, Mr. Harris leveraged his urban superstar status as a platform

  8 to use his own life as a cautionary tale -- detailing the consequences of pursuing a

  9 drug dealing, street hustler lifestyle, in order to dissuade people from continuing on a
 10 dead-end life of crime upon leaving prison.

 11        By developing educational, therapeutic, social, and vocational programs to
 12 prepare prisoners for their return back into society, Mr. Harris has helped reduce

 13 crime, violence, and recidivism in countless lives by providing participants with the

 14 emotional and financial tools they require to effectively meet their post-release

 15 needs, and the needs of their communities, as evidenced by the following

 16 testimonials:

 17        David Cowan, a former San Quentin inmate and now, having been released,
 18 Operations Manager of the Prison University Project, relates:

 19                 I write this letter in support of Michael Harris... I noticed
 20                 him learn about the special environment that was built at
 21                 San Quentin -- 70 programs and over 3,000 volunteers
 22                 from the outside community. I watched him assess every
 23                 program and begin to contribute. This Michael cared
 24                 about the psychological condition of the individuals
 25                 around him and the programmatic and organizational well-
 26                 being of the many programs. I watched him get involved
 27                 with everyone as a partner and very quickly became
 28                 accepted as a leader. He began to join with like minds and


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  1             create programs himself that addressed issues that other
  2             programs didn't address. His programs were very forward
  3             looking. His care for people was sincere. As my own
  4             maturity was important to me, I welcomed and appreciated
  5             the level of maturity that I saw in him. I valued how he
  6             used his life experiences and assessment skills to teach and
  7             to lift people up." (See Exhibit B.)
  8       Christopher Petrella, T.R.U.S.T. Educator, observed:
  9             Despite having known Mr. Harris for only a year to date, I
 10             very quickly developed an abiding respect for him. Mr.
 11             Harris knows the difference between change and growth.
 12             That is, change is inevitable, but growth is optional. He
 13             has pursued the latter option with unabated intentionality
 14             marked by vigor, honesty, introspection, kindness, and
 15             open communication. Not only has Mr. Harris participated
 16             widely in the educational and vocational programming
 17             offered to him at San Quentin, but he has taken on
 18             leadership roles in many of his organizations. Mr. Harris
 19             is currently the Editor-In-Chief of the San Quentin
 20             newspaper, co-founded the Journalism Guild, and co-
 21             founded Partnership Building Community Groups
 22             (PBCG). His involvement in each of these initiatives
 23             evinces both a density of purpose and willingness to
 24             collaborate with other men at San Quentin. I am
 25             convinced, therefore, that Mr. Harris will be an asset to
 26             any company or organization with which he chooses to
 27             associate himself upon his release. (See Exhibit B.)
 28


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  1        Some of the programs Mr. Harris helped create, develop, implement, or lead,
  2 include:

  3        1)    Partnership Building Community Groups (PBCG). While at the
  4 Correctional Training Facility in Soledad, CA, Mr. Harris created PBCG with

  5 Bishop Mady Thomas III. It has evolved into a 501(c)(3) tax-exempt charitable

  6 organization. The project focuses on curbing gang involvement, which often results

  7 in addiction, criminal activity, incarceration, violence and death. The goal of the

  8 project is to establish an accredited service with educational vocational programs to

  9 allow participants to prepare for a successful return to their communities.
 10        Van Jones, CNN Commentator and social justice activist, wrote:
 11              Those of us who are working to heal broken communities
 12              in California need him [Mr. Harris] to come home now.
 13              As the death and despair continue to climb in too many
 14              urban communities, we are doing the best we can without
 15              him." (See Exhibit B.)
 16        Gayle McLaughlin wrote:
 17              As Mayor of Richmond, I am only too aware that our city
 18              -- as well as other urban communities -- has been plagued
 19              by deadly violence, too often driven by confrontations
 20              between our youth. Reducing the violence is a top priority
 21              of my administration, and the now-rehabilitated Mr. Harris
 22              maintains a unique standing among urban youth and with
 23              urban youth culture, given his history of having founded
 24              Death Row Records -- the music label that launched
 25              rappers Snoop Dogg and Tupac Shakur. (See Exhibit B.)
 26        2)    "San Quentin News" Newspaper. Mr. Harris was integral in helping to
 27 resurrect the "San Quentin News," which is a newspaper which had been in hiatus

 28 for 17 years prior to Mr. Harris' efforts. After being personally selected by Warden


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  1 Aries and successfully interviewing with the principal of the San Quentin Education

  2 Department, Ted Roberts, Mr. Harris served as managing editor of the newspaper

  3 and later became its editor-in-chief. The "San Quentin News" still is in operation

  4 and is circulated to all 35 California State prisons. It is available on-line at

  5 sanquentinnewspaper.com or CDCR's website.

  6        Steve McNamera, CEO of Prison Media Project wrote:
  7               Mr. Harris is among the more impressive people I have
  8               ever met, inside or outside of prison. I met him while
  9               serving as an advisor to the "San Quentin News," the
 10               prison newspaper for which he served as Editor-in-Chief.
 11               Also, I interviewed him and a dozen other prisoners for a
 12               book I was writing about what in their life experiences
 13               nudged some people to act in generous or altruistic ways
 14               and what caused other people to act anti-socially... I
 15               wound up taking a lead role in the revival in 2008 of the
 16               "San Quentin News," the only inmate-produced newspaper
 17               in California and one of the few in all the world. From its
 18               beginnings with Mr. Harris as Editor, it now circulates
 19               30,000 copies to all 35 California prisons and to other
 20               prisons as well. I created the Prison Media Project to raise
 21               funds for the paper's printing and distribution expenses.
 22               (See Exhibit B.)
 23        Aly Tamboura wrote:
 24               I met Michael while working at the inmate published "San
 25               Quentin News." In fact, Michael was instrumental in
 26               growing the newspaper. What began as an 8-page tabloid
 27               handed to inmates at San Quentin transformed into an
 28               award-winning publication distributed to all 35 prisons in


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  1              California... I was instantly impressed by Michael's
  2              business acumen and his compassion for mentoring fellow
  3              inmates. He is a gifted leader who changed the trajectory
  4              of many of the lives at San Quentin, including my own. In
  5              a culture where it is easy to negatively influence others, he
  6              used his influence to positively change inmates' outlook on
  7              life. He showed us that we were capable of learning and
  8              practicing skills while incarcerated that would provide us
  9              the opportunity to build better lives for ourselves once
 10              released. (See Exhibit B.)
 11       Lt. S. Robinson, Administrative Sponsor, "San Quentin News," at San Quentin
 12 State Prison, wrote:

 13              In my professional position as Public Information Officer,
 14              I interact with inmate Harris on a weekly basis. We talk
 15              about topics and incidents that have occurred in the
 16              institution. During these discussions, I present inmate
 17              Harris, who is the editor-in-Chief of the San Quentin
 18              newspaper, with the official version(s) of institutional
 19              events. When time permits, I also attend the monthly
 20              advisory meetings for the San Quentin newspaper. While
 21              at those meetings, I am able to witness inmate Harris'
 22              professional attitude and reliable work ethic. As an editor
 23              and an organizer, Harris' skills have become highly
 24              proficient and, as a professional, I consider his progress as
 25              a positive attribute to rehabilitation. From my opportunity
 26              to observe inmate Harris' rehabilitational development, I
 27              can attest that his change is genuine and that he is sincere
 28              in his efforts to improve the community." (See Exhibit B.)


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  1        Even though Mr. Harris was editor-in-chief of "San Quentin News,"
  2 sometimes he enjoyed taking on writing assignments as well, as when U.S. District

  3 Court Judge Thelton Henderson of Northern California visited San Quentin. Mr.

  4 Harris took the responsibility for covering the Judge's visit. The result was the lead

  5 story on the front page, "Judge Henderson: Catalyst of Change." During his

  6 interview of Judge Henderson of Los Angeles, Mr. Harris was surprised to learn he

  7 had been raised in the same South Park neighborhood as the Judge. Using the skills

  8 he in San Quentin as a newspaperman, Mr. Harris wrote a fascinating and insightful

  9 in-depth feature article, "One Neighborhood...Two Paths, Two Lives...Why the
 10 Difference." (See S.Q. Articles, Exhibit J.)

 11        3)    San Quentin Journalism Guild. Mr. Harris co-founded the San Quentin
 12 Journalism Guild, an organization that trains men in the art of professional

 13 journalistic writing. The Guild has created an advising committee consisting of the

 14 editor of the Associated Press, the former owner of the "Bay Area Weekly" and

 15 "Pacific Sun," and seasoned journalists, all whom assist in the mentorship program.

 16        K. J. Williams, Associate Warden, General Population, San Quentin State
 17 Prison, wrote:

 18              ...Mr. Harris started the San Quentin Journalism Guild, an
 19              organization that trains men in professional journalistic
 20              writing. The Guild recruited a team of retired journalists
 21              to assist with the accomplishment of this task. (See
 22              Exhibit B.)
 23        4)    Keeping It Real. Mr. Harris was the creator and co-facilitator for this
 24 program, which was sponsored by the San Quentin Stand Up Program. The program

 25 acts as a therapeutic outlet for participants by with personal issues. The overall goal

 26 of Keeping It Real is to reduce recidivism by preparing prisoners with the necessary
 27 insight into their past criminal offenses and the non-violent communication skills

 28 required to succeed in the community.


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  1        The Keeping It Real course is a peer-led education program for those most at
  2 risk of incarceration as well as those experiencing chaos and confusion in their daily

  3 lives. The curriculum helps bring participants into a state of readiness and

  4 willingness to dig deeply into underlying issues that keep them imprisoned, both

  5 inside and outside. Keeping It Real facilitators introduce many of the topics for

  6 group reflection using "skits" or role-plays drawn from real life experiences. A few

  7 of the topics offered include:

  8        a.     Identifying and Removing The Masks
  9        b.     Peeling Away The False Layers and Rediscovering Our True Selves
 10        c.     Finding Self-Validation
 11        d.     Learning To Become Less Dependent on Others For Our Self-Esteem
 12        e.     Healing the Wounded Father/Son Relationship
 13        f.     Uncovering The Intentionally Suppressed Wounds and Learning To
 14               Forgive
 15        Keeping It Real is able to provide the understanding, sensitivity, and hope
 16 participants need for building their new foundations. By connecting more deeply

 17 with their peers, themselves, and a higher power, participants can begin to act on the

 18 vision of a larger purpose for their lives. Many prisoners who have been through the

 19 program and now are on parole or probation report major life changes as a result of

 20 their participation.

 21        5)     The Green Life. The Green Life is a peer education course with an
 22 intensive curriculum of topics that integrate spiritual and practical pathways toward

 23 obtaining the necessary skills and temperament to successfully perform in the new

 24 environmentally conscious America. It is a directive program, which includes

 25 identification and assessment of life skills, emotional readiness and needs of inmates

 26 in order to address and focus on the issues and areas required for re-entry into the
 27 new Green Economy. The course inspires accountability and emotional honesty on

 28 all levels, rebuilding integrity and self-esteem, and enabling participants to move


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  1 toward a life of positive contribution and service to society. This course provides a

  2 safe, facilitated atmosphere that promotes inner self-evaluation and life-affirming

  3 motivations. The Green Life is proposed to be a pre-requisite for Green Jobs

  4 training, and will make recommendations from its evaluated course participants to

  5 next steps in a pathway toward successful living.

  6          Mr. Harris created and co-founded this program after being inspired by CNN
  7 commentator, social activist, and green economy expert, Van Jones. The goal of The

  8 Green Life is to identify and explore the choices of prisoners in an environment that

  9 promotes green economy and eco-literacy. Through his program, Mr. Harris helped
 10 coordinate a live presentation by Mr. Jones to the San Quentin mainline population

 11 of the green economy, in addition to a presentation on green job opportunities by

 12 Solar Richmond, a green training organization.

 13          Van Jones, CNN commentator and Criminal and Social Justice Activist,
 14 wrote:

 15                We often muse about great geniuses whom we assume
 16                must be wasting away in America's prisons -- unable to
 17                make their great gifts available to a country that
 18                desperately needs them.
 19                After I met Michael, this idea was no longer an abstraction.
 20                Michael Ray Harris is as close as one could ever come in
 21                real life to a textbook case. He is someone with an off-the-
 22                charts IQ who unfortunately outsmarted himself during his
 23                younger days...who then made awful mistakes...who then
 24                had a true, demonstrable, undeniable transformation
 25                behind bars...and who has been an exemplary leader and
 26                role model for innumerable other men behind bars...
 27

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  1              His program, 'Keeping It Real," was created to increase
  2              Self-Awareness and provide practical life-skills tools for
  3              the men most at risk of recidivism.
  4              I felt the need to get more involved, and I became a
  5              staunch supporter of the group initiative. Michael
  6              arranged for me to visit San Quentin and speak to the
  7              entire prison population. The visit was encouraged and
  8              attended by the warden himself.
  9              Your Honor, in San Quentin I discovered in Michael, the
 10              "perfect storm." He was an inmate entrepreneur,
 11              successfully applying business skills to create Innovative
 12              courses and programs -- all within an institution normally
 13              unreceptive to methods of change.
 14              As a result of my involvement, Michael revamped the
 15              "Keeping It Real" program. He re-launched the course as
 16              "Green Life." Its mission is to provide education in
 17              environmental choices and to promote the green economy
 18              and eco-literacy. This provides a pathway to self-
 19              sufficiency and furnishes skills needed both in and out of
 20              prison. We have stayed in touch ever since. He has
 21              become an invaluable mentor and guide for me, as he is for
 22              so many people on the inside. I love and respect this man
 23              beyond words.
 24              In providing passage for Mr. Harris to rejoin society, I can
 25              personally assure you that I will be working closely with
 26              him on all of his forthcoming endeavors." (See Exhibit B.)
 27        6)    Members of Modern American Society (MOMAS). This is a program
 28 Mr. Harris co-founded whose goal is to fully prepare prisoners for release into


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  1 modern society by teaching crucial skills needed to integrate. The course consists of

  2 three stages: (1) steps necessary to find/maintain employment; (2) personal

  3 financing, and (3) advance finance, including investments, stocks, bonds, business

  4 and retirement planning of the executive committees.

  5        Two very important initiatives came out of MOMAS, as described in the
  6 following excerpts from testimonial letters in support of Mr. Harris.

  7        Rebecca Carter, Ph.D., Founding Director, Bonafide, wrote:
  8              Michael and I first worked closely together in about 2008
  9              while developing a financial literacy class for the men at
 10              San Quentin State Prison. I was a graduate student at U.C.
 11              Berkeley with experience managing a mid-sized non-profit
 12              board and endowment. Michael gathered a team of
 13              volunteers and prisoners with various professional and
 14              educational backgrounds, and together we created and
 15              taught a curriculum that covered everything from bank
 16              accounts and budgeting to entrepreneurship and the stock
 17              market. (See Exhibit B.)
 18        Dr. Sang E. Lee wrote:
 19              I had a chance to work closely with Mr. Harris back in
 20              2009-10 while volunteering at San Quentin Prison. I was a
 21              Ph.D. student at the time and Mr. Harris approached me
 22              about starting a class called Members of Modern American
 23              Society (MOMAS) that focused on reintegration for
 24              inmates who were soon scheduled to be released. At that
 25              time, he already had a sketch of the curricula, recruited the
 26              initial group of students, worked with the prison
 27              administration to launch the class. He is a forward
 28              thinking individual who thinks about the struggle of others.


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  1              The MOMAS six week course was a success evidenced by
  2              the long wait-list and the dramatic improvement of
  3              students' skills in resume and cover letter writing and
  4              interviewing skills. The course continued until he was
  5              transferred out of San Quentin in 2012. (See Exhibit B.)
  6        7)    The Last Mile Project. In 2010, Chris Redlitz and his wife and business
  7 partner, Beverly Parenti, entered San Quentin State Prison after running across an

  8 article in a Bay Area newspaper highlighting an educator named Kathleen Jackson,

  9 who was a long-time volunteer at San Quentin. Mr. Redlitz and Ms. Parenti were
 10 intrigued by her story and reached out to Ms. Jackson and subsequently were invited

 11 by her to San Quentin State Prison to visit. Because of their background in the world

 12 of venture capital, they were invited by MOMAS (Members of Modern American

 13 Society) to speak to a group of men about business and entrepreneurship. They were

 14 so impressed by the men's level of business knowledge and desire to learn, they

 15 began to nurture the idea of creating a Technology Accelerator inside the prison.

 16        Out of the efforts of Mr. Redlitz and Beverly Parenti, The Last Mile (TLM)
 17 was created. Since its inception, The Last Mile has generated a groundswell of

 18 support as a leading model for criminal justice reform across America.

 19        Chris Redlitz, the co-founder of The Last Mile, wrote:
 20              The mission of The Last Mile program is to bridge the gap
 21              between the penal system and the technology business
 22              sector. The goal of the program is to provide practical
 23              training so that participants have marketable business skills
 24              upon release. The program trains selected inmates for
 25              employment within the technology sector, and also helps
 26              them develop business ideas that they can pursue in the
 27              future. Training includes verbal and written
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  1            communication and presentation skills, business formation
  2            and operational education, and advanced computer skills.
  3            Graduates of the program are eligible for paid internship
  4            positions that may transition into full time employment.
  5            Participating companies are selected by The Last Mile
  6            program and each applicant is placed in a position based
  7            on their skill and domain interest.
  8            We had the honor of hosting Senior Adviser [to President
  9            Obama] Valerie Jarrett at San Quentin State Prison last
 10            month, to observe the program and speak with the inmates.
 11            She commented that the penal system should "try to
 12            replicate this program across the country" because it will
 13            directly impact the huge problems related to recidivism.
 14            The Last Mile would not be in existence today without the
 15            help of Michael Harris.
 16            Michael was one of the first people I met at San Quentin
 17            and he immediately understood my vision and
 18            commitment to establish a sustainable program that could
 19            have a long-term impact. I was new to the prison system,
 20            prison policies, and the nuances of how to connect with a
 21            population that lacks hope and employable training.
 22            Michael spent many hours with me, teaching me how to
 23            effectively communicate inside prison, and he helped me
 24            build the trust of our initial class participants in 2010.
 25            After Michael was released from San Quentin, and was
 26            transferred to a Federal facility, I had many email
 27            exchanges and conversations with him. He talked about
 28            how he intended to go back to his community to create


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  1               opportunities for "at risk" youth and become a positive role
  2               model. He has aspirations to start a business and leverage
  3               his entrepreneurial talents to set an example for others to
  4               follow.
  5               Michael is a large man, but the depth of his commitment to
  6               his community dwarfs his stature. I respect Michael
  7               Harris. I believe that he will be a huge asset to his
  8               community. I am honored to call Michael Harris my
  9               friend." (See Exhibit B.)
 10        8)     Richmond Project. Richmond, California resident Tanya Mitchell's life
 11 was hard. A thirty-year-old single mother of two children, Tanya worked three jobs

 12 just to keep a roof over their heads, food on their table, and clothes on their back.

 13 But nothing in Tanya's life was harder than when she had to attend the funeral of her

 14 14-year old son, Devon. Devon, an honor student and star athlete at school, was

 15 caught in the cross-fire of two rival Richmond gangs and killed by a stray bullet.

 16 Tanya and Devon were not the only Richmond residents who were negatively

 17 impacted by the violence that plagued their city. In 2007, Richmond had the ninth-

 18 worst murder rate in the United States. When the leaders of Richmond put out a call

 19 for help, Mr. Harris was one of the people who answered their call.

 20        Because San Quentin and Richmond are so close, it made sense to connect
 21 inmates with the community. Mr. Harris, along with others like fellow prisoner

 22 James Houston, founded the Richmond Project at San Quentin State Prison. The

 23 Richmond Project was a violence-prevention program connecting incarcerated men

 24 from Richmond to elected officials, community groups and residents in the city.

 25 From inside San Quentin's walls, Mr. Harris worked to bring together incarcerated

 26 residents from rival Richmond neighborhoods in a think tank that met with City
 27 officials to find solutions to the increasing street violence. To Mr. Harris, it made

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  1 sense for men in prison, who had created or furthered the problems, to give solutions

  2 to the youth on the streets and let them know the consequences of their actions.

  3        When Mr. Harris was preparing his parole release plans, he decided to parole
  4 to Richmond in order to continue his efforts to help reduce the crime and violence in

  5 that city. The numerous people who supported his decision represented the entire

  6 spectrum of the Richmond community, as evidenced by the many letters of support.

  7        For instance, Gayle McLaughlin, the Mayor of the city of Richmond, wrote:
  8               ...I have visited San Quentin State Prison and watched Mr.
  9               Harris work with a group of Richmond prisoners who have
 10               formed a support group at the prison called "The
 11               Richmond Project"...as well as observed him helping
 12               young adults who have already made mistakes and, thus,
 13               are in prison, but who are trying to rehabilitate themselves,
 14               with Mr. Harris' assistance.
 15               Mr. Harris' involvement with our city's youth violence
 16               prevention programs will provide a critically needed
 17               opportunity for him to influence Richmond's youth to end
 18               the shooting, the killing, the damage to the well-being of
 19               the Richmond community... (See Exhibit B.)
 20        Those "on the ground" in the communities which would be affected by Mr.
 21 Harris's release also strongly support his release, as can be seen in the next three

 22 support letters. The first is from James Houston of the Office of Neighborhood

 23 Safety, City of Richmond, California, who concludes his letter as follows:

 24               This community desperately needs Mr. Harris to show
 25               young men other options, and an alternative life. Who
 26               better to do that than a man who has experienced it first
 27               hand and been able to change the narrative of his life and
 28               become an asset instead of a liability? If you have any


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  1             questions regarding this letter of support, please do not
  2             hesitate to call me.
  3       The Police Chief of Richmond, Chris Manus, wrote:
  4             I am currently the Police Chief for the City of Richmond,
  5             California, a position I have held since 2006. I have held
  6             various public safety positions over the past 32 years,
  7             including police officer, paramedic, narcotics investigator,
  8             precinct commander, captain, and police chief. I am an
  9             active member of the Police Executive Research Forum
 10             (PERF), the International Association of Chiefs of Police
 11             (IACP), the California Association of Chiefs of Police, and
 12             the Contra Costa County Police Chiefs Association. I have
 13             also taught college level criminal justice classes and been
 14             significantly engaged in developing community policing
 15             models within several crime-challenged communities
 16             around the country.
 17             I have never written a letter for a prisoner or parolee
 18             before, but I am doing so now because I believe the
 19             individual I am writing on behalf of, San Quentin prisoner
 20             Michael Harris (D97093), has demonstrated he can have a
 21             powerful positive impact on at-risk young adults -- and is
 22             someone whose help we need in Richmond to assist us
 23             with our violence-reduction efforts...
 24             I did my "due diligence" first in researching Mr. Harris'
 25             background and character before expressing my support
 26             for his request to be released immediately following his
 27             Progress Report Hearing. I believe Mr. Harris has a rare
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  1             and valuable influence that can benefit our city. We need
  2             his services in Richmond now. (See Exhibit B.)
  3       John Gioia, Supervisor, District One, Contra Costa County, California, wrote:
  4             I am writing to respectfully ask that you grant an
  5             immediate release of Michael Harris... Mr. Harris wishes
  6             to be paroled to Richmond, a city in my Supervisorial
  7             District. As county Supervisor for the area, I would
  8             welcome the opportunity to work with Mr. Harris on
  9             several of our efforts to prevent violence in our
 10             community...
 11             I believe Mr. Harris' efforts in our community could deter
 12             many additional young adults from engaging in violent
 13             behavior... (See Exhibit B.)
 14       Jeff Ritterman stated:
 15             As a member of the Richmond city council, I am writing to
 16             ask that you grant Mr. Harris's request...to be immediately
 17             released... We need him now to assist us with reducing the
 18             violence among our community's youth and young adults.
 19             Our experience has been that the very best mentors are
 20             those like Michael Harris who deeply understand the
 21             challenges our youth face and at the same time have the
 22             respect of our at-risk youth. Mr. Harris, with this
 23             background of having started hip-hop's first significant
 24             record label, Death Row Records, has the ability to capture
 25             the attention of our youth population to steer them away
 26             from guns and drugs. Mr. Harris's experience of having
 27             spent 22 years in prison provides him the authority to de-
 28             romanticize prison life, to talk directly to our youth to


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  1              convince them to turn away from criminal behavior that
  2              would send them to San Quentin or any other prison...
  3              (See Exhibit B.)
  4        Leonard McNeil wrote:
  5              I am a member of the City Council for the City of San
  6              Pablo, which is adjacent to the City of Richmond. Both
  7              cities are part of West Contra Costa County. Our proximity
  8              contributes to the fact that both of our municipalities suffer
  9              some of the same challenges regarding crime and youth
 10              violence.
 11              Michael R. Harris has already demonstrated his
 12              commitment to West County and his exceptional behavior
 13              by working while incarcerated with organizations and local
 14              government in my community -- i.e., Neighborhood House
 15              of North Richmond and the City of Richmond's Office of
 16              Neighborhood Safety -- to stem the tide of youth and
 17              young adult violence here by providing mentoring and
 18              curriculum development services. (See Exhibit B.)
 19        Elected State Legislators also have supported Mr. Harris' release. Loni
 20 Hancock, California State Senator, Ninth District, wrote:

 21              While incarcerated, Mr. Harris began work with a group of
 22              prisoners in San Quentin in an effort known as "The
 23              Richmond Project." The project assists incarcerated
 24              residents from Richmond by preparing them for release
 25              back into the community. Recently he undertook work
 26              with the group by organizing and preparing them to make a
 27              presentation to a venture capital firm executive. As a
 28              result of the excellent presentation, the executive has now


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  1              committed to assisting "The Richmond Project"
  2              participants develop a social entrepreneurial business,
  3              under Mr. Harris' guidance. In addition, this executive has
  4              agreed to work closely with Mr. Harris upon his release to
  5              bring the entrepreneurial project to fruition so that others
  6              released from prison will have the opportunity to earn a
  7              legitimate living... (See Exhibit B.)
  8        The Honorable Dezie Woods-Jones, President, Black Women Organized For
  9 Political Action, wrote:
 10              Some of our member have visited Mr. Harris in prison and
 11              have regularly communicated with him, so we are very
 12              aware of his good work inside of san Quentin State Prison
 13              helping other prisoners rehabilitate themselves. We know
 14              of his deep desire to continue that work in Richmond,
 15              California -- one of the most troubled communities in not
 16              only the Bay Area, but in the entire state...
 17              BWOPA strongly supports Mr. Harris' application for the
 18              commutation of his sentence...so that he is free to travel to
 19              Senegal and Ghana to launch an exciting new program that
 20              could dramatically change the life experience of so many
 21              youth from Richmond who are on the precipice of ruining
 22              their lives and further damaging their community. This is
 23              work that needs to be implemented right now. (See
 24              Exhibit B.)
 25        9)    Individual Mentoring of Other Prisoners
 26        The ripple effect is a spreading effect or series of consequences caused by an
 27 action or event, such as when one drops a stone into a pond. Another example would

 28 be the positive effect Mr. Harris' mentorship has had on the lives of numerous other


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  1 inmates. Mr. Harris has used his decades of incarceration to not only transform his

  2 own life, but to mentor and challenge other inmates to change their lives for the

  3 better as well.

  4        Rebecca Carter, Ph.D. who is founding director of the prisoner reentry
  5 program Bonafide, worked closely with Mr. Harris at San Quentin Prison and

  6 recognized his "special ability to connect with the young and turn them on a better

  7 path." She wrote:

  8              One moment I remember, in particular, captures the way
  9              Michael could reframe a person's ambitions to be positive,
 10              realistic and still inspiring for them. When talking about
 11              career goals, many people in the financial literacy class
 12              wanted to talk to Michael about getting into the music
 13              business. Instead of telling them directly that this is not a
 14              stable career option and directing them toward something
 15              less inspiring for them, he posed a question: 'Let's say you
 16              know about this great club and you want to get in. You see
 17              there's a line from the door going around the block and
 18              barely moving. Then you look around the side and you see
 19              another door, and only one or two people are standing in
 20              that line. Both doors lead inside the club, so why would
 21              you go stand in the long line? The long line is the line of
 22              people who want to be performers, and all they know how
 23              to do is perform; the short line is the sound engineers and
 24              technicians who took the time to learn extra professional
 25              skills and get credentials they could bring to the table. If
 26              you want to work in entertainment, or any industry really,
 27              take the time to get educated and gain skills that are
 28              valuable in that industry so you can go to the short line.


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  1              One of the men he gave that advice to is currently in
  2              school learning to be a sound engineer, while he pursues
  3              his passion for hip-hop. It was through conversations like
  4              this that he guided many young men to pursue their
  5              education with the Prison University Project while serving
  6              their time, pushed others to think more critically about
  7              what skills they have and what they can gain to make
  8              themselves more independent, and convinced others that
  9              they could achieve success and happiness through legal
 10              positive means and not the destructive life they had been
 11              living. (See Exhibit B.)
 12       After being released, inmates whom Mr. Harris has mentored have gone on to
 13 live successful lives. One such success story is that of Aly Tamboura. In 2004, Aly

 14 was charged with felony assault and sentenced to serve twelve years. He met Mr.

 15 Harris while both worked on the "San Quentin News."

 16       Mr. Harris encouraged Aly to apply for the Last Mile Program. Aly was
 17 accepted into the program where he learned how to write computer code and industry

 18 standard software development. During his time in the computer coding program, he

 19 met Facebook CEO Mark Zuckerberg. After being released, Zuckerberg hired Aly

 20 who now works as the Manager of Technology and Program Delivery for the Chan

 21 Zuckerberg Initiative. He writes:

 22              My name is Aly Tamboura. I am a 46-year-old divorced
 23              father of 3 adult children and a proud grandfather. I
 24              currently work as a software engineer in San Francisco,
 25              California. I learned to write computer code while I was
 26              incarcerated at San Quentin...where I served over 12 years.
 27              Though I owe much of my success to my ambition to
 28


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  1              thrive post-incarceration, I owe a great deal of it to my
  2              friend Michael Harris...
  3              I was instantly impressed by Michael's business acumen
  4              and his compassion for mentoring fellow inmates. He is a
  5              gifted leader who changed the trajectory of many of the
  6              lives at San Quentin, including my own. In a culture
  7              where it is easy to negatively influence others, he used his
  8              influence to positively change inmates' outlook on life. He
  9              showed us that we were capable of learning and practicing
 10              skills while incarcerated that would provide the
 11              opportunity to build live for ourselves once released...
 12              I cannot attest to the man that Michael was when he was
 13              sentenced to prison because I never met that man.
 14              However, I can tell you that he is one of the humblest men
 15              I have had the privilege of meeting. He knew the
 16              destructive realities of prison life, and while many of the
 17              men I met in prison were raging against the administration,
 18              Michael was diligently working to make it a better place
 19              for inmates and staff alike. (See Exhibit B.)
 20        In 1994, 22-year old Chrisfino Kenyatta Leal's drug dealing activity and
 21 robbery with firearms led to his being sentenced to a life sentence under California's

 22 3-strikes law. Like Aly, Chrisfino had a desire to succeed, and, like Aly, Chrisfino

 23 had Mr. Harris as a mentor. Mr. Harris provided Chrisfino with one-on-one support

 24 as he worked to transform his life.

 25        In 2012, California's 3-strikes law was changed and Chrisfino was eligible for
 26 resentencing and release, if the judge who originally sentenced him in 1994 could be
 27 convinced that he no longer posed a danger. In his consideration, the judge reviewed

 28 Chrisfino's participation in some of the programs Mr. Harris helped create, including


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  1 The Last Mile. The judge mentioned in his ruling that those programs helped

  2 pursuant him that Chrisfino had transformed his life and merited a second chance.

  3 Today, Chrisfino is the manager of Campus Services at RocketSpace, a technology

  4 campus in San Francisco. In some ways, his journey from a young kid living the

  5 street life to a tax-paying citizen invested in his community is a miraculous one. In

  6 other ways, it is a path taken by countless people before Chrisfino, like Mr. Harris,

  7 whose footsteps Chrisfino followed to find freedom. About Mr. Harris, Chrisfino

  8 wrote:

  9              I have known Mr. Harris since 2008 as he was a member
 10              of both the San Quentin T.R.U.S.T. (Teaching
 11              Responsibility Utilizing Sociological Training) and The
 12              Last Mile. The T.R.U.S.T. is a peer-led rehabilitative
 13              program aimed at providing life, parenting and job skills to
 14              other men at San Quentin. The Last Mile is an
 15              entrepreneurship program which prepares incarcerated
 16              individuals for successful reentry through business and
 17              technology training....
 18              In this capacity, Mr. Harris demonstrated exemplary
 19              leadership, integrity, commitment and professionalism
 20              toward staff and others. In his role as a TRUSTFELLOW
 21              and Last Mile graduate, Mr. Harris has been able to utilize
 22              his own transformation into an accountable individual to
 23              help guide other men, including myself, on our own paths
 24              of transformation. Mr. Harris always approached his work
 25              from a place of humility -- wherein he has as much to learn
 26              from those with whom he interacts as they do from him.
 27              This attribute is a special gift." (See Exhibit B.)
 28


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  1        David Cowen is another person whose life was positively affected by Mr.
  2 Harris. In 1991, David was sentenced to life in prison for committing second degree

  3 murder. Now, having been granted parole, Mr. Cowan is Operations Manager of the

  4 Prison University Project and co-founder of Bonafide, a re-entry program to help

  5 parolees re-integrate into society. In his support letter Mr. Cowen wrote:

  6              Very quickly [upon meeting Mr. Harris] I began to see
  7              Michael as a trusted advisor, mentor, confidant, and friend,
  8              not just for myself, but for many men who were serious
  9              about making better decisions and making themselves into
 10              better family and community members...there are many of
 11              us now who have paroled and are contributing to our
 12              communities... I am always thinking about...how good it
 13              would be to have his help and presence in the communities
 14              that we are serving... I have earned a great deal of respect
 15              from formerly incarcerated people, law enforcement,
 16              politicians... I still find myself longing for his voice.
 17              There are so many...who will benefit from meeting and
 18              working with him. (See Exhibit B.)
 19        Another prisoner Mr. Harris assisted is James Houston. Now employed with
 20 The Office of Neighborhood Safety in Richmond, California, Mr. Houston, at age 21

 21 was convicted in 1996 of second degree murder and sentenced to 15 years to life,

 22 plus a three year gun enhancement. When James entered prison, he was isolated,

 23 angry, disconnected, and searching for a purpose. Mr. Harris reached out to James

 24 and helped him commit to a non-violent life. While James did the work, Mr. Harris

 25 was there to help James map out a plan and then Mr. Harris held James accountable

 26 for achieving the plan's goals. Together, they worked to form The Richmond
 27 Project, an offshoot of the T.R.U.S.T. Fellowship.

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  1        Fortunately for James, a shift in state policy gave him a better chance at
  2 parole. In 2013, after demonstrating the progress he'd made while incarcerated,

  3 James was released from prison. The passion for helping others which James

  4 learned from Mr. Harris, has led James to dedicate his life to rehabilitation and to

  5 helping other prisoners learn how to help themselves. As a neighborhood change

  6 agent for Advance Peace in Richmond, California, James's life has come full circle.

  7 Like the other men affected by the ripples of Mr. Harris's actions, James pays his

  8 debt to Mr. Harris forward. He writes:

  9              ...I have known Mr. Harris for approximately 9 years, and
 10              he was always a man of humility and stability. I met him
 11              while I was in San Quentin serving a life sentence. He was
 12              one of a few men that truly helped me understand that we
 13              can achieve greatness even though we have had a
 14              tremendously difficult time to get there.
 15              Because of those men I have been able to accomplish
 16              amazing things since my reentry back into the community.
 17              I am currently the Program Coordinator with the City of
 18              Richmond's Office of Neighborhood Safety. I have been
 19              able to achieve so many of my goals due to the mentoring
 20              that I received by Mr. Harris, one of which is being
 21              involved in helping the City of Richmond reach its lowest
 22              rate of homicides in over 30 years. I know that if I am able
 23              to accomplish so much in the few short years I have been
 24              home the sky is the limit for the man who through his
 25              tutelage helped me find my true purpose in life. He helped
 26              me realize that I have a responsibility to my community.
 27              He was selfless with his giving because he supported me
 28              through my Board hearing while working to gain his own


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  1              freedom. This is a man whom I had no prior relationship
  2              with before meeting him." (See Exhibit B.)
  3        10)   Prelude to Peace. In addition to his domestic efforts, Mr. Harris also is
  4 involved in international campaigns. Two examples are Prelude to Peace and

  5 Senegal Project Team.

  6        Prelude to Peace was a series of charitable sporting and music events held in
  7 Barcelona, Spain and broadcast internationally. The events promoted peaceful co-

  8 existence between Israelis and Palestinians and promoted education about peaceful

  9 coexistence around the globe. Paul Marshall, a renowned entertainment attorney
 10 who selected Mr. Harris for this opportunity, previously wrote support letters for Mr.

 11 Harris's state parole and gave Mr. Harris an open invitation to be part of his

 12 organization upon release. Mr. Harris' role was to select American recording artists

 13 to appear at the events.

 14        The events of Prelude to Peace were made possible by the kind invitation of
 15 His Majesty King Juan Carlos of Spain. Prelude to Peace's Board of advisors also

 16 include John Hume of Northern Ireland, Nobel Peace Prize Laureate; Timothy

 17 Shriver, Ph.D., Chairman, Special Olympics; President Jimmy Carter, Nobel Peace

 18 Prize Laureate; Shimon Peres, Israeli Nobel Peace Prize Laureate; and Desmond

 19 Tutu, South African Nobel Peace Prize Laureate.

 20        11)   Senegal Project Team. Mr. Harris helped develop the Senegal Project
 21 Team, whose focus is on training at-risk youth in manufacturing, business and

 22 finance. Through this work, he also created a "Sister City" program that pairs

 23 economically struggling cities in Senegal with their urban counterparts in the United

 24 States. This "Sister City" program will send at-risk youth from the United States to

 25 Senegal to experience another culture, to learn of their own African history and to

 26 heal from the stresses placed on urban American youth living in communities
 27 devastated by guns, gangs, drugs and unemployment. The youth of both countries

 28 will be trained in Senegal in Green construction and other viable vocations.


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  1        The Senegal Project team is developing two museums in Senegal: (1) The
  2 Leopold Sedar Senghor Museum, which will spotlight the life of Senegal's first

  3 President after gaining its independence from France in 1960; and (2) The Museum

  4 of the Lost Tribes, which tracks the history of the descendants of those who crossed

  5 the plank at Goree Island, Senegal, onto ships and into slavery throughout the world.

  6 Mr. Harris will work closely with leading historians to develop these two projects.

  7        Mr. Harris also has led the planning work of the International Advisory
  8 Committee for the Senegal Project team's International Institute for Social Justice.

  9 This Advisory Committee designed the curriculum and mission statement for the
 10 International Institute. In addition to Mr. Harris, this committee consisted of Dr.

 11 Maki Mandela, the eldest daughter of Nelson Mandela; Taghreed Jaber Alqadi,

 12 Middle East and Africa regional Director of Penal Reform International; Bill Babbitt,

 13 Board of Directors of Murder Victims' Families for Human Rights; Amina

 14 Bouayach, President of the Moroccan Organization for Human Rights; Juan F. Matos

 15 De Juan, Puerto Rican Bar Association; Hans Strub, Director of Training for

 16 Protestant Church of Switzerland; Elizabeth A. Zitrin, J.D., Coordinator of

 17 International Outreach and Communications for Death Penalty Focus, and Robert R.

 18 Bryan, Attorney at Law.

 19 D.     Peace, Reconciliation, Transformation, and Redemption
 20        For most people, incarcerated or not, involvement with so many projects
 21 would be difficult. Mr. Harris' lengthy proven track record and ability to connect

 22 with people at all levels of society demonstrate his unfailing commitment to using

 23 his personal experience and hard-earned insights as tools for helping others and

 24 finding a better way forward.

 25        Mr. Harris always has been a dreamer who aimed to do big things in his life.
 26 Even behind prison walls in the tense environment of being locked up, he built
 27 relationships with legislators, local police chiefs, activists, entrepreneurs, non-profit

 28 leaders, and, most importantly, his fellow prisoners.


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  1        Altering the trajectory of someone's life is tough work, but for the last three
  2 decades Mr. Harris has worked tirelessly to transform lives, starting with his own.

  3 Over thirty years ago, Mr. Harris was part of the problem. During the last three

  4 decades, however, he transitioned to become part of the solution. He has worked in

  5 the name of reconciliation and redemption to make each day better for as many

  6 people as possible.

  7        Mr. Harris still has the ability and the connections to make a difference in
  8 America's communities by reaching out to impressionable youth. He understands

  9 what they are going through and where they are headed. It will be his lifelong
 10 mission to bring all the stakeholders together in order to achieve lasting and

 11 sustainable solutions to change the trajectory of our youth away from criminal

 12 lifestyles. By using his life experience, he will continue to work tirelessly to help

 13 build bridges out of poverty, prison, and despair. The knowledge and insights he has

 14 learned over the last 32 years would be best shared today with the youths outside the

 15 prison walls who need it most to avoid landing inside those walls.

 16        As evidenced by the letters from Aly Tamboura, Chrisfino Leal, David Cohen,
 17 James Houston and others, Mr. Harris has an ability to inspire people to turn

 18 themselves around. This is part of the ripple effect of Mr. Harris' actions: when men

 19 he has mentored go back into the community they have been effective role models

 20 themselves, thus generating more positive ripples in their own communities.

 21        Mr. Harris mentored well over 1,000 men, one-on-one and in group sessions.
 22 If a stone thrown into a pond produces multiple ripples, how many ripples are

 23 produced when 1,000 stones are thrown in the pond?

 24        Mr. Harris respectfully submits that his efforts to help transform lives,
 25 combined with the other factors detailed herein, demonstrates "extraordinary and

 26 compelling reasons" supportive of a sentence reduction.
 27

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  1 E.     Prison Officials' Assessment of Mr. Harris' Extraordinary Rehabilitation
  2        In addition to letters from prison volunteers, community leaders, family
  3 members, and fellow inmates, numerous prison officials have described Mr. Harris

  4 as a model inmate. These authorities have not only written letters documenting Mr.

  5 Harris's exceptional post-conviction rehabilitation, they also provided favorable input

  6 to the Parole Board which was fundamental to Mr. Harris' release from the life

  7 sentence he was then serving.

  8        One such official is Scott Kernan, who has over three decades of service with
  9 the California Department of Correction and Rehabilitation (CDCR). He began his
 10 career in 1984 as a correctional officer at San Quentin Prison and was promoted to

 11 Correctional Sergeant in 1985, Associate Budget Analyst in 1986, Correctional

 12 Lieutenant in 1987, and Correctional Captain in 1991. He served as a Correctional

 13 Administrator from 2000 to 2001 and Chief Deputy Warden from 2001 to 2003. He

 14 became Warden at Mule Creek State Prison in 2003 and Warden of California State

 15 Prison-Sacramento in 2004. Mr. Kernan became Deputy Director of Adult

 16 Institutions in 2006, Chief Deputy Secretary of Adult Operations in 2007, and

 17 Undersecretary of Operations in 2008. In 2015, Mr. Kernan was promoted to serve

 18 as the Secretary of the California Department of Corrections and Rehabilitation. As

 19 Secretary, he was entrusted with the responsibility to lead a department of 69,000

 20 employees with a $12 billion annual budget, overseeing more than 200,000 inmates

 21 and 45,000 parolees.

 22        Scott Kernan is a dedicated professional who has had a highly successful
 23 career. Previous Governor Edmond G. Brown, Jr. publically stated, "Under Scott's

 24 leadership, our correctional institutions made real and lasting improvements for the

 25 staff, for the inmates and for the people of California." There can be little doubt that

 26 any recommendations made by Mr. Kernan would be well-reasoned and supported
 27 by the facts, especially when this recommendation is to the parole board weighing a

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  1 parole date for an inmate serving a life sentence. In this context, Mr. Kernan, then

  2 Undersecretary of Operations, wrote the following:

  3              Mr. Harris has demonstrated the ability to positively
  4              program while incarcerated with the California Department
  5              of Corrections and Rehabilitation and the willingness to
  6              participate in pro-social rehabilitative programs. Mr.
  7              Harris has the confidence of local law enforcement and
  8              community leaders who indicate that Mr. Harris will be a
  9              positive influence in the community modeling the
 10              behaviors and attitudes that promote alternatives to crime
 11              and incarceration. Mr. Harris will be provided with an
 12              employment opportunity, an apartment, and professional
 13              and personal coaching by the Neighborhood House of
 14              Richmond.
 15              Based on Mr. Harris' abilities and willingness to serve the
 16              community, the attached recommendations of law
 17              enforcement and community leaders, and the Board of
 18              Parole Hearing's decision, it is my recommendation that
 19              Mr. Harris' request for an advance parole date be granted.
 20              (See Exhibit B.)
 21        Keith J. Williams, Associate Warden of San Quentin State Prison, also wrote a
 22 letter to the Parole Board on Mr. Harris' behalf. Like Undersecretary Kernan,

 23 Associate Warden Williams had worked for over 29 years for the Department of

 24 Corrections and Rehabilitation, and in that time had developed a "special ability to

 25 discern motivations and interpret behavior" of the inmates he oversaw. After

 26 personally observing Mr. Harris on a daily basis for a six year period as the
 27 Correctional Captain of the General Population Housing Unit to which Mr. Harris

 28 was assigned, Associate Warden Williams stated:


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  1              I have learned that his great sense of civic responsibility is
  2              driven by an authentic and heart-felt remorse. His remorse
  3              and desire to honor his victim and anyone else who has
  4              suffered harm is manifested both in his stabilizing role in
  5              the San Quentin general population and also his dedication
  6              to outside community efforts and needs...
  7              Based on my close interaction with Mr. Harris, not to
  8              mention the Board of Parole Hearing's decision, it is my
  9              personal and professional opinion that Mr. Harris is not a
 10              threat to public safety and to the contrary, his release will
 11              benefit the community, especially those whom he will
 12              serve as a role model and assistant. I earnestly and without
 13              reservation recommend that Board of Parole Hearing's
 14              grant Mr. Harris an advanced parole date." (See Exhibit
 15              B.)
 16        Another prison official who wrote a letter of recommendation for Mr. Harris
 17 was Lt. Sam Robinson, nicknamed "The Mayor of San Quentin." Lt. Robinson is a

 18 22 year employee of the CDCR, eleven of those years serving as the Public

 19 Information Officer at San Quentin State Prison. Lt. Robinson is responsible to

 20 provide access and information to the numerous events and rehabilitative programs,

 21 coordinate with headquarters communications staff, and ensure that all questions

 22 about San Quentin are answered. In his professional position as Public Information

 23 Officer, Lt. Robinson interacted with Mr. Harris on a weekly basis. In his letter to

 24 the Parole Board, Lt. Robinson wrote:

 25              I am able to witness inmate Harris' professional attitude
 26              and reliable work ethic. As an editor and an organizer,
 27              Harris' professional attitude and reliable work ethic. As an
 28              editor and an organizer, Harris' skills have become highly


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  1              proficient and, as a professional, I consider his progress as
  2              a positive attribute to rehabilitation. From my opportunity
  3              to observe inmate Harris' rehabilitation development, I can
  4              attest that his change is genuine and that he is sincere in his
  5              efforts to improve the community.
  6              As the Public Information Officer, one of my duties is to
  7              conduct tours of San Quentin for the community. During
  8              those tours, there's an opportunity for inmates to speak to
  9              the various groups. Inmate Harris has become one of the
 10              inmates I rely on to convey to the visitors how
 11              participation in pro-social rehabilitation programs prepare
 12              inmates for re-entry into the community.
 13              I believe that the Board should grant inmate Harris' request
 14              for an advanced parole date based on the fact that his
 15              conduct exemplifies the criteria necessary for such
 16              consideration. (See Exhibit B.)
 17        J. Evans has worked as a correctional officer at San Quentin Prison for 29
 18 years. Mr. Evans was assigned as the Education CDCR Officer, where he got to

 19 know Mr. Harris over a period of four years. Like the other prison officials who

 20 wrote letters supporting Mr. Harris' release, Mr. Evans recognized Mr. Harris as a

 21 positive force was willing to place his processional reputation on the line and

 22 recommend that Mr. Harris, who was then serving a life sentence, be released early

 23 from prison due to his exceptional rehabilitation and extraordinary post-conviction

 24 efforts. Mr. Evans wrote:

 25              I have observed him on a number of different occasions, in
 26              the housing unit, interacting with other inmates on the
 27              yard, and at his work assignments...
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  1              I have personally witnessed Harris perform his duties in a
  2              professional manner on several interviews surrounding a
  3              number of events such as graduations, symposiums, and
  4              appreciation ceremonies. My job position location
  5              provides me with the opportunity to view inmates from a
  6              distance as well as close up. It is my opinion and
  7              experience that Harris has always conducted himself in a
  8              respectful and professional manner not just when people
  9              and officers are watching but more importantly when
 10              people are not. During a number of conversations with
 11              inmate Harris I can attest to his inner growth and insight.
 12              His time here at San Quentin has been nothing less than a
 13              constant flow of [positiveness] among staff, inmates,
 14              volunteers and prominent government officials. His
 15              actions have demonstrated to me a willingness to be a
 16              productive person upon his release with a true mission for
 17              public safety. In my professional opinion and code of
 18              ethics, Harris will be an asset to the world community, not
 19              a liability or a danger, because he has already shown a
 20              willingness to help society. In your decision process
 21              regarding safety and security of the community concerning
 22              the release of inmate Harris, I pray that you sincerely
 23              consider my many years of observation of inmates and my
 24              professional experience within CDCR on this specific
 25              issue. (See Exhibit B.)
 26       The above prison officials who wrote letters supporting Mr. Harris' parole
 27 from a life sentence had over 100 years combined professional experience in

 28 corrections and rehabilitation. Each of them is a correctional expert They came to


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  1 their respective decisions to support Mr. Harris through years of personal interaction

  2 and observation of Mr. Harris in a diverse range of situations and environments.

  3 Each made perfectly clear that Mr. Harris at this point is an asset, not a threat, to the

  4 public and, if released, would benefit society immensely.

  5        Since Mr. Harris has been in the custody of the BOP, he has maintained his
  6 exceptional prison conduct and rehabilitation efforts. However, as related to him by

  7 Unit Manager Webster, BOP policy no longer allows for staff to generate personal

  8 letters of recommendation for individual inmates. However, Mr. Harris has been

  9 provided with a copy of his most recent BOP Program Review Summary Report.
 10 (Exhibit K.) This document contains a summary of all the information regarding Mr.

 11 Harris' prison conduct, used by his Unit Team (Unit Manager, Case Manager, and

 12 Correctional Counselor) in determining Mr. Harris' program needs. A review of this

 13 document will show the Court that Mr. Harris continues to maintain clear conduct

 14 and meet all of his various programming goals. Mr. Harris respectfully submits that

 15 this information, combined with the other factors detailed herein, evidences

 16 "extraordinary and compelling reasons" supportive of a sentence reduction to time

 17 served.

 18 F.     California State Board Granted Mr. Harris Parole in 2011 after Finding Him
 19        Suitable for Early Release. Mr. Harris was Discharged from Parole in 2012
 20        When determining whether to release a defendant from a term of
 21 imprisonment early, one of the most important questions this Court must thoroughly

 22 consider is whether, if released, that defendant would pose a threat to society.

 23        In the case of Mr. Harris, this question already has been answered in 2010 by
 24 the California State Parole Board ("Parole Board") when the Parole Board

 25 determined Mr. Harris was suitable to be paroled early from prison. The Parole

 26 Board is tasked with the specific duty of determining parole suitability. It consists of
 27 professionals qualified to make sound, informed judgments about the suitability of

 28 restoring civil rights and returning a prisoner to free society.


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  1        The Parole Board's workforce includes seventeen Commissioners, appointed
  2 by the governor and subject to State Senate confirmation, as well as Deputy

  3 Commissioners, forensic clinical psychologists, investigators, and administrative and

  4 legal staff. The mission of the Parole Board is to protect and preserve public safety

  5 and to maintain a high performing and professional parole hearing and review

  6 system that protects California's communities.

  7        While California state law mandates that every inmate sentenced to a term
  8 with the possibility of parole be provided a parole hearing date, there is nothing

  9 which guarantees an inmate ever will be granted parole. As one former
 10 commissioner stated: The purpose of the Parole Board is not necessarily to set the

 11 right inmate free, but to ensure the wrong inmate stays locked-up. In support of this

 12 statement, CDCR data has shown that, on average, less than 13% of all inmates

 13 serving life sentences, who came in front of the Parole Board actually are granted

 14 parole.

 15        There are many considerations the Parole Board weighs when determining
 16 whether an inmate is deemed suitable for parole. These considerations are provided

 17 in the California Code of Regulations, Title 15. They include: nature and gravity of

 18 the commitment offense, past criminal record, social history, psychological

 19 evaluation, institutional behavior, post-conviction rehabilitation, parole plans, stable

 20 relationships, and age, among other factors.

 21        The Parole Board took the above-mentioned factors into consideration when
 22 making the rare decision to grant Mr. Harris a parole date after his hearing in 2009.

 23 His dedication to self-help and education, lack of disciplinary action for over ten

 24 years, strong support system and realistic future plans, sense of remorse and

 25 accountability for his past actions, and rehabilitative mental state led the Parole

 26 Board to deem Mr. Harris suitable for parole, the Parole Board specifically
 27 commenting on his "genuine and sincere remorse." As summed up by Presiding

 28 Commissioner Shelia Petrakis:


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  1               Not only was it your words, it was your conviction, your
  2               tone of voice, that the panel did recognize. It was with that
  3               and other statements of remorse that showed the panel that
  4               you did have insight into the causative factors and you
  5               truly understood the nature and magnitude of the offense.
  6               The prisoner's positive and rehabilitative mental state and
  7               the prisoner's sincere signs of remorse and his attitude
  8               toward the crime show he is suitable for parole because he
  9               has, as we previously explained, the prisoner has insight
 10               into what led to his criminality, to include not only
 11               creating an environment of criminal activity, but to also
 12               include one in which violence was brought forth upon Mr.
 13               Lester. And, again, your signs of genuine and sincere
 14               signs of remorse. (See BPH 2009 Transcript, Exhibit L.)
 15        The Parole Board's decision validates Mr. Harris' remarkable post-conviction
 16 record and personal transformation, and indicates that he would not be a danger if

 17 granted a reduced sentence and release from custody. Therefore, Mr. Harris submits

 18 to the Court that his state parole from a life sentence -- an extraordinary and

 19 compelling circumstance -- combined with the other factors detailed herein, supports

 20 reduction of Mr. Harris' current federal sentence to time served.

 21 G.     Mr. Harris Continued His Engagement with Programming after He was
 22        Transferred to Federal Custody
 23         San Quentin State Prison offered over 100 programs and utilized over 3,000
 24 outside volunteers, from students to heads of large corporations, to implement those

 25 programs. This provided Mr. Harris the fertile ground in which to conceptualize and

 26 grow successful rehabilitation programs. While the Federal Correctional Institution
 27 at Lompoc ("FCI-Lompoc") is more limited in the number of programs available,

 28 since Mr. Harris was transferred he has continued to further his rehabilitation by


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  1 taking advantage of all programming available at FCI-Lompoc. In addition to

  2 continuing his formal education through both Coastline and Allan Hancock Colleges,

  3 he is an active participant in the Adult Continuing Education Program, the Post-

  4 Release Employment Readiness Program, the Health and Nutrition Programs, and

  5 numerous other rehabilitative activities summarized in his attached BOP

  6 "Individualized Reentry Plan -- Program Review." (Exhibit M.) Mr. Harris also

  7 dedicates time and energy to mentoring other inmates as they prepare for their

  8 release.

  9        The United States Probation Officer is tasked with the duty of conducting in-
 10 depth research into a defendant's history and characteristics. The Court relies on

 11 their accurate, complete, and factual report in order to craft a just sentence. In Mr.

 12 Harris' case, the United States Probation Office recently assessed Mr. Harris' post-

 13 sentencing conduct and submitted a report to this Court which reads in part:

 14               [Mr.] Harris has distinguished himself by his exceptional
 15               pro-social, post-sentencing conduct while in state prison.
 16               He worked to make society safer by mentoring fellow
 17               inmates to lead a crime-free life, and by promoting
 18               educational and vocational initiatives within the prison
 19               system. It speaks volumes that so many distinguished
 20               public servants in the Bay Area, occupying high-profile
 21               positions, would endorse so strongly someone like Harris,
 22               who was then a San Quentin inmate serving a 25-year
 23               prison sentence for attempted murder. A common theme
 24               runs through the many letters submitted by both the mayor
 25               and chief of police for the City of Richmond, California, as
 26               well as those submitted by the state senator, assembly
 27               member, county supervisor and others serving that area
 28               (PACER Doc. No. 1373-1). All believed the city of


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  1              Richmond would have benefitted immediately if Harris
  2              was paroled, so that he might deploy his unique skill set to
  3              improve neighborhood safety.
  4              Since entering the Bureau of Prisons, Harris has continued
  5              his exceptional pos-sentencing rehabilitation. He has
  6              completed numerous educational programs, including
  7              college-level courses. As was the case in the California
  8              Department of Corrections, Harris has maintained an
  9              exemplary disciplinary record. (See Exhibit M.)
 10        Even the United States Attorney's Office recognized Mr. Harris' "significant
 11 post-conviction rehabilitation efforts" (see the government's Answer Brief to the

 12 Ninth Circuit, Case 18-50114, 01/04/2019, ID: 11142664, DktEntry: 18, Page 36 of

 13 38).

 14        Mr. Harris respectfully submits that this information, combined with the other
 15 factors detailed herein, provides further evidence of "extraordinary and compelling

 16 reasons" supporting a sentence reduction.

 17 H.     Facts Discovered Post-Sentencing Provide Credible Evidence Mr. Harris was
 18        Actually Innocent in His Now Discharged California State Case No. A954503
 19        One of the "extraordinary and compelling reasons" why this Court should
 20 consider reducing Mr. Harris' 235-months federal sentence is the credible evidence,

 21 discovered post-sentencing, showing that Mr. Harris actually is innocent of the state

 22 crime for which he served 23 years.

 23        On June 11, 1987, James Curtis Lester ("J.C. Lester") was kidnapped from the
 24 home of his girlfriend in Los Angeles by four individuals. J.C. Lester claims they

 25 took him to an abandoned house and tied him up, then drove him to Canyon Country,

 26 California, where he was shot and abandoned. He managed to walk to a nearby
 27 house where he called for help.

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  1        Prior to being taken to the hospital, J.C. Lester told Deputy Sheriff Garns,
  2 California Highway Patrol Officer Reed, and later, after arriving at the hospital,

  3 Detective Segars, that he did not know who his assailants were.

  4        However, J.C. Lester later changed his story and stated Mr. Harris and one
  5 other person kidnapped and shot him.

  6        Mr. Harris was subsequently arrested. He retained attorney Clay Jacke, Sr.
  7 ("Mr. Jacke") to represent him as counsel. Mr. Harris informed Mr. Jacke that he

  8 was in Houston, Texas during the week of the shooting and had multiple alibi

  9 witnesses who would testify to that fact. Mr. Harris also made clear that he had no
 10 knowledge of the abandoned house (which J.C. Lester testified was located at 1305

 11 W. 80th St., Los Angeles) where J.C. Lester had claimed he was tied up. In fact,

 12 after the trial, the owner of the house, Derrick Pruett, signed a sworn affidavit which

 13 stated he was home having his birthday party celebration on the night of the

 14 shooting. (See Exhibit N.) However, due to Mr. Jacke's [unfounded] belief that Mr.

 15 Harris lacked funds, he made no effort to investigate any of Mr. Harris' claims.

 16        J. C. Lester's testimony was the only evidence presented at trial identifying
 17 Mr. Harris as the perpetrator of the crime. No physical evidence or other direct

 18 evidence ever was introduced to corroborate J.C. Lester's trial testimony. All other

 19 circumstantial evidence introduced was hearsay originating from J.C. Lester,

 20 including testimony from his brother, L.C. Lester.

 21        Mr. Harris was convicted on Conspiracy to Commit Murder, and sentenced to
 22 serve a 25-years-to-life indeterminate sentence, and for Great Bodily Injury, he was

 23 sentenced to serve a consecutive 3-year determinate sentence.

 24        After trial, Mr. Jacke realized that it was the direct result of his failure to
 25 properly investigate Mr. Harris' alibi, the home J.C. Lester testified he was tied up at,

 26 and other witnesses, that led to Mr. Harris' conviction. Mr. Jacke provided a sworn
 27 affidavit acknowledging his ineffective assistance of counsel. (Exhibit O.)

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  1        In November 26, 1990, while Mr. Harris still was serving his 3-year
  2 determinate state sentence, he was sentenced in his federal case, by Judge William J.

  3 Rea, who ordered his 235-month federal sentence to run "consecutive to the state

  4 sentence defendant was presently serving." (Exhibit D.) By operation of law, that

  5 sentence was the 3-year determinate state sentence for Great Bodily Injury which

  6 Mr. Harris was then serving.

  7        Two years after Mr. Harris' federal sentence was imposed, a sworn affidavit by
  8 the sole victim, James Lester, was provided showing that Mr. Harris actually was,

  9 and is, innocent of the state crimes for which he served a total of twenty-three years.
 10 Those state convictions were the basis for Mr. Harris' nineteen-year federal sentence

 11 being imposed consecutively. The affidavit of victim Lester was followed over a

 12 period of 20 years by four additional voluntary sworn affidavits/declarations, as well

 13 as sworn testimony at two parole hearings -- all of which were consistent in their

 14 exoneration of Mr. Harris.

 15        In 1987, Mr. Harris was convicted of the robbery, kidnapping, and conspiracy
 16 to commit murder of James Lester. He was sentenced to serve 25 years to life plus a

 17 three-year determinate term in state prison. Mr. Harris' lifestyle and reputation as a

 18 major drug dealer directly contributed to the life sentence he received, as his

 19 activities had landed him on the radar of law enforcement officials in the Los

 20 Angeles area. However, the victim, James Lester, admitted as early as 1992 that, in

 21 order to convict Mr. Harris, he had lied, due to the urging and threats of law

 22 enforcement agents against him and his family if he did not cooperate. Beginning

 23 that year, Mr. Lester voluntarily signed a series of sworn declarations admitting that

 24 he lied to help law enforcement convict Mr. Harris. (See Declarations from James

 25 Lester attached hereto as Exhibit P.) Mr. Lester explained that he originally told law

 26 enforcement officers that he suspected Mr. Harris might be involved because Mr.
 27 Harris thought Mr. Lester may have stolen money from him. However, he knew that

 28 Mr. Harris was not one of his three assailants.


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  1        James Lester's brother, L.C. Lester, also signed declarations admitting that his
  2 only knowledge of the offense came from information his brother had provided.

  3 (Exhibit P.) He admitted that his brother initially told him that he did not know who

  4 his assailants were, but that his brother changed his story and named Mr. Harris

  5 because law enforcement officers pressured him to do so. Like his brother, L.C.

  6 Lester also succumbed to pressure from law enforcement officers to falsely testify

  7 against Mr. Harris.

  8        The Lester brothers learned that the man behind the attack was Buford Bates, a
  9 well-known gang leader from whom they feared retaliation if they were to implicate
 10 him. (Id.) Although they both admitted falsely implicating Mr. Harris in this offense

 11 in 1992, they did not specifically name Mr. Bates until after they had learned of his

 12 death in or around 2002.

 13        Mr. Harris has consistently maintained his innocence throughout the course of
 14 his trial, appeal, and his subsequent incarceration and parole hearings. However, as a

 15 review of his September 2008 parole hearing transcript shows, the Board of Parole

 16 Hearings inexplicably rejected James Lester's admission in the parole hearing that he

 17 had lied and that Mr. Harris did not commit the crime against him. (Defer to

 18 September 25, 2008, Parole Hearing Transcript, at Pages 136-141.)

 19        The September 2008 hearing was actually a continuation -- albeit with a new
 20 commissioner -- of a hearing that began in March of that year but was suspended for

 21 the Board to determine whether Mr. Lester had been threatened or coerced in any

 22 way to exonerate Mr. Harris. (Defer to March 20, 2008 Parole Hearing Transcript.)

 23 Before suspending the March 2008 proceedings, Presiding Commissioner Linda

 24 Shelton said she wanted to get Mr. Lester's statement on the record. However,

 25 before Commissioner Shelton allowed Mr. Lester to enter his statement into the

 26 record, she made the following series of statements:
 27              I'm stuck here... What I'm stuck here is, is that I'm looking
 28              at a man across the table who says he's innocent and I'm


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  1             looking at a victim who says you're innocent too. And I, in
  2             good conscience, cannot move this hearing forward
  3             without a thorough investigation... This hearing and this
  4             Board in this room cannot retry your case... But we can at
  5             least do what I think we should do with regards to
  6             investigation.
  7             The problem is, is that I am going to postpone this hearing
  8             today. And I am going to request an investigation based
  9             on what I just told you... I want everything thoroughly
 10             investigated because if, in fact, you are innocent, you
 11             shouldn't be sitting here... And I don't know that much
 12             about the law and state and federal charges, but it would
 13             seem to me that you might potentially, if you are
 14             innocent...somebody might take a look at your federal
 15             sentence... And I asked Ms. Hoffman if one could get
 16             credit for your time served already... I am struggling with
 17             -- I've talked with Ms. [D.A.] Naftel. I've talked with Ms.
 18             [Attorney for Mr. Harris, Johanna] Hoffman. I've talked
 19             with Mr. Lester. I've talked with my partner [Deputy
 20             Commissioner Philip J. Bruccoleri] and I've talked with
 21             me. I don't know how long this kind of information goes
 22             on and people ignore it or do not ignore it, but it seems to
 23             me, to quote my partner, there should be a remedy... And
 24             there should be resolution for once and for all. And either
 25             that resolution is you're stuck here for life until you earn
 26             parole or the resolution is that you're innocent.
 27             We all know that there are innocent people in prison. We
 28             also know that there's a lot of people who say they're


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  1             innocent who aren't. But I've been doing these hearings for
  2             two years and I have not had a victim come in and say, he
  3             didn't do it. It seems to me we should do something with
  4             that... We cannot ignore Mr. Lester's testimony, which
  5             we're going to get to in a moment because I would like him
  6             to put his statement on record since it's never, ever been on
  7             record in a hearing room... I just have to go with my
  8             conscience...
  9        The victim, James Lester, stated the following:
 10             Okay. To members of the State of California Parole Board
 11             and Mr. D.A. I, James Lester, declare and signed two or
 12             three statements -- declarations under the United States
 13             Courts of Law testifying that Michael Harris and Richard
 14             Dawson was not my assailant and kidnapper and robber
 15             and shooter, did not do it. When, in fact, a guy by the
 16             name of Buford (sp) Bates, better known as B.J. was the
 17             shooter. I, James Lester, was the victim of a horrendous
 18             crime and I just want to make peace within myself because
 19             I couldn't sleep and just didn't feel right with myself
 20             knowing that Mr. Harris was not the shooter and had
 21             anything to do with it. So I'm here on my own free will,
 22             was not threatened by Mr. Harris nor his family. So I can
 23             go on with my life and also so he can go on with his.
 24             Thank you." (Exhibit P.)
 25       Mr. Lester even apologized to Mr. Harris for "taking him through this." (Id. at
 26 15.) Still, the Board proceeded to deny Mr. Harris parole in the September 2008
 27 hearing.

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  1        Upon closer review, the Board's handling of this case reveals a major flaw in
  2 the criminal justice system: the rules governing the parole consideration process do

  3 not provide a pathway home through the parole board for someone who has a

  4 legitimate claim of innocence. Specifically, §2281 of Title 15 of the California Code

  5 of Regulations enumerates 15 different factors that could constitute the kind of

  6 "relevant, reliable information" that should guide the Board's determination of

  7 whether someone currently represents such an unreasonable risk to public safety that

  8 they should be denied parole. (See Cal. Code of Regs., tit. 15. Sec. 2281, subds. (b),

  9 (c) and (d).) Actual innocence is nowhere among those 15 factors. As a result, the
 10 Board was unable or unwilling to grant parole on the basis of Mr. Harris' innocence.

 11 Even so, Mr. Harris has always acknowledged the destructiveness and danger of the

 12 drug-dealing lifestyle that he was involved in, and he fully accepts that violence is

 13 often an inevitable and foreseeable consequence of that life. In short, he owns

 14 responsibility for his part in the devastation of his community, and on numerous

 15 occasions, such as in interviews, Mr. Harris has apologized for the role he played.

 16        Mr. Harris was later found suitable for parole at another hearing (his fourth)
 17 on September 16, 2009. While once again considering the sworn admissions by

 18 James and L.C. Lester, the Board rested its decision to grant parole on the many

 19 ways in which Mr. Harris has worked to transform himself and his community

 20 despite the fact of his innocence in this crime. Lastly, the Board considered the

 21 overwhelming weight of the evidence showing that Mr. Harris would present a very

 22 low risk -- and would actually make a huge contribution -- to the public if released.

 23        Mr. Harris still is being impacted by the improper execution of the state and
 24 federal sentences and the federal court's reliance on the factors entailed in the state

 25 case. Mr. Harris does not contest the legality of his federal conviction, just the

 26 manner of his federal sentence's execution by the U.S. Marshal Service, and the
 27 aggregation of his federal sentence with his undischarged state sentence. Judge Rea,

 28 when he imposed Mr. Harris' federal sentence on November 26, 1990, did not, of


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  1 course, have the benefit of the post-sentencing facts. This Court does have the

  2 benefit of those facts.

  3        Furthermore, this Court now has the authority to take a "second look" at the
  4 aggregation of Mr. Harris' convictions as well as the U.S. Marshals Service's

  5 execution of his federal sentence (as discussed in the next section) as factors in

  6 determining an appropriate compassionate release ruling. The California Parole

  7 Board, being an Executive agency, lacked the authority to declare or even take into

  8 account what properly is a Judicial determination of Mr. Harris' actual innocence.

  9 As quoted earlier, Parole Board Presiding Commissioner Shelton said, in part, at Mr.
 10 Harris' March 20, 2008 Parole Hearing, "...somebody might take a look at your

 11 federal sentence..." In reference to the multiple sworn affidavits/declarations and

 12 sworn testimony by the victim Lester, recanting his false trial testimony which had

 13 led to Mr. Harris' state convictions, Presiding Commissioner Shelton said:

 14               I don't know how long this kind of information goes on
 15               and people ignore it or do not ignore it, but it seems to me,
 16               to quote my partner, there should be a remedy...and there
 17               should be resolution once and for all... We cannot ignore
 18               Mr. Lester's testimony...I just have to go with my
 19               conscience.
 20        The First Step Act now allows this Court to look at the post-conviction facts
 21 and to "go with" its conscience under its §3553(a) review. The beauty of the First

 22 Step Act is that it builds into the law the ability of a federal judge to pay attention to

 23 the better angels of his or her nature and to consider unique "extraordinary and

 24 compelling" factors such as those involved with Mr. Harris's sentences.

 25        Among the various compelling reasons why this Court should grant
 26 compassionate release to Mr. Harris, it is the persistent efforts of the victim, Mr.
 27 Lester, over the last 28 years to recant his trial testimony so he can, according to him,

 28 sleep at night, clear his conscience and go on with his life, is particularly


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  1 "extraordinary and compelling." He has sworn no less than five

  2 affidavits/declarations and testified under oath on the record twice in parole hearings

  3 that Michael Harris was not his assailant and was innocent of the crimes for which

  4 Mr. Harris served the first 23 of his 32 years incarceration. Yet, the state conviction

  5 of Mr. Harris in 1988 for being Mr. Lester's assailant was the basis for Judge Rea's

  6 decision that Mr. Harris' nineteen-year sentence should run consecutive to his 3-year

  7 state sentence, which was improperly executed by the U.S. Marshals Service who

  8 instead inadvertently made it run consecutive to his indeterminate 25-years-to-life

  9 sentence.
 10        Without the state convictions, there would have been no need to run Mr.
 11 Harris's 19-years sentence consecutively, and Mr. Harris would have been released

 12 from federal custody no later than 2009. With good time credit, his release would

 13 have taken place on or about 2005, when some of his co-defendants with similar

 14 sentences were released. Now that the First Step Act allows consideration of what

 15 previously was not allowed to be considered by this Court, it is time for Mr. Harris to

 16 be considered for release.

 17 I.     Concurrent vs. Consecutive
 18        1.    If the Sentencing Judge Had Known of Mr. Lester's Perjured Testimony
 19              that was Used to Convict Mr. Harris in His State Cases, It is Reasonable
 20              to Conclude He Would Have Imposed a Concurrent Sentence Instead of
 21              a Consecutive Sentence
 22        Mr. Harris was a first-time federal offender who was convicted for violating
 23 non-violent federal drug offenses. Evidence presented at trial and recorded in the

 24 PSR showed that while Mr. Harris was a buyer of cocaine from the Villabona

 25 Organization, and was "separate" and "apart" from that Organization (PSR, ¶109).

 26        Based upon the various sentencing factors, Mr. Harris was sentenced to a
 27 federal term of 235 months. Had Mr. Harris only had to serve the federal sentence,

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  1 he would have been released in 2008, twelve years ago, and with good time he would

  2 have been released in 2005 as some of his co-defendants were.

  3        Unfortunately, in 1988, Mr. Harris had been convicted in State Court to serve
  4 a 25-years-to-life indeterminate sentence for conspiracy to commit murder, to run

  5 consecutive to a three-year determinate sentence for Great Bodily Injury. Much of

  6 the federal sentencing proceeding was taken up by the discussion of whether Mr.

  7 Harris' federal sentence should be ordered to run concurrent or consecutive to his

  8 state sentences. A review of the sentencing transcript will show that over half of the

  9 entire hearing was consumed with discussion of the state convictions.
 10        Though Mr. Harris had always maintained his innocence, the only information
 11 he had to rely upon at sentencing was the evidence of Mr. Harris' state convictions.

 12 And it is perfectly clear from U.S. District Judge William Rea's own statements that

 13 it was the violent nature of Mr. Harris' conviction that made him decide to impose a

 14 consecutive sentence. In fact, Judge Rea commented:

 15              What you are saying is that being convicted of conspiracy
 16              to commit murder gives you a free bite of the apple so to
 17              speak so that if you are convicted of some later crime you
 18              get credit for that crime for the sentence that's being
 19              imposed on you for conspiracy to commit murder. (Id.)
 20        The prosecutor also focused on the violent nature of the state offense, when he
 21 stated:

 22              If the Court does sentence Mr. Harris concurrently he is
 23              going to get a freebie for taking somebody out, binding
 24              them up with a telephone wire, leading them out to the
 25              desert and shooting them twice. (Id.)
 26        Mr. Harris fully recognizes that, absent any evidence to the contrary, the
 27 consecutive sentence the Court chose to impose was a punishment reasonably based

 28 on the violent nature of the state crime, if Mr. Harris was guilty. However, as noted


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  1 previously, after Mr. Harris had been federally sentenced, credible evidence,

  2 including the recantation in a sworn affidavit of perjured trial testimony by the sole

  3 victim, James Lester, came to light which supported Mr. Harris' claim of actual

  4 innocence which he had maintained from the beginning.

  5        Had all the post-conviction evidence of actual innocence been available for the
  6 sentencing judge to review, prior to imposing its federal sentence, the Court may

  7 have determined there was enough doubt as to whether Mr. Harris committed the

  8 state offense, to have imposed the federal sentence to run concurrent to the state

  9 sentences.
 10        It is Mr. Harris' hope that this Court will review all of the Exhibits provided
 11 supporting Mr. Harris' claim of actual innocence of committing the state crime, and

 12 impose his federal sentence to run concurrent to his now discharged state sentences,

 13 or order an evidentiary hearing to review the evidence, question any witnesses and

 14 then make a determination of whether this Court finds enough support for Mr. Harris'

 15 claim of actual innocence.

 16        2.    The Sentencing Court's Intent in Running Mr. Harris' Federal Sentence
 17              Consecutive to the Determinate Three-Year State Term Rather Than the
 18              25-To-Life Indeterminate Term
 19        It is clear from the Sentencing Transcript that Judge Rea made the best
 20 decision he could with the information he had in 1990 when he imposed Mr. Harris'

 21 federal sentence. The judge did not have the benefit of knowing that the state case

 22 against Mr. Harris was based solely on the victim's perjured testimony, as the victim

 23 admitted after the trial in no less than five sworn affidavits/declarations and sworn

 24 testimony in two parole hearings.

 25        But in 1990, Judge Rea, focusing on what at the time he believed to be the
 26 serious nature of the crimes Mr. Harris had committed, made clear he wanted Mr.
 27 Harris to serve the maximum amount of time on each of his multiple sentences. By

 28 running the 235-month determinate sentence immediately after Mr. Harris' three-year


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  1 determinate state sentence (the state sentence he is "presently serving"), the judge

  2 was guaranteeing at least 22 years would be served before the 25-years-to-life

  3 sentence began. In other words, he wanted the two determinate sentences served

  4 before the 25-years-to-life indeterminate sentence started.

  5        The judge stated:
  6              So, if I sentenced [Mr. Harris] to twenty years to run
  7              concurrent, that means he will do three years on this. And
  8              in fact, with good behavior he'd do less than that... He's
  9              committed serious crimes." (Sentencing Transcript, Page
 10              16, lines 10-12; 23, Exhibit H.)
 11        Judge Rea was worried that if he ruled Mr. Harris' federal sentence should run
 12 concurrent with his 25-years-to-life sentence, that the only determinate time Mr.

 13 Harris would serve would be the three year state determinate sentence that Mr.

 14 Harris was then finishing up. Clearly, the judge wanted to make sure that Mr. Harris

 15 served both of his determinate terms -- the 235-month federal sentence immediately

 16 following his three-year state determinate sentence -- before his state 25-years-to-life

 17 indeterminate sentence commenced.

 18        Judge Rea's intent in that regard was consistent with California law, P.C.
 19 §669(a), which states a determinate term must be served before an indeterminate

 20 term. The judge was concerned that Mr. Harris might be paroled in a relatively short

 21 period of time. Judge Rea said, "...I have no way of knowing at this time whether the

 22 Parole Board will let him go at five years, ten years, fifteen... They work in a strange

 23 way over there as far as I can see." (Sentencing Transcript, Page 7, lines 20-23.)

 24        The judge had reviewed the PSR from the U.S. Probation Office and he knew
 25 Mr. Harris had two undischarged state sentences and was serving his determinate

 26 three-year term at the time the federal sentence was imposed (PSR, ¶125). There is
 27 no doubt that Judge Rea's intent, motivated by his concern over the serious and

 28 heinous nature of the state crime, was to assure that Mr. Harris would serve as much


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  1 time as possible. The judge purposely "front loaded" the determinate sentences

  2 before the indeterminate state sentence, thus "stacking" the terms of the three

  3 convictions in such a way as to insure the maximum amount of time Mr. Harris

  4 would have to serve. The judge expressed his concern with a concurrent sentence:

  5               I think that's the thrust of this particular case, because what
  6               you are saying is that being convicted of conspiracy to
  7               commit murder gives you a free bite out of the apple so to
  8               speak so that if you are convicted of some later crime you
  9               get credit for that crime for the sentence that's being
 10               imposed on you for conspiracy to commit murder.
 11               (Sentencing Transcript, Page 10, lines 2-8.)
 12        But what if in 1990 the sentencing court had the benefit of Mr. Lester's sworn
 13 affidavits/declarations and testimony stating he had lied in Mr. Harris' state trial

 14 testimony and that Mr. Harris was not involved in the conspiracy to murder him?

 15 Nobody is able to answer that question, but it is reasonable to conclude Mr. Harris'

 16 19-year sentence would not have been made consecutive to his state term, and Mr.

 17 Harris would be a free man today.

 18        Thanks to the First Step Act of 2018, this Court has the opportunity to take
 19 into account what Mr. Harris' sentencing court couldn't. This court has the

 20 opportunity not only to take Mr. Harris' remarkable accomplishments from his

 21 incarceration these past thirty years into account, but also and especially to examine

 22 and take into account the post-conviction history of his state case. It is

 23 understandable how Mr. Harris' state cases would have appeared to the sentencing

 24 judge in 1990 and why it was Judge Rea's intent to give Mr. Harris as much time as

 25 possible. His intent was to make sure his federal sentence was served immediately

 26 after his three year determinate sentence. This court now should seize the
 27 opportunity to recognize that, in retrospect, Mr. Harris' federal sentence should not

 28 have been consecutive and on that basis, as well as for other reasons contained in this


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  1 motion, this Court should use its discretion under the First Step Act to reduce Mr.

  2 Harris's sentence to time served.

  3        3.    The Federal Judge's Sentencing Order was Improperly Executed to Run
  4              Consecutive to the Wrong State Sentence
  5 STATEMENT OF FACTS

  6        1)    In 1987, Mr. Harris was charged by the State of California with
  7 conspiracy to commit murder, with an enhancement for inflicting great Bodily Injury

  8 (Case No. A954503). After posting bond, Mr. Harris remained free through the date

  9 of his conviction in April, 1988.
 10         2)   While on bond, a DEA task force investigating the Villabona/Bennett
 11 drug organization intercepted a phone conversation between Mr. Harris and Mario

 12 Villabona, discussing an 11.5 kilogram cocaine transaction.

 13        3)    Around March, 1988, Mr. Harris proceeded to trial in his state case and
 14 was convicted on April 16, 1988.

 15        4)    On September 16, 1988, Mr. Harris was sentenced to serve a three-year
 16 (36-month) determinate sentence for the Great Bodily Injury conviction, to be served

 17 consecutive to a twenty-five (25)-years-to-life sentence for the attempted murder.

 18 Under California law, 25-years-to-life is an "indeterminate" term. (Exhibit Q.)

 19        5)    Per California law Penal Code §669(a), all determinate sentences,
 20 regardless of the jurisdiction or order imposed, shall always be served first, when

 21 ordered to run consecutive to an indeterminate term. (Exhibit R.)

 22        6)    On September 27, 1988, Mr. Harris was transferred to the custody of the
 23 California Department of Corrections and Rehabilitation ("CDCR") to serve his

 24 terms of imprisonment.

 25        7) On December 2, 1988, a federal grand jury returned a four-count
 26 indictment charging Mr. Harris with various drug offences (Case No. 88-CR-972-
 27 WJR).

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  1        8)    On December 29, 1988, Mr. Harris was removed from state custody by
  2 the United States Marshals Service ("the Marshals") on a Writ of Habeas Corpus Ad

  3 Prosequendum to answer the federal charges.

  4        9)    On November 26, 1990, the District court ordered Mr. Harris to serve a
  5 federal sentence of 235 months, to run consecutive to the state sentence Mr. Harris

  6 was "presently serving." (Exhibit D.)

  7        10)   When District Court Judge William J. Rea imposed the federal sentence,
  8 he was fully aware that Mr. Harris had two undischarged state sentences, a

  9 determinate state sentence that had been ordered to run consecutive to an
 10 indeterminate state sentence. [At the time the federal sentence was imposed, Mr.

 11 Harris still was serving the determinate state sentence.]

 12        11)   Per the Sentencing Reform Act of 1984, which Mr. Harris was
 13 sentenced under, all federal sentences were considered to be determinate.

 14        12)   [At the time the federal sentence was imposed by the District Court, Mr.
 15 Harris was still serving his 36-month determinate state sentence.]

 16        13)   When the District Court ordered Mr. Harris' federal determinate
 17 sentence, to be served consecutive to Mr. Harris' state determinate sentence, the

 18 District court judicially aggregated the two consecutive determinate sentences into

 19 one continuous determinate sentence.

 20        14)   Upon completion of the federal sentencing proceeding, Mr. Harris was
 21 remanded back into the custody of the Marshals, whose primary role and mission is

 22 the non-discretionary duty to "obey, execute and enforce all orders of the District

 23 court."

 24        15)   In order for the Marshals to properly obey, execute, and enforce the
 25 District court's sentencing order, it would require the Marshals first to determine

 26 which sentence Mr. Harris was "presently serving" when his federal sentence was
 27 imposed.

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  1        16)   On November 26, 1990, the Marshals failed to enter the District court's
  2 sentencing order into the Marshals' Prisoner Tracking System, but instead only

  3 entered: "235 MONTH CAG CONSECUTIVE TO STATE." (Exhibit S.)

  4        17)   On December 4, 1990, the District court filed its Judgment and
  5 Sentencing Minutes, which ordered Mr. Harris to be "committed to the custody of

  6 the Bureau of Prisons for an imprisonment term of 235 months...shall run

  7 consecutive to the state prison sentence the defendant is presently serving." (Exhibit

  8 D.)

  9        18)   On December 5, 1990, the Marshals lodged a detainer against Mr.
 10 Harris with the CDCR. (Exhibit E.)

 11        19)   On January 15, 1991, the Marshals returned Mr. Harris back into state
 12 custody, to close the Writ of Habeas Corpus Ad Prosequendum, but the Marshals

 13 failed to determine which state sentence Mr. Harris was "presently serving" when he

 14 was returned.

 15        20)   On January 18, 1991, the Marshals lodged another detainer against Mr.
 16 Harris with the CDCR.

 17        21)   On January 27, 1991, the 36-month determinate sentence Mr. Harris
 18 was "presently serving" when his federal sentence was imposed, expired. By

 19 operation of California State Law, Cal. PC §669(a), the state automatically

 20 relinquished primary jurisdiction of Mr. Harris to the custody of the Attorney

 21 General [CAG], in order for Mr. Harris to commence serving the federal portion of

 22 his 271-month aggregated determinate sentence, prior to the service of his 25-years-

 23 to-life indeterminate state sentence.

 24        22)   On January 28, 1991, the Marshals continued to fail in its legal duty to
 25 obey, execute, and enforce the District Court's sentencing order, by not delivering

 26 Mr. Harris into the custody of the federal Bureau of Prisons to serve his federal
 27 sentence, nor did it make the necessary arrangements to allow Mr. Harris to serve his

 28 federal sentence while housed in the custody of the CDCR.


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  1        23)   On April 2, 1991, over 60 days after the expiration of the determinate
  2 state sentence Mr. Harris was "presently serving" when his federal sentence was

  3 imposed, the Marshals finally sent the CDCR a Sentence Status Request. The state

  4 provided information regarding Mr. Harris' indeterminate life sentence, which was

  5 not the sentence the District Court ordered Mr. Harris' federal sentence to run

  6 consecutive to. (Exhibit F.)

  7        24)   Between 1991-2004, Mr. Harris was taken back into the custody of the
  8 Marshals, for a combined total of four years and seven months, on the following

  9 occasions:
 10        A.    October 11, 1991 - February 25, 1992 (137 days)
 11        B.    June 12, 1993 - December 15, 1993 (186 days)
 12        C.    July 27, 1995 - September 16, 1995 (61 days)
 13        D.    October 11, 1995 - December 1, 1995 (51 days)
 14        E.    June 13, 1997 - October 17, 1997 (126 days)
 15        F.    October 17, 1997 - October 22, 1997 (5 days)
 16        G.    July 16, 2003 - August 31, 2004 (412 days)
 17        H.    August 31, 2004 - September 2, 2004 (2 days)
 18        I.    September 2, 2004 - September 3, 2004 (1 day)
 19        Each time the state transferred Mr. Harris into the custody of the Marshals, the
 20 state automatically relinquished primary jurisdiction, physical, and legal custody of

 21 Mr. Harris to the federal government. The Marshals repeatedly failed to obey,

 22 execute, and enforce the District Court's sentencing order when they continued to

 23 send Mr. Harris back into the custody of the State, instead of delivering him into the

 24 custody of the Bureau of Prisons.

 25        25)   In 2008, Mr. Harris' 235-month federal sentence expired.
 26        26)   In 2011, Mr. Harris was granted parole on his indeterminate life
 27 sentence. Prior to his release, the CDCR notified the Marshals per the detainer they

 28 had lodged against Mr. Harris. (Exhibit E.)


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  1        27)   On October 11, 2011, three years after his federal sentence had expired,
  2 the Marshals finally executed the District court's 1990 sentencing order and delivered

  3 Mr. Harris into the custody of the Bureau of Prisons. (Exhibit D.)

  4        28)   In February of 2019, Mr. Harris came across new evidence which led
  5 him to believe that the United States Marshals Service had improperly executed the

  6 District Court's 1990 sentencing order.

  7        29)   Between March, 2019 and August, 2019, Mr. Harris wrote the State
  8 Court, the U.S. District Court, the California Department of Corrections and

  9 Rehabilitation, and the U.S. Marshals Service seeking documentation relating to both
 10 his state and federal sentences.

 11        30)   On August 27, 2019, Mr. Harris filed an Administrative Remedy
 12 Request (No. 98055-F1) with the Bureau of Prisons to have the time he spent in State

 13 custody, from January 27, 1991 until 2008, credited to his current federal sentence,

 14 which was denied. (Exhibit C.)

 15        The United States Marshals Service ("the USMS") is the agency tasked with
 16 executing a judge's sentencing order. When Judge Rea imposed Mr. Harris' 235-

 17 month federal sentence to be served consecutive to the state sentence, that "defendant

 18 was presently serving" (Exhibit D), it was the duty of the USMS to determine which

 19 state sentence Mr. Harris was "presently serving" at the time the 235-month federal

 20 sentence was imposed. Instead, the USMS entered the following erroneous

 21 information into their tracking system: "235 MONTH CAG CONSECUTIVE TO

 22 STATE." (Exhibit S.) Further, the USMS made no effort to determine which state

 23 sentence Mr. Harris was "presently serving" until April 2, 1991, over 60 days after

 24 the three year determinate state sentence Mr. Harris was "presently serving" had

 25 ended.

 26        Because of the error committed by the USMS in executing Judge Rea's
 27 sentencing order, Mr. Harris' judgment and commitment papers lay unexecuted for

 28 over twenty years! The USMS are ministerial officers who do not have the


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  1 discretionary power to determine when the time is appropriate for service of a

  2 prisoner's sentence (see Green v. Christiansen, 732 F.2d 1397, 1399-1400 (9th Cir.

  3 1978), but do have a specific duty to properly execute a Court's sentencing order.

  4 The failure to properly execute Mr. Harris' federal judgment and commitment order

  5 for more than twenty years constituted gross negligence on the part of federal

  6 authorities. See Shelton v. Ciccone, 578 F.2d 1241 (8th Cir., 1978) Had it not been

  7 for the errors committed by the USMS in executing Mr. Harris' federal sentence, Mr.

  8 Harris would have completed serving his 235-month federal sentence in 2008.

  9        The concept of primary jurisdiction was established by the Supreme Court
 10 nearly a century ago, when it acknowledged the need for comity between state and

 11 federal authorities with respect to managing defendants who are subject to both state

 12 and federal criminal prosecution and sentences. See Ponzi v. Fessenden, 258 U.S.

 13 254, 259, 42 S.Ct. 309, 66 L. Ed. 607 (1922). In Ponzi, the Supreme Court stated the

 14 general rule that the first sovereign to arrest a defendant obtains primary jurisdiction

 15 over him against other sovereigns. Id at 260 ("The chief rule which preserves our

 16 two systems of courts from active conflict of jurisdiction is that the court which first

 17 takes the subject matter of the litigation into its control, whether a person or

 18 property, must be permitted to exhaust its remedy, to attain which it assumed into its

 19 control, before the other court shall attempt to take it for its purpose.") Nevertheless,

 20 the sovereign with primary jurisdiction could consent to the defendant's transfer to

 21 another sovereign for trial or other proceedings. Id at 261. Such a decision is vested

 22 "solely to the discretion of the sovereignty making it, "acting through its

 23 representatives with power to grant it." Id. 260.

 24        A federal court of habeas corpus ad prosequendum serves the presence for trial
 25 of a criminal defendant who is held in a state's custody. United States v. Mauro, 426

 26 U.S. 340, 357-58, 98 S.Ct. 1834, 56 L. Ed. 2d 329 (1978); see also 28 U.S.C.
 27 §2241(c)(5) ("The writ of habeas corpus shall not extend to a prisoner unless...[i]t is

 28 necessary to bring him into court to testify or for trial.") Primary jurisdiction by a


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  1 sovereign is not relinquished if it transfers a prisoner in custody to another sovereign

  2 pursuant to a writ of habeas corpus ad prosequendum to answer charges in the

  3 jurisdiction. Id. at 44. Under such circumstances, the prisoner is deemed to be "on

  4 loan." United States v. Evans, 159 F.3d 908, 912 (4th Cir. 1998); Thomas v. Brewer,

  5 923 F.2d 1361, 1367 (9th Cir. 1991); Crawford v. Jackson, 589 F.2d 693, 695, 191

  6 U.S. App. D.C. 170 (D.C. Cir. 1978). "[T]he term 'primary jurisdiction' in this

  7 context refers to the determination of priority of custody and service of sentence

  8 between state and federal sovereigns." "A lack of 'primary jurisdiction' does not

  9 mean that sovereign does not have a jurisdiction over a defendant. It simply means
 10 that the sovereign lacks priority of jurisdiction for purposes of trial, sentencing, and

 11 incarceration." Id.

 12        Thus, a prisoner is not entitled to have his federal sentence commence
 13 immediately upon sentencing in federal court if he has been held pursuant to a writ

 14 prior to sentencing, until the federal government has legal custody of a defendant,

 15 meaning the primary jurisdiction necessary to enforce the federal sentence. See, e.g.

 16 Elwell v. Fisher, 716 F.3d 477, 481 (8th Cir. 2013) (Pursuant to the doctrine of

 17 primary jurisdiction, service of a federal sentence generally commences when the

 18 United States takes primary jurisdiction and a prisoner is presented to serve his

 19 federal sentence, not when the United States merely takes physical custody of a

 20 prisoner who is subject to another sovereign's primary jurisdiction.") United States

 21 v. Evans, 159 F.3d 908, 911-12 (4th Cir. 1998) (same).

 22        Although "custody" can mean mere physical possession or control of a person,
 23 it may also refer to lawful authority over a person. See Black's Law Dictionary, pg.

 24 441 (9th ed. 2009) (defining "constructive custody" as "[c]ustody of a person [such

 25 as a parolee or probationer] whose freedom is controlled by legal authority but who

 26 is not under direct physical control.") Webster's Third New International Dictionary,
 27 pg. 559 (2002) ("[C]ontrol of a thing or person with such actual or construction

 28 possession as fulfills the purpose of law or duty requiring it.") Courts long have


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  1 interpreted "custody" in the context of section 3585 and its predecessors as referring

  2 to the federal government's control over a prisoner when it has both physical custody

  3 and primary jurisdiction necessary to enforce the federal sentence.

  4        Having determined that a federal sentence commences only when the federal
  5 government has physical possession and primary jurisdiction over the defendant, one

  6 must next determine when the federal government obtains such primary jurisdiction.

  7 It is well established that if a sovereign takes a defendant into its custody before

  8 another sovereign has done so, then the arresting sovereign established its primary

  9 jurisdiction and may give effect to its sentence before other sovereigns may do so.
 10 Thomas v. Brewer, 923 F.2d 1361, 1365 (9th Cir. 1991). A sovereign's priority

 11 terminates when the sentence expires, charges are dismissed, or the prisoner is

 12 allowed to go free. See Elwell, 716 F.3d at 481; Taylor, 164 F.3d at 445; cf. Strand

 13 v. Schmittroth, 251 F.2d 590, 599 (9th Cir. 1957) (en banc) ("When a defendant or a

 14 parolee or a probationer is released from actual physical custody, even for temporary

 15 purposes, he may be arrested, tried and convicted by any other such sovereign in the

 16 territory in which he may be without the consent of the first sovereign, which may

 17 have a judgment against him as yet unsatisfied or which may be seeking to try

 18 him."); see United States v. Warren, 610 F.2d 680, 684-94 (9th Cir. 1980) ("[t]he

 19 sovereign with priority of jurisdiction, here [the State of California], may elect under

 20 the doctrine of comity to relinquish it to another sovereign." Id. at 685; see also

 21 United States v. Cole, 416 F.3d 894 (8th Cir. 2005) ("Primary jurisdiction continues

 22 until the first sovereign relinquishes its priority in some way."); In Re Liberatore,

 23 574 F.2d 78 (2nd Cir. 1978) (Once "jurisdiction has attached to a person or thing, it

 24 is -- unless there is some provision to the contrary -- exclusive in effect until it has

 25 wrought its function." (emphasis added); Albori v. United States, 67 F.2d 4, 7 (9th

 26 cir. 1933) ("[A] mere telephone call from the Marshal change[d] the custody of the
 27 prisoner"). And while in many cases the election to relinquish jurisdiction is a

 28 "discretionary function," ibid., in the case of Mr. Harris it was mandatory under


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  1 operation of law. Specifically, California Penal Code §669(a) requires that

  2 "whenever a person is committed to prison on a life sentence (indeterminate term)

  3 that is ordered to run consecutive to any determinate term of imprisonment, the

  4 determinate term of imprisonment shall be served first..." Id. (emphasis added).

  5        In 1987, Mr. Harris was first arrested by the State of California and in 1988
  6 found guilty of violating state laws. As the first sovereign, with priority of

  7 jurisdiction, the State of California fixed the punishment for his offenses at a 3-year

  8 (36-month) term, to be served consecutively to a twenty-five-to-life sentence. Under

  9 California law, the 36-month sentence is a "determinate" term, and the 25-year-to-
 10 life sentence is an indeterminate term. See People v. Felix, 22 Cal 4th 657 [94 Cal.

 11 Rptr. 2d 54, 995 F.2d 186] (2000). California Penal Code §669(a) required that a

 12 determinate sentence shall be served before an indeterminate life sentence. See

 13 People v. Sewell, 20 Cal. 3d 639, 642 (1978) (quoting Cal. Penal Code 669; and

 14 analyzing its application); People v. Rodriguez, 207 Cal. App. 4th 204, 217, 143,

 15 Cal. Rptr. 3d 178 (2012) ("When the defendant is sentenced to determinate and

 16 indeterminate terms, the determinate term is served first.")

 17        In 1988, after being convicted and sentenced by the State of California, Mr.
 18 Harris was loaned to the federal government [the second sovereign], via a writ of

 19 habeas corpus ad prosequendum, to face federal drug charges. After being found

 20 guilty of violating federal law, Mr. Harris was sentenced by the District Court on

 21 November 26, 1990 to a term of imprisonment of 235 months, to be served

 22 consecutive to the determinate state sentence Mr. Harris was "presently serving."

 23 Under federal law, the 235-month sentence was another "determinate term," thus

 24 triggering California Penal Code §669(a).

 25        Under California law, a sentence of life (indeterminate), even if imposed first,
 26 is interrupted by the need to serve a subsequently imposed determinate sentence.
 27 See California Penal Code section 669(a) ("...the determinate term of imprisonment

 28 shall be served first.") See also People v. Grimble, 116 Cal. App. 3d 678, 684-85,


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  1 [172 Cal. Rptr. 362] (1981) ("Whenever a person is sentenced to prison on a life

  2 sentence and any other term of imprisonment for a felony conviction, and the

  3 sentences are to run consecutively, the sentence must provide that the determinate

  4 term of imprisonment shall be served first and that the life sentence shall be

  5 consecutive to that determinate term, and not vice versa.")

  6 The Effect of California Penal Code §669(a).

  7        In determining the meaning of a statute, [the Court looks] first to its text." In
  8 Re Kelly, 841 F.2d 908, 912 (9th Cir. 1986). The central task is to ascertain and give

  9 effect to the intent of the General Assembly. The language at issue must be read in
 10 the context of the statute as a whole and the context of the entire statutory scheme.

 11 Id. California Penal Code §669(a) provides as follows:

 12        "When any person is convicted of two or more crimes, whether in the same
 13 proceeding or court or in different proceedings or courts, and whether by judgment

 14 rendered by the same judge or by different judges, the second or other subsequent

 15 judgment upon which the sentence is ordered to be executed shall direct whether the

 16 terms of imprisonment or any of them to which he or she is sentenced shall run

 17 concurrently or consecutively... Whenever a person is committed to prison on a life

 18 term sentence (indeterminate sentence) which is ordered to run consecutively to any

 19 determinate term of imprisonment, shall be served first and no part thereof shall be

 20 credited toward the person's eligibility for parole."

 21        The plural use of the words "different proceedings or courts" indicates an
 22 intent to include any different proceedings or court, state or federal. cf. Collector v.

 23 Hubbard, 79 U.S. 1, 10, 20 L. Ed.2d 272 (1870) ("any Court" means state or federal

 24 court.) The use of the term "any determinate sentence" indicates an intention to

 25 include state as well as federal sentences. See United States v. Gonzales, 520 U.S. 1,

 26 5, 117 S.Ct. 1032, 137 L. Ed.2d 132 (1997) ("any other term of imprisonment"
 27 means state or federal.). The use of the word "shall," indicates an intent to impose a

 28 discretionless obligation that "the determinate term of imprisonment [] be served


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  1 first." Id. §669(a); please also cf. Federal Express Corp. v. Holowecki, 552, U.S.

  2 389, 400, 128 S.Ct. 1147, 170 L. Ed.2d 10 (2008) ("Congress' use of the term 'shall'

  3 indicates an intent to impose discretionless obligations.") The grammatical structure

  4 of this statute makes clear that California [as First Sovereign] automatically (under

  5 comity and operation of law) relinquished primary jurisdiction and legal custody of

  6 Mr. Harris to federal authorities [the Second Sovereign] upon the expiration of his

  7 determinate state sentence, to allow Mr. Harris to first serve uninterrupted his

  8 determinate federal sentence, prior to serving his indeterminate life sentence. Thus,

  9 when Mr. Harris' 36-month determinate state sentence expired on January 27, 1991,
 10 his 235-month federal determinate sentence officially commenced. And the

 11 Marshals, whose duty is to obey, enforce, and execute the District court's order, were

 12 required by law to deliver Mr. Harris into the custody of the Attorney General of the

 13 United States (CAG) to allow Mr. Harris to serve his federal sentence uninterrupted,

 14 and then upon completion, return him to the State of California to serve the

 15 remaining term of his life sentence.

 16        Under the "dual sovereignty" doctrine, a criminal defendant owes a debt to
 17 two (or more) separate sovereigns, each of which may expect payment independently

 18 of the other. See, e.g., Heath v. Alabama, 474 U.S. 82, 88-93, 106 S.Ct. 433, 88

 19 L.Ed.2d 387 (1985); Jackson v. Brennan, 924 F.2d 725, 729 (7th Cir. 1991). This

 20 doctrine has been invoked as authority to allow the state and federal governments to

 21 separately prosecute and punish an individual. The dual sovereignty doctrine often

 22 has been cited as justification for the BOP's refusal to give inmates credit against

 23 their federal sentences for time served in a state prison. In some situations, that

 24 analysis is correct. See United States v. Labeill-Soto, 163 F.3d 93, 99 (2nd Cir.

 25 1998) ([A] defendant has no right to credit on his federal sentence for time that has

 26 been credited against his prior state sentence.") However, in a rare and unique
 27 situation, such as Mr. Harris', the dual sovereignty doctrine leads to opposite results.

 28 See Kiendra, 763 F.2d at 72-72 (Sentence began to run from date federal authorities


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  1 wrongly refused to accept inmate into federal custody despite tender by state

  2 officials.) "The dual sovereign doctrine is not a one-sided rule that only operates

  3 adversely to a criminal defendant, but is neutral. Just as the dual sovereignty

  4 doctrine acknowledges and protects the rights of each sovereign to exact as much

  5 punishment for a crime as that sovereign desires, the doctrine also acknowledges and

  6 protects the rights of each sovereign." See Cozine, 15 F.Supp.2d at 1010.

  7        The concepts of federalism and comity "represent...a system in which there is
  8 sensitivity to the legitimate interests of both State and National Governments, and in

  9 which the National Government, anxious though it may be to vindicate and protect
 10 federal rights and federal interests, always endeavors to do so in ways that will not

 11 unduly interfere with the legitimate activities of the states." Comity signifies "a

 12 proper respect for state functions." Younger v. Harris, 401 U.S. 37, 44, 27 L.Ed.2d

 13 669, 91 S.Ct. 746 (1971).

 14        Under the dual sovereignty doctrine, the District court was legally entitled to
 15 order a federal determinate sentence to be served consecutive to the state determinate

 16 sentence Mr. Harris was "presently serving." The Marshals, however, as mere

 17 ministerial agents, had no legal right to force Mr. Harris, in violation of the District

 18 Court's order and California law, to first serve his indeterminate state sentence, prior

 19 to his service of the federal sentence. "Comity demands that federal officials

 20 acknowledge, and give effect to," California Penal Code §669(a). See Cozine, 15

 21 F.Supp.2d at 1011. Once Mr. Harris' determinate state sentence expired on January

 22 27, 1991, California, by operation of its own law, automatically relinquished primary

 23 jurisdiction of Mr. Harris to the United States to commence service of his

 24 consecutive federal sentence, to be served first, prior to commencing the service of

 25 his consecutive indeterminate state sentence.

 26        Federal authorities were lawfully obliged to either transfer Mr. Harris to a
 27 federal facility to commence service of his federal sentence, or designate the state

 28 prison as the place of service for his federal sentence. Id. 1011-12. Because they


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  1 failed to do either, and lacked a lawful basis for their failure, the effect of the

  2 Marshals' improper execution of the District Court's order violated the doctrines of

  3 comity, denying respect to the laws of a "dual sovereign" [California], and illegally

  4 interrupted the lawful service of Mr. Harris' federal sentence by twenty years.

  5        While it is true that "one sovereign [California] cannot order how another
  6 sovereign [the United States] is to compute its sentence or order it served," there is a

  7 flip-side to this coin. Federal authorities cannot ignore, set aside, or fail to give

  8 effect to how the State of California relinquishes primary jurisdiction of one of its

  9 prisoners committed to its custody on a life sentence, nor are they at liberty to
 10 demand that California execute the life sentence, before commencement of the

 11 federal sentence, if that result violates California's statutory "indeterminate"

 12 sentencing scheme and Mr. Harris' state-created rights. See 28 U.S.C. §1738

 13 (discussing "full faith and credit" doctrine). "The forbearance which courts of

 14 coordinate jurisdiction, administered under a single system, exercise towards each

 15 other, whereby conflicts are avoided, by avoiding interference with the process of

 16 each other, is a principle of comity, with perhaps no higher sanction than the utility

 17 which comes from concord; but between state courts and those of the United States,

 18 it is something more it is a principle of right and of law, and therefore, of necessity.

 19 It leaves nothing to discretion or mere convenience." Ponzi v. Fessender, 258 U.S.

 20 254-260-61, 42 S.Ct. 309, 55 L. Ed.2d 607 (1922). This position is further bolstered

 21 by the District Court's order that Mr. Harris' determinate federal sentence be served

 22 consecutive to the determinate state sentence defendant was "presently serving."

 23 Thus, the District Court's intent that Mr. Harris was to serve consecutive state and

 24 federal sentences was in complete concordance with the legislative policy for the

 25 State of California. See California Penal Code §669(a) ("...the determinate terms

 26 shall be served first and no part thereof shall be credited toward the person's
 27 eligibility for parole").

 28


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  1        Since primary jurisdiction was automatically relinquished to the federal
  2 government upon the expiration of Mr. Harris' determinate state sentence on January

  3 27, 1991, that date is when Mr. Harris' federal sentence officially commenced. See

  4 Schleining v. Thomas, 642 F.3d 1242, 1243 (9th Cir. 2011). Between January 1991

  5 and 2011, Mr. Harris was transferred out of the custody of the state and taken into

  6 the physical and legal custody of the Marshals, serving an approximate total of two

  7 years and eight months of unaccredited time in federal custody. Each transfer

  8 provided the Marshals another opportunity to obey, enforce, and execute the District

  9 Court's order, but every time the Marshals instead chose to improperly transfer Mr.
 10 Harris back into state custody and lodge another detainer with the state. The

 11 Marshals clearly erred, on multiple occasions, by failing to transfer Mr. Harris into

 12 the custody of the Attorney General of the United States (CAG), to commence

 13 service of his federal sentence, until after Mr. Harris paroled from his life sentence in

 14 2011. The Marshals, either due to extreme neglect or deliberate indifference, failed

 15 for more than twenty years to execute the District Court's 1990 Judgment And

 16 Commitment Order. The Marshals are mere ministerial officers who do not have the

 17 discretionary power to determine when time is appropriate for service of a prisoner's

 18 service. Green v. Christiansen, 732 F.2d 1397, 1399-1400 (9th Cir. 1978) The

 19 repeated failure to properly execute Mr. Harris' federal sentence for over twenty

 20 years constituted gross negligence on the part of the federal authorities. See Shelton

 21 v. Ciccone, 578 F.2d 1241 8th Cir. 1978). It was never the duty, nor responsibility,

 22 of Mr. Harris to execute his federal sentence; that duty and responsibility lay with the

 23 United States Marshals Service, who by law, are tasked with the non-discretionary

 24 duty to obey, enforce, and execute a District Court's order. Accordingly, the blame

 25 for this error rests squarely at the door of the federal officials and cannot be charged

 26 up against Mr. Harris.
 27        A prisoner has some rights. A sentence of 235 months means a continuous
 28 sentence, unless interrupted by escape, violation of parole, or some fault of the


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  1 prisoner, and he cannot be required to serve it in installments. In cases involving

  2 interruption due to no fault of the prisoner, most courts have held that the sentence is

  3 deemed to have continued to run because the prisoner has a right to serve a

  4 continuous, uninterrupted sentence. See White v. Pearlman, 42 F.2d 788, 789 (10th

  5 Cir. 1930); accord Green v. Christiansen, 732 F.2d 1317, 1400 (9th Cir. 1984);

  6 United States v. Mazzoni, 677 F.Supp. 339, 341-42 (E.D. Pa. 1987). In fact in White

  7 it was ruled:

  8        "It is settled that a person, duly convicted of a criminal offense and upon
  9 whom a sentence of imprisonment is imposed, has a right to serve that sentence
 10 promptly and continuously, and he cannot be required to serve his sentence in

 11 installments... It is our conclusion that where a prisoner is discharged from a penal

 12 institution, without any contributing fault on his part, and without violations of

 13 conditions of parole, that his sentence continues to run while he is at liberty. Lanier

 14 v. Williams, 361 F.Supp. 944, 947-48 (E.D.N.C. 1973) (Butler, Ch. J.). But see

 15 Dunne v. Keohane, 14 F.3d 335, 336-37 (7th Cir.) (recognizing the continued vitality

 16 of the common law rule favoring continuous sentences, but distinguishing Mr.

 17 Dunne's situation because a lack of relief there would not postpone "the date at

 18 which the prisoner's last sentence would expire (cert. denied, 511 U.S. 1149, 128 L.

 19 Ed.2d 900,114 S.Ct. 2182 (1994).

 20        The failure to transfer Mr. Harris to the Bureau of Prisons, by the Marshals,
 21 does not involve the prisoner's fault and an interruption of Mr. Harris' federal

 22 sentence is not mandated by statute. The failure by the Marshals to transfer Mr.

 23 Harris is analogous to the inadvertent prisoner release cases:

 24        "Under the doctrine of credit for time at liberty, a convicted person is entitled
 25 to credit against his sentence for the time he was erroneously at liberty provided

 26 there is a showing of simple or mere negligence on behalf of the government and
 27 provided the delay in execution of sentence was through no fault of his own."

 28 United States v. Martinez, 837 F.2d 861, 865 (9th Cir. 1988)."


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  1        The rule against piecemeal incarceration precludes the government from
  2 artificially extending the expiration date of a prison sentence. Surely if a prisoner

  3 can be credited with time spent at liberty due to custodial mistakes, a prisoner can be

  4 credited for time spent in custody due to custodial mistake.

  5        There is a strong similarity between the problems in Mr. Harris' situation and
  6 the problems discussed by the Circuit Court of Appeals for the Ninth Circuit in the

  7 case of Albori v. United States, 67 F.2d 4 and Smith v. Swope, 91 F.2d 260. The

  8 same problem was discussed by the Georgia District Court in McPike v. Zerbst, 21

  9 F.Supp 961. In those cases, the Marshal failed to execute the judgment of the
 10 sentences until such times as the defendants had completed service of sentences

 11 imposed by the state courts. In condemning the practice, Judge Denman, in Smith v.

 12 Swope, supra [91 F.2d 262], used this language:

 13              The least to which a prisoner is entitled is the execution of
 14              the sentence of the court to whose judgment he is duly
 15              subject. If a ministerial officer, such as a Marshal, charged
 16              with the duty to execute the court's orders, fails to carry out
 17              such orders, that failure cannot be charged up against the
 18              prisoner. The prisoner is entitled to serve his time
 19              promptly if such is the judgment imposed, and he must be
 20              deemed to be serving it from the date he is ordered to serve
 21              it and is in the custody of the Marshal under the
 22              commitment, if, without his fault, the Marshal neglects to
 23              place him in the proper custody. Any other holding would
 24              give the Marshal, a ministerial officer, power more
 25              arbitrary and capricious than any known to law. A
 26              prisoner sentenced for one year might thus be required to
 27              wait forty under the shadow of his unserved sentence
 28              before it pleases the Marshal to incarcerate him. Such


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  1               authority is not even granted to courts of justice, let alone
  2               their ministerial officers. Id. F.2d at 262.
  3         Accord In Re Jennings, 118 F. 479, 482 (C.C.E.D. Mo. 1902) ("No ministerial
  4 officer, by disobeying the mandate of the court, and unlawfully surrendering [the

  5 defendant] into another custody than that where he rightfully belonged, could

  6 suspend the running of [a] sentence...")

  7         The Smith court credited the defendant's federal sentence with the entire time
  8 served in state prison because the U.S. Marshal did not execute the federal

  9 commitment order. In Mr. Harris' case, the District Court sentencing order stated
 10 that:

 11               IT IS HEREBY ADJUDGED: The defendant is committed
 12               to the custody of the Bureau of Prisons for an
 13               imprisonment terms of 235 months... This term shall run
 14               consecutively to the state prison sentence the defendant is
 15               presently serving.
 16         The District Court's order explicitly sets forth the time at which the Marshals
 17 shall commit Mr. Harris into the Custody of the Attorney General of the United

 18 States (CAG), thus the court's intent is clear beyond dispute. The delivery of Mr.

 19 Harris into the custody of his federal sentence was to be made at the expiration of the

 20 36-month determinate state sentence Mr. Harris was "presently serving" when his

 21 federal sentence was imposed. The federal court was fully aware Mr. Harris had two

 22 separate undischarged state sentences to serve and the court contemplated that its

 23 sentence would commence immediately upon the expiration of the first state

 24 sentence. In effect, the Marshals' failure to take Mr. Harris into custody not only

 25 violated state law, but also failed to obey, enforce, and execute the order of the

 26 federal District Court. A federal Marshal lacks such power.
 27         The question is whether Mr. Harris should receive the credit in question even
 28 though he was not placed in federal prison. As was stated by the court in McIntosh


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  1 v. Looney, 249 F.2d 62, 64 (10th Cir. 1957), cert. denied, 355 U.S. 935, 2 L. Ed.2d

  2 417, 78 S.Ct. 418 (1958):

  3               We are in accord with appellants' academic premise that a
  4               prisoner cannot be charged with a detriment attributable to
  5               the misfeasance or nonfeasance of the United States
  6               Marshal in executing or failing to execute an order of the
  7               federal court" [citation omitted].
  8        There, the court found no failure to execute the court's order. Here, there is no
  9 question that the federal District Court ordered the sentence to begin at the expiration
 10 of Mr. Harris' 36-month determinate state sentence on January 27, 1991, and the

 11 Marshals failed to obey, enforce, and execute that order.

 12        The Court should not allow the Marshals Service and the Bureau of Prisons to
 13 simply say "Oops, our bad," and wipe clean a slate on which more than 29 years

 14 have been written. This conclusion is supported by other circuits who have held that

 15 the errors of ministerial officers were not allowed to be charged against the prisoner.

 16 See Kiendra v. Hadden, 763 F.2d 69, 73 (2nd Cir. 1985); United States v. Croft, 450

 17 F.2d 1094, 1098 (6th Cir. 1971); Smith v. Swope, 91 F.2d 260, 262 (9th Cir. 1937)

 18 ("The prisoner is entitled to serve his time promptly if...the Marshal neglects to place

 19 him in the proper custody.")

 20        In conclusion, by the U.S. Marshals not taking Mr. Harris into federal custody,
 21 they thereby extended the duration of his incarceration by twenty years. Mr. Harris

 22 was entitled to credit against his federal sentence for that period of time during

 23 which he had been in federal custody, but for the Bureau of Prisons wrongfully

 24 refusing to accept California's automatic tender of Mr. Harris, per California Penal

 25 Code §669(a). California cannot directly compel another jurisdiction which is not

 26 bound by California law to accept the transfer of a prisoner.
 27

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  1 J.      The Drug Quantity Determination that Drove Mr. Harris' Lengthy Federal
  2         Sentence is Subject to Re-Assessment Due to Appeals Court Determinations
  3         Subsequent to the Original PSR and Other Factors
  4         Mr. Harris' lengthy sentence is a direct result of drug quantities attributed to
  5 him. Not through actual evidence being presented, but rather through attribution to

  6 him of the full 2,776 kilograms, as a result of his being characterized initially as a

  7 "supervisee" of the Villabona-Bennett organization. However, in 1995, the Ninth

  8 Circuit vacated Villabona's and Bennett's 21 U.S.C. §848 Continuing Criminal

  9 Enterprise ("CCE") convictions. It did so on grounds that there was insufficient
 10 evidence to support §848's requirements that Villabona and Bennett each supervised

 11 five criminally culpable individuals. Notably, the government conceded in their
                                                                           8
 12 appeal brief that Mr. Harris, as a matter of law, was not a supervisee.

 13         According to both the government and the Ninth Circuit, Mr. Harris'
 14 relationship with the Villabona-Bennett group was properly characterized as a buyer-

 15 seller relationship:

 16         "This Court recently held that a seller of cocaine, who does not exercise any
 17 control over a customer, does not organize, supervise, or manage that customer.

 18 United States v. Delgado, 4 F.3d 780, 785086 (9th cir. 1993) (two-member majority

 19 opinion) (Hall, J. concurring.) The government acknowledges that the Delgado

 20 opinion indicates Harris was not a "supervisee" for CCE purposes. (See Appellee's

 21 Brief, Page 48, Footnote 36.)

 22         This issue turned out to be pivotal, and was the reason that the §848
 23 convictions of Villabona and Bennett were overturned, their life sentences vacated,

 24 and both men are now out of prison.

 25         It was a per se rule of federal law at the time of defendant Harris's trial "that a
 26 mere buyer-seller relationship, without more, would be insufficient to establish that
 27

 28         See Nos. 90-50686 and 90-50692, Appellee's Brief in U.S. v. Brian Bennett
            8

      and Michael Harris, Page 48, Footnote 36.
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  1 [Villabona or Bennett] held some managerial role with respect to [Harris]." United

  2 States v. Apocada, 843 F.2d 421, 426 (10th Cir. 1988). The inclusion of Mr. Harris'

  3 name among each list of supervisees for the purpose of Count 27 and Count 28 was

  4 not lawful, Apocada, 843 F.2d at 426; Barona, 56 F.3d at 1098, and the presentation

  5 of such a misleading argument to the jury was extremely harmful. The jury was not

  6 instructed that defendant, "as a matter of law, [was] incapable of being counted as a

  7 supervisee," but "the jury needed to be instructed of this." Barona, 56 F.3d at 1097.

  8 A trier of fact could have relied on the same facts and principles to find "the buyer-

  9 seller rule" applicable with respect to Count One (the conspiracy charge).
 10        Absent a finding of guilt with respect to Count One, the sentencing proceeding
 11 would have been substantially different. The government relied exclusively on the

 12 amount charged in the conspiracy to determine Mr. Harris' base offense level.

 13 Without a finding of guilt as to Count One, the government would have been

 14 required to prove the amount of drugs attributable to Mr. Harris based on actual,

 15 reliable proof. Absent the conspiracy, the only evidence presented in the PSR as to

 16 the actual amount attributable to Mr. Harris is 11.5 kilograms of cocaine. (See 1990

 17 PSR ¶70.) Under these facts, there are compelling reasons to recalibrate the offense

 18 level to the amount actually proven against this defendant (i.e. the 11.5 kilograms

 19 discussed by telephone on December 10, 1987).

 20        In Mr. Harris' case, the PSR called for a base "offense level of 36." The
 21 justification for level 36 was that "Count 1 [of the indictment] alleges some 2,776

 22 kilograms of cocaine." Id. The government neither proved any evidence nor set forth

 23 any "sufficient indicia of reliability to support [the PSR's] probable accuracy."

 24 United States v. Garcia-Sanchez, 187 F.2d 1143, 1149 (9th Cir. 1999). In fact, the

 25 record sheds no light on how or to whom Mr. Harris distributed the drugs he

 26 presumably purchased, or intended to purchase, from Villabona and/or Bennett.
 27 There was no indication as to the frequency of the sales, the quantity of drugs

 28 involved (outside of "the 11.5 kilogram deal" mentioned at Page 12, ¶70 of the 1990


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  1 PSR), the level of trust between lead defendant Villabona and Mr. Harris, including

  2 the length of time during which sales were ongoing, whether the transactions were

  3 standardized, whether the parties advised each other on the conduct of the other's

  4 business, whether Mr. Harris assisted Villabona by looking for other customers,

  5 whether Mr. Harris had a "stake" in the drugs sold by Villabona to other distributors,

  6 whether Mr. Harris had any knowledge of the extent or inner details of the

  7 Villabona-Bennett enterprise, or whether the parties agreed to warn each other of

  8 potential threats from competitors or law enforcement. See United States v. Moe,

  9 781 F.3d 1120, 1125-96 (9th Cir. 2015). In sum, there was only one concrete fact
 10 the record resolutely reflected: that Mr. Harris "discussed" purchasing a large

 11 quantity of cocaine from Villabona ("11.5 kilograms") on one occasion. Even

 12 though a large quantity of narcotics "permits an inference of conspiracy," it does not

 13 "by itself" provide sufficient indicia of reliability to attribute to Mr. Harris the entire

 14 amount of cocaine that the supply organization, for whom he was one among many

 15 customers, was found to have distributed. United States v. Howard, 996 F.2d 1362,
                          9
 16 1354 (10th Cir. 1992).

 17 K.     The Government's Improper Plea Bargain Negotiations Tactics Violated DOJ
 18        Policy and Precipitated Mr. Harris Going to Trial for which He is Serving a
 19        235-Month Sentence
 20        Beginning in 1983 and continuing until 1988, Mario Villabona and Brian
 21 Bennett were the leaders of a global conspiracy that imported thousands of pounds of

 22 cocaine into the United States. Beginning in 1987, a DEA drug and money

 23 laundering task force began an investigation into the Villabona-Bennett organization.

 24

 25        9
            See also United States v. Ameline, 376 F.3d 967 (9th Cir. 2004). Unless a
    defendant   admits facts as part of his guilty plea or at sentencing, or waives his right
 26 to a jury, juries, not judges, will make the material factual finding for sentencing
    purposes,   and they  will do so by employing a higher standard of proof. Also,
 27 Alleyne v. United States,    570 U.S. 99, 108 (2013): "Any fact, by law, that increases
    the penalty  for a crime  is an 'element' that must be submitted to the jury and found
 28 beyond a reasonable doubt. It follows, then, that any fact that increases the
    mandatory minimum is an 'element' that must be submitted to the jury."
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  1 During the course of this investigation, the DEA identified several active members of

  2 the Villabona-Bennett drug conspiracy who were involved in day-to-day operations.

  3        Mr. Harris' direct involvement in the Villabona-Bennett drug activity is
  4 summarized in the 1990 PSR, which indicates that Mr. Harris participated in a

  5 December 1987 phone call to set up a transaction involving 11.5 kilograms of

  6 cocaine. (PSR ¶70.)

  7        When Mr. Harris was indicted with his thirteen other co-defendants, he
  8 instructed his attorney to immediately enter into plea negotiations with the

  9 government as Mr. Harris was ready to accept responsibility for his participation in
 10 the drug conspiracy.

 11        The government, however, used a prohibited and unjust plea negotiation tactic
 12 with Mr. Harris' attorney. Doing so forced Mr. Harris into a trial which precipitated

 13 the 235-month consecutive sentence he is serving today. Use of that tactic, though,

 14 would never be condoned or permitted today.

 15        In particular, the government refused to allow Mr. Harris an opportunity to
 16 accept responsibility and plead guilty, unless Mr. Harris agreed to cooperate with the

 17 government, provide testimony against his co-defendants, and agree to the

 18 indictment as it was written. Most of Mr. Harris' co-defendants were allowed to

 19 plead guilty without being required to cooperate with the government. Co-

 20 defendants Jimmy Washington, David Paz, Jairo Sanchez, Miguel Rodriguez, Joseph

 21 Gough, and Michael Robinson were allowed to plead guilty prior to trial and were

 22 given sentences ranging from 108 to 120 months.

 23        Every single person involved in the conspiracy has been released from prison
 24 for nearly a decade, including the two leaders of the organization, Bennett and

 25 Villabona. If Mr. Harris would have been allowed to plead guilty prior to trial, as he

 26 attempted to do, he may also have been sentenced to between 108 and 120 months
 27 and he could have received a concurrent sentence to his undischarged state

 28 commitment as opposed to it being run consecutive, and he would be a free man


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  1 today. This is another "extraordinary and compelling reason," which, in combination

  2 with the other factors detailed herein, warrants this Court reducing Mr. Harris' 235-

  3 month consecutive sentence to time served.

  4 L.     Mr. Harris' Jury was Provided with Improper Jury Instructions
  5        From 1983 until 1988, the Villabona-Bennett criminal organization was
  6 responsible for the importation of thousands of kilograms of cocaine into the United

  7 States and the money laundering of millions of dollars. In 1987, a single phone

  8 conversation between Villabona and Mr. Harris, regarding the purchase of 11.5

  9 kilograms of cocaine, was recorded by DEA agents via a wiretap. Though there
 10 were discussions of cocaine deliveries to a persons named Mike, there were three

 11 active members or associates of the organization with the name of Mike.

 12        Mr. Harris has always maintained that he never was a member of the
 13 Villabona-Bennett conspiracy, but merely was a customer who bought drugs from

 14 Villabona to supply his own distribution network. The factual information provided

 15 by the Probation Office in the original PSR clearly states Mr. Harris was "separate"

 16 and "apart" from the Villabona-Bennett Enterprise (PSR ¶109), further supporting

 17 that his role in relation to the conspiracy was that of "buyer" from members of the

 18 conspiracy, who collectively were "sellers."

 19        But when Mr. Harris was indicted and forced to go to trial, because he refused
 20 to provide substantial cooperation to the government, the jury was provided with an

 21 improper jury instruction insinuating that Mr. Harris, as a "supervisee" of Villabona

 22 and Bennett, was part of the larger conspiracy involving his co-defendants. This

 23 allowed the jury to convict Mr. Harris under the Pinkerton Theory of Liability for the

 24 substantive crimes committed by his co-defendants.

 25        All of the defendants were found guilty in 1990. Villabona and Bennett were
 26 each sentenced to life without parole, based on their convictions for being the
 27 principal organizer/administrators of the Continuing Criminal Enterprise ("CCE")

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  1 (Counts 27-28) in charge of five or more participants. Mr. Harris was improperly

  2 listed as one of those participants, within the definitions of 21 U.S.C. §848(b).

  3        In 1994, Villabona and Bennett appealed their CCE convictions. (See United
  4 States v. Barona, 56 F.3d 1087, 1096-98 (9th Cir., 1995)) One of their contentions

  5 was that Mr. Harris was not a "supervisee" for the purposes of a CCE conviction. In

  6 fact, in the Appellant's Brief, filed on June 16, 1994, the government conceded that

  7 Mr. Harris was not a "supervisee," but rather that his relationship was that of a buyer.

  8 (See Appellant's Brief, Page 48, Footnote 36.)

  9        This issue turned out to be pivotal, and was the reason the §848 convictions of
 10 Villabona and Bennett were overturned, their life sentences vacated, and both men

 11 now are out of prison. The Ninth Circuit held in Barona:

 12              Among the list of supervisees, which the government
 13              conceded, was at least one person who could not legally
 14              qualify as a supervisee under United States v. Delgado, 4
 15              F.3d 780, 785 (9th Cir., 1993) (Delgado). Delgado
 16              establishes that "selling [drugs] to people does not make
 17              one an organizer of customers, even wholesale customers,
 18              any more than buying from them makes one an organizer
 19              of suppliers. Id. at 786.
 20        It was a per se rule of federal law at the time of Mr. Harris' trial "that a mere
 21 buyer-seller relationship, without more, would be insufficient to establish that

 22 [Villabona or Bennett] held some managerial role with respect to [Harris]," United

 23 States v. Apocada, 843 F.2d 421, 426 (10th Cir. 1988). The inclusion of Mr. Harris'

 24 name among a list of supervisees was not lawful (Apocada, 843 F.2d at 426; Barona,

 25 56 F.3d at 1098), and the presentation of such a misleading argument to the jury was

 26 extremely prejudicial. The jury was not instructed that Mr. Harris, "as a matter of
 27 law [was] incapable of counting as [a] supervisee," but "the jury needed to be

 28 instructed of this." Barona, 56 F.3d at 1097.


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  1        There can be no doubt that absent a proper jury instruction, Mr. Harris' trial
  2 was compromised, as a trier of fact reasonably could have relied on those same facts

  3 and principles to find "the buyer-seller role" applicable with respect to Count One

  4 (the conspiracy charge). Absent a finding of guilt to Count One, the sentencing

  5 proceeding would have been substantially different. This is another "extraordinary

  6 and compelling reason" for this Court to reduce Mr. Harris' sentence today.

  7 M.     The Sentencing Court Erred by Not Addressing Mr. Harris' Objection to the
  8        Factual Inaccuracies Concerning the Offense Level Role Adjustment at
  9        Sentencing
 10        Mr. Harris always has maintained that he was an arms-length customer of the
 11 Villabona-Bennett enterprise and not a part of their larger distribution conspiracy.

 12 According to the information provided by the U.S. Attorney's Office and DEA

 13 agents, the following information was introduced into the PSR as facts:

 14        1)    The five defendants arrested in Detroit did not qualify as minor or
 15 minimal participants. (PSR ¶108.)

 16        2)    The most culpable were its leaders Villabona and Bennett, followed by
 17 Barona and Martinez. (PSR ¶109.)

 18        3) Mr. Harris operated his own distribution ring, which was "separate" and
 19 "apart" from the Villabona-Bennett enterprise. (PSR ¶109.)

 20        Based upon the factual information that Mr. Harris either was a customer of
 21 the conspiracy or a minor participant in a larger conspiracy, there should have been a

 22 2-level role adjustment as described in U.S.S.G. §3B1.2, dropping his offense level

 23 from 36 to 34. The Probation Office, however, concluded Mr. Harris did not have a

 24 minor role as described in §3B1.2, thus no adjustment was applicable. (PSR ¶116.)

 25 In both Mr. Harris' sentencing memorandum (GER 56-59) and at his sentencing

 26 hearing (GER 128-131), Mr. Harris made his objections known to the Government,
 27 to the Probation Office, and to the Court.

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  1        The burden of making objections to the PSR is on the defendant. But once a
  2 defendant challenges the accuracy of any matter contained in the PSR, the District

  3 Court must, at the time of sentencing, make findings or determinations required by

  4 Fed. R. Crim. Rule 32(c)(3)(D), including allowing the government a chance to

  5 respond, and explain why the court is accepting or rejecting those arguments, or that

  6 the disputed matter will not affect the sentence. Rule 32(c)(3)(D) states:

  7              If a criminal defendant alleges a factual inaccuracy in the
  8              presentence report, the sentencing court is required either
  9              to make a finding as to the accuracy of the challenged
 10              factual proposition or to indicate that the court is not
 11              taking it into consideration." Fed. R. Crim. P.
 12              32(c)(3)(D); United States v. Edwards, 800 F.2d 878, 808-
 13              81 (9th Cir. 1986). [There must be strict compliance with
 14              the rule, otherwise a remand is necessary and required].
 15        A review of the sentencing transcript makes plain the sentencing court never
 16 addressed Mr. Harris' objections, even to dismiss them in shorthand. The sentencing

 17 judge's total omission goes plainly against the "strict compliance" of Rule 32. This is

 18 another "extraordinary and compelling reason" for this Court to consider reducing

 19 Mr. Harris' sentence.

 20 N.     Continuation of Mr. Harris' Sentence Would Precipitate a Circumstance of
 21        Unwarranted Sentencing Disparity
 22        This court may also consider as "extraordinary and compelling" the need to
 23 avoid unwarranted sentence disparities among defendants with similar records who

 24 have been found guilty of similar conduct." 18 U.S.C. §3553(a)(6). In 1988,

 25 thirteen defendants were indicted in a drug conspiracy. Of those thirteen defendants,

 26 seven were allowed to plead guilty and have been out of prison for over two decades.
 27 In 1990, the six other defendants proceeded to trial and all were found guilty. Mario

 28 Villabona and Brian Bennett, who each received a 4-level upward adjustment for


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  1 being the ringleaders of the conspiracy, were originally sentenced to life without

  2 parole on counts 27-28 (being the principal organizer/administrators of an §848(b)

  3 CCE involving five or more participants), to be followed by 365 months on counts 1-

  4 5, 7-8, 12-16, 17, 19-26. In 1995, their §848 CCE convictions were overturned by

  5 the Ninth Circuit and they were subsequently resentenced to a term of 290 months.

  6 Both were released from prison nearly a decade ago.

  7        Three of the remaining defendants who were found guilty at trial (Maria
  8 Barona, Luz Janeth Martinez, and Michael McCarver) were all released from prison

  9 nearly a decade and a half ago. Thirty-two years after thirteen co-defendants were
 10 sentenced to prison, twelve are now free and only Mr. Harris remains behind bars. It

 11 is grossly disproportionate that Mr. Harris, who was sentenced to a nineteen year

 12 term in 1990, and who was the only defendant the Probation Office found "separate"

 13 and "apart" from the criminal organization, thirty-two years later is the only

 14 defendant who still remains in prison.

 15        This is yet another "extraordinary and compelling reason" for the court to
 16 consider, which, combined with the other factors detailed herein, justifies a reduction

 17 of Mr. Harris' sentence.

 18 O.     The COVID-19 Coronavirus Could Prove Deadly for Mr. Harris Duet to His
 19        Guillain-Barré Syndrome
 20        1.    Why Mr. Harris' Documented Health Condition of Guillain-Barré
 21              Syndrome Magnifies His Risk of Contracting and Dying From the
 22              COVID-19 Coronavirus
 23        A final but urgent "extraordinary and compelling reason" for this Court to
 24 consider is the current COVID-19 coronavirus pandemic which has affected the

 25 entire world and has prompted the President to declare a National State of

 26 Emergency and poses a grave risk in Mr. Harris' housing unit at Lompoc FCI Prison
 27 due to its crowded environment and impossibility to do social distancing.

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  1        It has been well-documented that the COVID-19 coronavirus is fatal in
  2 extraordinarily high numbers for vulnerable, health-compromised older persons who

  3 contract the disease. On March 29, 2020, an inmate at FCI Oakdale became the first

  4 BOP-reported COVID-19 death. As of April 24, 2020, the BOP announced that 76

  5 inmates and 23 correctional officer had contracted the disease at the Lompoc federal

  6 prison complex where Mr. Harris is housed. For at least a month, the BOP has been

  7 operating under emergency conditions and has ordered a complete nationwide

  8 lockdown of all federal prisons.

  9        A review of Mr. Harris' medical records shows he was diagnosed with
 10 Guillain-Barré Syndrome ("GBS") in February, 1996 while serving time at Lancaster

 11 State Prison. He was diagnosed after falling down a flight of stairs. After his fall,

 12 Mr. Harris was immediately rushed to Medical where he was first diagnosed with

 13 GBS. With the onset of Guillain-Barré, he was taken to San Joaquin Hospital in

 14 Bakersfield, California, where he was hospitalized, suffering an extreme bout of

 15 paralysis which engulfed his entire body. He was kept in intensive care for six

 16 weeks. The paralysis, which began at his feet and progressively moved up his body,

 17 stopped just short of his lungs. His doctor told him that had it continued into his

 18 lungs, he could have very well died. (See Medical Records, Exhibit U.)

 19        Guillain-Barré Syndrome is an auto-immune disorder wherein the body's
 20 immune system attacks itself. There is no known cure for Mr. Harris's condition.

 21 The syndrome damages parts of nerves. The nerve damage causes tingling, muscle

 22 weakness, and paralysis. Most often it affects the nerve's covering (myelin sheath).

 23 Such damage is called demyelination and causes nerve signals to move more slowly.

 24 Damage to other parts of the nerve can cause the nerve to stop working altogether.

 25        When the condition is triggered in any way, the patient will need to go to the
 26 hospital for treatment, which may include artificial breathing support. Clearly, Mr.
 27 Harris, under CDC guidelines, fits the criteria for prisoners who are most vulnerable

 28 to COVID-19 coronavirus. If he were to contract COVID-19 while in prison, he


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  1 would be at grave risk. While much about this disease remains unknown, it is well-

  2 established that older persons with auto immune illnesses are among those at greatest

  3 risk.

  4         Mr. Harris' Bureau of Prisons Health Services "Health Problems" records
  5 reflect that he has been diagnosed with GBS, and its effects have shown up in

  6 various ways over the years. For instance, his record indicates that in the past while

  7 in BOP custody, he has been diagnosed with peripheral neuropathy, unspecified;

  8 Glaucoma, unspecified; hypertension; joint pain -- all of which are consistent with

  9 the effects of GBS. (See BOP Health Services Records, Exhibit V.) In addition, Mr.
 10 Harris has had to be very careful with his balance since falling down the stairs, to

 11 guard against falling, which occurred in his housing unit recently.

 12         With a damaged immune system, Mr. Harris is highly susceptible both to
 13 contracting and to succumbing to the COVID-19 coronavirus if it is introduced into

 14 his dorm. The Centers for Disease Control ("CDC") consider the most vulnerable to

 15 include people with a condition that affects their lungs, heart, kidneys, immune

 16 system or who have another serious chronic medical condition. The immune system

 17 vulnerability describes Mr. Harris' situation. When Mr. Harris first contracted

 18 Guillain-Barré Syndrome 24 years ago, he was a 34 year old strong and robust man

 19 and he was able to fight off death. In the intervening years, GBS has chipped away

 20 at his health. Simply put, if he is infected with COVID-19 coronavirus, he probably

 21 will not survive.

 22         This COVID-19 pandemic is so serious, and the concern for the safety of
 23 vulnerable federal inmates and prison staff (and through them, the community-at-

 24 large) so great, that when Congress passed the CARES Act on March 27, 2020, they

 25 specifically included a provision (Section 12003(b)(2)) to address the need to reduce

 26 the elderly and medically vulnerable inmate population, by releasing those inmates
 27 to home confinement. On April 3, 2020, Attorney General Barr ordered the

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  1 immediate release to home confinement of such vulnerable inmates. To date, Mr.

  2 Harris has not been considered for release.

  3        2.     Mr. Harris' Ability to Avoid Contracting and Dying From the COVID-
  4               19 Coronavirus is Made Impossible By the Overcrowding in His
  5               Housing Unit at Lompoc FCI Prison, His Inability to Maintain Social
  6               Distancing in That Prison Setting, and the Continual Coming And
  7               Going of 15 to 30 Prison Staff In and Out of His Housing Unit Each
  8               Day Without Masks or Any Other Protective Gear, Place Mr. Harris
  9               Squarely in the Path of the Contagion
 10        The Lompoc Prison Complex consists of four separate institutions totaling
 11 approximately 2761 inmates, as of DOJ statistics from late March, 2020. Lompoc

 12 U.S. Penitentiary, a medium-security prison, confines approximately 974 prisoners.

 13 Lompoc Federal Correctional Institution ("FCI"), confines approximately 1,278

 14 inmates. Two of the lowest-security "camps" confine the remaining approximately

 15 519 prisoners in the Lompoc complex.

 16        Correctional Officers ("c.o.'s"), nurses, and all other Bureau of Prison ("BOP")
 17 staff travel repeatedly back and forth between the outside world and into the confines

 18 of the Lompoc Prison Complex, into various FCI housing units, including Mr.

 19 Harris's housing unit. In his housing unit, which is an unheated warehouse-style

 20 building holding approximately 235 other prisoners, there are six large fans which

 21 blow the interior air in every direction.

 22        Staff has told inmates, including Mr. Harris, that upon entering the prison
 23 compound, they are screened for COVID-19. Staff say the screening process

 24 consists of having their temperature checked for fever and being asked if they feel ill.

 25 No blood, nasal or throat swabs are taken for testing. Once they pass the cursory

 26 screening, they then are issued a flexible plastic bracelet that identifies clearance,
 27 and they enter the complex to work.

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  1        The screening process that the BOP implemented is inadequate because, as the
  2 CDC has reported, studies have shown that up to 25% of persons infected with

  3 COVID-19 virus do not exhibit fever or any other symptoms. Even those with the

  4 virus can be both asymptomatic and contagious for the first few days before

  5 symptoms appear. Without the ability to consistently test rather than merely verbally

  6 screen incoming prison staff for COVID-19, the BOP is ill-equipped and unable to

  7 provide and maintain proper safety measures either for its staff and especially for

  8 inmates, including Mr. Harris.

  9        Visitors to see inmates at the prison last were permitted inside the prison on
 10 March 8, 2020. Yet, on March 30, 2020, reporters confirmed the Lompoc prison

 11 complex was struck with multiple confirmed cases of the virus. The prison cluster of

 12 cases represented over ten percent of the cases in the county in which the prison is

 13 located, Santa Barbara County. With prison employees not wearing protective gear,

 14 such employees represent a danger to local outside communities in which they live,

 15 such as Santa Maria, Pismo Beach, Morro Bay, Lompoc, Solvang, Santa Ynez, and

 16 other surrounding communities.

 17        Given the living conditions, the skimpy testing procedures, the lack of social
 18 distancing, the asymptomatic character of the virus in some infected persons, and the

 19 lack of protection between staff and inmates, there are probably many more infected

 20 inmates in the Lompoc prison complex than current statistics indicate. With a two to

 21 three week gap from the last day the prison hosted visitors for inmates and the first

 22 reported case of infection at Lompoc prison, it is logical to conclude the BOP staff,

 23 despite the cursory screening, has introduced the COVID-19 virus into the prison,

 24 imperiling inmates, other staff members and, through the other staff, jeopardizing the

 25 community-at large.

 26        As this is being written, the Lompoc prison complex is the second most
 27 infected prison in the federal prison system, as measured by the number of cases of

 28 inmates and staff who have tested positive for COVID-19, as reported on the BOP


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  1 web site. The flawed process the BOP is following at the Lompoc prison complex

  2 unfairly imposes the deadly COVID-19 coronavirus on Mr. Harris and other inmates,

  3 especially those older and health-compromised inmates, such as Mr. Harris. The

  4 high risk of death for Mr. Harris if he catches the virus is a Fifth Amendment due

  5 process constitutional violation.

  6        3.     Specific Conditions in Mr. Harris' Dormitory are Exactly What the
  7               COVID-19 Coronavirus Needs to Spread Rapidly and Infect All
  8               Inmates in the Dormitory
  9        Lompoc FCI is the low-security institution within the Lompoc prison
 10 complex. It is comprised of four main housing units. Mr. Harris is housed in "J"

 11 unit. The building housing J-Unit is literally a warehouse, with a high ceiling and

 12 concrete floor. The interior air is unheated, even in winter when the outside

 13 temperature is below freezing. There are six extra-large fans which blow the

 14 unheated interior air in all directions. Mr. Harris' bunk is located approximately

 15 twenty feet from one of the fans. The doors to the unit are locked at night. The few

 16 narrow windows do not open to let in fresh air.

 17        The unit houses approximately 235 inmates in uncomfortably tight quarters,
 18 similar to housing on a Naval vessel. The prisoners sleep on bunk beds which are

 19 only three to four feet apart. There are eight rows of such bunk beds, each row

 20 having 15 or 16 bunks. The telephones for prisoner use are on a wall, about three

 21 feet from each other. Similarly, six computers also are located approximately three

 22 feet apart.

 23        It simply is not possible to achieve the social distancing recommended by the
 24 CDC, from the Emergency Declaration of the President, and other federal guidelines

 25 for avoiding COVID-19 infection.

 26        Prisoners in federal low security prisons, such as Lompoc FCI, are split, some
 27 housed in dorm-style facilities and some in cells. J-Unit is one such dorm style unit.

 28 This dorm environment creates a much greater risk for inmates of contracting and


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  1 spreading viruses. In the past, the flu and variants of the common cold, which often

  2 are other versions of coronavirus have spread rapidly once introduced to J-dorm.

  3        Prisoners in J-dorm sleep in bunk beds. There are two inmates approximately
  4 three to four feet from Mr. Harris on one side of his bunk, and two other inmates on

  5 the other side. There are two sets of bathrooms, one at either end of J-dorm, with

  6 sinks approximately two feet apart and urinals three feet apart. Telephones and

  7 computers also are three feet apart. The idea of social distancing in such a setting is

  8 not realistic or feasible.

  9        COVID-19 is spread through people being too close to other people. They do
 10 not need to touch. The virus, like the corona viruses which cause the common cold,

 11 can be spread simply by the infected person breathing and a person in the vicinity

 12 breathing in a virus particle from the breath of the infected person. Coughing and

 13 sneezing is not necessary for spread of the virus. With the large fans in J-dorm, an

 14 infected prisoner theoretically can infect dozens of other prisoners. Also, an infected

 15 person in the bathroom can leave behind contaminated water residue on a sink from

 16 which infection can spread to anyone who touches that water and then touches his

 17 face, clothing, toothbrush, etc.

 18        4.     The Response of the Bureau of Prisons
 19        The prison dormitory environment is unsafe. Attorney General Barr, in his
 20 March 26, 2020 memorandum described dormitories such as Mr. Harris's dormitory

 21 as a "Petri Dish." At Lompoc FCI, inmates who are ill and displaying symptoms are

 22 being sent to the medium security institution within the complex for quarantine

 23 rather than being transferred to a hospital. They are being kept there indefinitely

 24 rather than being returned back to the FCI from which they were sent. It is common

 25 belief within the FCI that they are being kept in the Segregated Housing Unit (SHU),

 26 which normally is used as a form of punishment for infractions of prison rules.
 27        Several inmates have sent requests to the acting warden to be evaluated to see
 28 if they can be selected to be released for home confinement. Inmates who inquire


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  1 have been told it is unlikely the acting warden will respond any time soon due to the

  2 emergency lockdown the prison is under. They have been told that at the moment

  3 the prison does not have an actual warden, but rather an "acting warden" and that

  4 normally the warden would not respond to those types of requests, but rather have

  5 subordinates respond. With those people possibly sick or reassigned to correctional

  6 officer status during this emergency, prisoners who ask should not expect a response

  7 anytime soon.

  8        All upper branches of the prison administration have been crippled due to the
  9 lockdown circumstances. Although officially the lockdown is for fourteen days,
 10 several officers have suggested it will be a 21-day or 30-day lockdown. Both

 11 inmates and staff are unclear about what is really going on. During the week ending

 12 April 4, 2020, those staff willing to come to work were on mandatory double shifts.

 13 The Attorney General has urged the BOP to release eligible non-violent qualified

 14 inmates who file a request for release. Therefore, there is no staff for inmates to

 15 submit to or receive a response from. Even if administrative offices were fully

 16 staffed at Lompoc, under normal conditions administrative remedies can take several

 17 weeks or even months. With the COVID-19 already inside the prison, those

 18 remedies are impossible to obtain in a timely manner.

 19        One reasonably can assume that the situation in federal prisons is one reason
 20 why Attorney General Barr in his April 3, 2020 memo to the BOP wrote: "...now that

 21 I have exercised my authority under the CARES act, your review should include all

 22 at-risk inmates -- not only those who are previously eligible for transfer... Given the

 23 speed with which this disease has spread through the general public, it is clear that

 24 time is of the essence. Please implement this memorandum as quickly as possible..."

 25 (Emphasis provided.) The problem is, as mentioned above, there is no staff

 26 available.
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  1        5.     Conditions at the Lompoc Prison Complex Create a "Perfect Circle of
  2               Contamination and Infection" Between the Prison and the Outside
  3               Community, Exacerbating the Infection Rate for Both
  4        On April 6, 2020, the Surgeon General of the United States said that 25% to
  5 50% of COVID-19 coronavirus cases are asymptomatic but also contagious before

  6 the infected person begins to show symptoms. He recommended that all persons

  7 wear masks. Yet, in spite of the Surgeon General's recommendation, in Mr. Harris'

  8 dormitory, as of April 6, 2020, the wearing of masks by the C.O.'s has been optional,

  9 and only approximately 10% have worn them. This creates an extremely dangerous
 10 environment for Mr. Harris and others who meet the CDC definition of vulnerability.

 11        As mentioned earlier, the COVID-19 coronavirus undoubtedly was introduced
 12 to Lompoc prison inmates by way of one or more staff members coming to work

 13 from the outside community. Once the virus was inside the prison, inmates

 14 undoubtedly have passed the virus both to other inmates and to staff. Those staff

 15 members, once infected, not only place other inmates and staff at risk, but also their

 16 loved ones, friends and the outside community. Thus, the Lompoc prison complex,

 17 including the FCI where Mr. Harris is located, is a key link in the "perfect circle" of

 18 contamination and infection by the COVID-19 virus. In a very real sense, the outside

 19 community is as much at risk as the inmates and staff.

 20        6.     Attorney General Barr has Recognized the Need for the BOP to Release
 21               Vulnerable Prisoners Immediately
 22        Realizing how impossible it is for the BOP to effectively fight the COVID-19
 23 coronavirus, Attorney General Barr on April 3, 2020, ordered the BOP "to move

 24 with dispatch and using home confinement...to move vulnerable inmates out

 25 of...institutions [at risk]." He said, "The CARES Act now authorizes me to expand

 26 the cohort of inmates who can be considered for home release upon my finding that
 27 emergency conditions are materially affecting the functioning of the Bureau of

 28 Prisons. I hereby make that finding and direct that...you give priority in


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  1 implementing these new standards to the most vulnerable inmates at the most

  2 affected facilities..."

  3        Attorney General Barr's memo continued, "While BOP has taken extensive
  4 precautions to prevent COVID-19 from entering its facilities and affecting our

  5 inmates, these precautions...have not been perfectly successful at all institutions."

  6 With that said, the Lompoc prison complex is one of the most affected facilities in

  7 the entire federal prison system.

  8        7.     Eighth Amendment Protects Inmates Against Future Harm to Health
  9               Risks
 10        In this court's recent ruling on March 27, 2020, your honor stated and quoted
 11 the following: "That the Eighth Amendment protects against future harm to inmates

 12 is not a novel proposition." Helling, 509 U.S. at 33. The Supreme Court clearly

 13 states that "...the Eighth Amendment protects [prisoners] against significantly

 14 imminent dangers as well as current, unnecessary infliction of pain and suffering..."

 15 Helling, 509 U.S. at 33. Indeed, the Court concluded that where prisoners in

 16 punitive isolation were crowded into cells and some of them had infectious maladies,

 17 "...the Eighth Amendment required a remedy, even though it was not alleged that the

 18 likely harm would occur immediately and even though the possible infection might

 19 not affect all of those exposed." Helling, 509 U.S. at 33.

 20        "The Eighth Amendment is violated when a condition of a criminal detainee's
 21 confinement puts him at substantial risk of suffering serious harm and that the

 22 condition causes suffering inconsistent with contemporary standards of human

 23 decency. See Smith v. Wash., 781 F. Appx. 595, 597-598 (9th Cir. 2019)."

 24        "The Supreme Court has acknowledged that it has '...great difficulty agreeing
 25 that prison authorities may not be deliberately indifferent to an inmate's current

 26 health problems but may ignore a condition of confinement that is sure or very likely
 27 to cause serious illness and needless suffering the next week or month or year.'

 28 Helling, 509 U.S. at 33."


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  1        In conclusion, based on Mr. Harris' condition and the BOP's inability to follow
  2 the CDC's recommendation for keeping vulnerable prisoners safe from the COVID-

  3 19 virus via social distancing and other life-saving procedures, Mr. Harris' condition

  4 constitutes an overwhelmingly extraordinary and compelling reason for sentence

  5 reduction to time served/immediate release.

  6                                          VIII.
  7    EMERGENCY COMPASSIONATE RELEASE: INCREASINGLY DISTRICT
  8   COURT JUDGES ARE EXERCISING THEIR ENHANCED DISCRETIONARY
  9 AUTHORITY THROUGH "COMPASSIONATE RELEASE" (AS AMENDED BY
 10   THE FIRST STEP ACT OF 2018) AND §3582(c)(1)(A) TO PROVIDE RELIEF
 11       FOR FEDERAL DEFENDANTS BY REDUCING THEIR SENTENCES
 12             FOR EXTRAORDINARY AND COMPELLING REASONS
 13        More and more judges across our nation are utilizing their discretionary power
 14 to provide relief to defendants with meritorious extraordinary and compelling claims.

 15        One of the most important reforms of the First Step Act gave people the right
 16 to go to federal court and ask a judge to grant compassionate release if the Bureau of

 17 Prisons either denies a request or does not answer a request within 30 days.

 18        Just to highlight a few of the District Court Judges who have answered the call
 19 in extraordinary and remarkable ways:

 20        District Court Judge Marina Garcia Marmolejo resentenced Conrado Cantu to
 21 time served. See United States v. Cantu, No. 1:05-CR-458-1, 2019 WL 2498923

 22 (S.D.Tex. June 17, 2019). Judge Marmolejo did so after finding that Cantu

 23 presented "extraordinary and compelling reasons" for a sentence reduction under the

 24 compassionate release statute contained in 18 U.S.C. §3582 (c)(1)(A).

 25       Importantly, Judge Marmolejo held that criteria contained in the sentencing
 26 guidelines for compassionate release was inconsistent with the changes that
 27 Congress made to the compassionate release statue in The First Step Act. Because of

 28 that conflict, she concluded:


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  1                Thus, the correct interpretation of 3582(c)(1)(A) -- based
  2                on the text, statutory history and structure, and
  3                consideration of Congress's ability to override any of the
  4                commission's policy statements 'at any time', Mistretta v.
  5                United States, 488 U.S. 361, 394 (1989) -- is that when a
  6                defendant brings a motion for a sentence reduction under
  7                the amended provision, the Court can determine whether
  8                any extraordinary and compelling reasons other than those
  9                delineated in U.S.S.G. §1B1.13 cmt.n.1(A)-(c) warrant
 10                granting relief.
 11        Nothing in the statutory text of §3582(c), nor the Sentencing Guidelines,
 12 precludes a District Court from making its own determination of what are

 13 "extraordinary and compelling" circumstances warranting a reduction of sentence.

 14 Congress intended for compassionate release to act as a second look provision in

 15 1984, when it enacted the compassionate release provision while at the same time

 16 abolishing parole. The problem was that Congress handed over the triggering

 17 mechanism to the Director of the Bureau of Prisons, which gave the Director the

 18 power to set the criteria no matter what the U.S. Sentencing Commission said.

 19 Congress fixed that problem in The First Step Act, by allowing federal judges to

 20 have the authority to reduce sentences even if the BOP director finds that

 21 extraordinary and compelling reasons aren't present. And the criteria in U.S.S.G.

 22 §1B1.13 cmt.n.1(D) is inconsistent with these Congressional changes and thus is no

 23 longer binding on federal judges.

 24        Another judge also recently found that the criteria for compassionate release
 25 contained in the U.S. Sentencing Guidelines is inconsistent with the statutory

 26 changes made by The First Step Act. Recently, District Court Judge Sim Lake
 27 reduced Arturo Cantu-Rivera's prior sentence of two concurrent life sentences to

 28 time served.


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  1        Judge Lake based the sentence reduction on two grounds. The judge first
  2 found that Cantu-Rivera met the age-related criteria under the guidelines. But more

  3 importantly, Judge Lake found U.S.S.G. §1B1.13 cmt.n.(1)(D) was inconsistent with

  4 the statutory changes made by Congress through the First Step Act. See Page 3, n.1

  5 ("Because the current version of the guideline policy statement conflicts with the

  6 First Step Act, the newly-enacted statutory provisions must be given effect.").

  7        Another opinion finds Statutory Reform among "Extraordinary and
  8 Compelling Reasons" for reducing sentences under 3582(c)(1)(a). In United States

  9 v. Maumau, (No.208-cr-00758-TC-11) (D. Utah, Feb 18 2020), U.S. District Judge
 10 Tena Campbell provided an extended, thoughtful review of recent compassionate

 11 release jurisprudence and the changes to §3582(c)(1)(A) brought by the First Step

 12 Act.

 13        As background, Defendant Maumau was sentenced to 57 years in prison for
 14 Racketeering Conspiracy, Hobbs Act Robbery, and Assault with a Dangerous

 15 Weapon. The sentence was later reduced to 55 years following an appeal. Now, after

 16 having served approximately ten years in prison, Maumau filed a motion to reduce

 17 his sentence under 18 U.S.C. §3582(c)(1)(A).

 18        Here are some excerpts from the opinion that helps highlight its importance:
 19              This Court joins the majority of other district courts that
 20              have addressed this issue in concluding that it has the
 21              discretion to provide Mr. Maumau with relief, even if his
 22              situation does not directly fall within the Sentencing
 23              Commission's current policy statement. Under the First
 24              Step Act, Congress eliminated the consecutive stacking
 25              previously required for violations of 924(c) [which had led
 26              to a 55-year sentence for the defendant for crimes
 27              committed at age 20]... When considered together, the
 28              court is inclined to find that Mr. Maumau's age, length of


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  1             sentence imposed, and the fact that he would not receive
  2             the same sentence if the crime occurred today, all represent
  3             extraordinary and compelling grounds to reduce his
  4             sentence.
  5             The United States points out in its opposition that Mr.
  6             Maumau's request is unlike the vast majority of
  7             compassionate release requests because he is not suffering
  8             from any medical- or age-related physical limitations. But
  9             the fact that such cases are uncommon does not mean that
 10             Mr. Maumau's request must be denied. First, the lack of
 11             such cases is, at least arguably, part of what spurred
 12             Congress to pass the First Step Act... Finally, and perhaps
 13             most importantly here, at least one district court has
 14             modified a sentence based solely on the First Step Act's
 15             changes to 924(c) sentencing... Like the Urkevich court,
 16             this court concludes that the changes in how 924(c)
 17             sentences are calculated is a compelling and extraordinary
 18             reason to provide relief on the facts present here.
 19             The United States objects to this conclusion because, it
 20             notes, Congress could have made its changes to 924(c)
 21             retroactive but it chose not to do so. See Brown, 2019 WL
 22             4942051 at *5. While this is a relevant consideration, it
 23             ultimately has little bearing on the court's conclusion. It is
 24             not unreasonable for Congress to conclude that not all
 25             defendants convicted of 924(c) should receive new
 26             sentences, even while expanding the power of the courts to
 27             relieve some defendants of those sentences on a case-by-
 28


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  1             case basis. As just noted, that is precisely the approach
  2             taken by the Urkevich court.
  3             Based on the above, the court concludes that a combination
  4             of factors, Mr. Maumau's young age at the time of the
  5             sentence, the incredible length of mandatory sentence
  6             imposed, and the fact that, if sentenced today, he would
  7             not be subject to such a long term of imprisonment,
  8             establish an extraordinary and compelling reason to reduce
  9             Mr. Maumau's sentence...
 10             Regarding what type of sentence to impose, Mr. Maumau
 11             "urge[s] the court to...hav[e] him brought to the district,
 12             where he can be interviewed by probation and perhaps
 13             have an opportunity to address the Court." (Def's Reply at
 14             1 (ECF No.1744).) The Court agrees that this is the best
 15             way for the Court to determine an appropriate sentence
 16             modification.
 17             Accordingly, the Court sets this matter for hearing at 2:00
 18             p.m. on April 7th. At that time, Mr. Maumau and the
 19             United States will be permitted to present their arguments
 20             regarding what would be an appropriate sentence for Mr.
 21             Maumau in light of the above factors. The Court further
 22             orders Mr. Maumau, in advance of the resentencing
 23             hearing, to meet with the Probation Office, and for the
 24             Probation Office to prepare a new Presentence Report that
 25             addresses Mr. Maumau's character, his danger to the
 26             public, his likelihood of rehabilitation or recidivism, the
 27             type of sentence he likely would have received had he been
 28


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  1              charged and convicted after the First Step Act had been
  2              passed, and any other relevant considerations."
  3        In United States v. Tran, 8:08-cr-197-DOC, Dkt. No. 405 (C.D. Cal. Apr. 10,
  4 2020), U.S. District Court Judge David O. Carter in the Central District of California

  5 granted immediate release on April 10, 2020 to Defendant Vo Duong Tran. The

  6 parallels between Tran and Michael Harris are notable. Like Mr. Harris, Mr. Tran

  7 had been convicted of a serious offense (in Tran’s case, conspiracy to commit a

  8 robbery affecting interstate commerce, in violation of 18 U.S.C. §1951(a) (“the

  9 Hobbs Act”); interstate travel and acquisition of a firearm with intent to commit a
 10 robbery, in violation of 18 U.S.C. §924(g); possession of firearms in furtherance of a

 11 “crime of violence,” namely, the Hobbs Act robbery conspiracy charged in Count

 12 One and the §924(g) offense charged in Count Two; and possession of a machine

 13 gun, in violation of 18 U.S.C. §922(o)(1).

 14        Defendant Tran is currently age 52, six years younger than Mr. Harris. Like
 15 Mr. Harris, Defendant Tran has suffered from a respiratory condition for many years

 16 (asthma in Tran’s case, Guillain-Barré Syndrome in Mr. Harris') which leaves him

 17 particularly susceptible to harm from COVID-19. And like Mr. Harris, who is at FCI

 18 Lompoc, Tran was at FCI Oakdale, both among the hardest-hit BOP facilities where

 19 the virus is raging out of control and inmate deaths at both places have occurred. In

 20 his written decision explaining why he was granting the order, Judge Carter stated:

 21              The Court is persuaded that Defendant presents an
 22              extraordinary and compelling reason for compassionate
 23              release and that such release is consistent with applicable
 24              policy considerations. The Court is aware of the current
 25              global health crisis caused by COVID-19. The President
 26              has declared a National Emergency, and states and
 27              localities across the nation have implemented measures to
 28              stymie the spread of the novel coronavirus. And while the


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  1             Court is aware of the measures taken by the BOP, news
  2             reports of the virus’s spread in detention centers within the
  3             United States and beyond our borders demonstrate that
  4             individuals housed within our prison systems nonetheless
  5             remain particularly vulnerable to infection. See, e.g.,
  6             Danielle Ivory, “We Are Not a Hospital: A Prison Braces
  7             for the Coronavirus,” N.Y. Times (March 17, 2020),
  8             https://www.nytimes.com/2020/03/17/us/coronavirus-
  9             prisons-jails.html (citing densely populated living
 10             conditions, dearth of soap, hand sanitizer, and protective
 11             gear, and impossibility of maintaining safe distance
 12             between inmates and guards as reasons prisoners are at
 13             particular risk of infection).
 14             Indeed, at the prison Defendant is housed, six individuals
 15             have died after testing positive for the virus and at least 56
 16             other inmates and staff have tested positive. See COVID-
 17             19, Fed. Bureau of Prisons (April 10, 2020),
 18             https://www.bop.gov/coronavirus/. In this case, Defendant
 19             has been diagnosed with a serious medical condition that,
 20             according to reports from the Center for Disease Control,
 21             make him particularly vulnerable to severe illness from
 22             COVID-19. See People Who Are at Higher Risk for
 23             Severe Illness, CDC (April 10, 2020)
 24             https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
 25             precautions/people-at-higher-risk.html. Thus, the Court
 26             finds that Defendant has demonstrated an extraordinary and
 27             compelling reason for compassionate release.
 28


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  1              Moreover, the Court is persuaded that the applicable
  2              §3553(a) factors support Defendant’s request for
  3              compassionate release and that Defendant will not pose a
  4              threat to the community. While the Court acknowledges
  5              the seriousness of Defendant’s offense, Defendant has
  6              already served the vast majority of his sentence and has a
  7              criminal history category of I. The length of Defendant’s
  8              incarceration adequately expresses the seriousness of the
  9              offense, deters criminal conduct, and protects the public
 10              under §3553(a). Because of Defendant’s serious medical
 11              condition and the length of time already served, the Court
 12              is persuaded that Defendant will not pose a threat to the
 13              community.
 14              Pursuant to 18 U.S.C. §3582(c)(1)(A), the Court finds that
 15              extraordinary and compelling reasons warrant a reduction
 16              of Defendant’s sentence, that Defendant does not pose a
 17              danger to any other person or the community, that the
 18              §3553(a) factors support a reduction, and that the reduction
 19              is consistent with currently applicable Sentencing
 20              Commission policy statements.
 21       In another case decided four days later in the Western District of Washington,
 22 United States v. McPherson, Case No. 3:94-cr-5708, Dkt. No. 209 (W.D. Wash. Apr.

 23 14, 2020), Hon. Robert J. Bryan granted the request for compassionate release of

 24 Defendant Eric Detrick McPherson. The defendant, age 57 (one year younger than

 25 Mr. Harris), had been sentenced in October of 1995 to 392 months (32.6 years in

 26 prison) for conspiracy to commit armed bank robbery; and two counts of using a
 27 firearm in connection with a crime of violence. The judge found that McPherson

 28 was not a danger to the safety of any other person or to the community as provided in


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  1 18 U.S.C. §3142(g); that he suffered from serious medical and physical conditions

  2 which substantially diminished his ability to provide self-care within the

  3 environment of a correctional facility and that he was at risk for COVID-19; and that

  4 he had been rehabilitated during his incarceration. Judge Bryan’s written order states

  5 in part:

  6              While his physical condition and his rehabilitation are not
  7              stand-alone justifications for a sentence reduction, those
  8              reasons, in combination with the reasons set forth below,
  9              militate toward a time served sentence reduction….
 10              So we have here Mr. McPherson, sentenced to over 32
 11              years in prison for what is now probably a 17-year crime.
 12              His sentence was 15 years beyond what is now deemed a
 13              fair penalty by our law, and he has already served 26 years
 14              of that now clearly unfair sentence. It is extraordinary that
 15              a civilized society can allow this to happen to someone
 16              who, by all accounts, has long since learned his lesson.
 17              In spite of all indications being that Defendant is safe to be
 18              at large, some may wonder if he is truly rehabilitated. The
 19              Defendant is facing five years of supervised release –
 20              limitations on his freedoms – during which he can be
 21              quickly returned to custody if he shows signs of likely
 22              recidivism.
 23              Mr. McPherson presents an extraordinary and compelling
 24              story that provides reasons for a sentence reduction, and
 25              that compels this judge to grant him the relief he seeks.
 26              Therefore, the Court finds that there are extraordinary and
 27              compelling reasons warranting a reduction of Defendant’s
 28


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  1              custodial sentence to time served. All other conditions in
  2              his original sentence will remain as ordered.
  3                                            IX.
  4     CONCLUSION: A REVIEW OF THE UNIQUE, EXTRAORDINARY AND
  5       COMPELLING FACTUAL AND LEGAL GROUNDS MILITATES FOR
  6       A REDUCTION OF MR. HARRIS’ SENTENCE AND RELEASE FROM
  7        CUSTODY UNDER THE AUTHORITY OF 18 U.S.C. §3582(c)(1)(A)
  8        Mr. Harris was born into turbulent times. He was raised by his mother, a
  9 single parent, who instilled in him values that emphasized responsibility and hard
 10 work. By the age of thirteen, Mr. Harris already was contributing to his family's

 11 finances. As a youth, Mr. Harris had a passion for life and a connection to his

 12 community. In high school, Mr. Harris exhibited a talent for photography, music,

 13 and film. After graduating high school he entered community college to earn a

 14 business degree. Though Mr. Harris never completed college, he started several

 15 legitimate businesses and had plans for creating his own entertainment company.

 16 For twenty-three years Mr. Harris did the right thing; he never planned on selling

 17 drugs, nor did he dream of coming to prison. Unfortunately, Mr. Harris started to

 18 "hustle on the streets" and one thing led to another. What started out small earlier in

 19 the 1980’s had become large by 1988.

 20        At a young age and lacking the proper guidance, Mr. Harris made the terrible
 21 decision in those years to engage in criminal activity. Every single day since then,

 22 for the past thirty-two years, he has continued to pay the price for his youthful

 23 mistakes. Yet by every account, he is no longer the same person, with his attitude,

 24 values and approach to life having undergone a complete metamorphosis. An

 25 assessment of the 18 U.S.C. §3553(a) factors, as they apply to Mr. Harris, yields a

 26 strong and inescapable conclusion: There is no longer any legitimate penological or
 27 societal interest to be served by his continued incarceration. Retribution has been

 28 achieved, justice has been served, a stronger deterrent message has been imparted,


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  1 rehabilitation has succeeded, and all of the other objectives of incarceration have

  2 most certainly been met.

  3        Mr. Harris was remanded into custody on April 16, 1988 on state charges. In
  4 1990, Mr. Harris was sentenced by the U.S. District Court to serve a determinate

  5 term of nineteen years, to run consecutive to an undischarged three-year determinate

  6 state term he was "presently serving." And yet, in 2020, three decades later, Mr.

  7 Harris remains still imprisoned, with nearly a decade still to serve on his original

  8 1990 federal sentence. The 32 years of continuous incarceration that Mr. Harris

  9 already has served have consumed over 85% of his adult life, and by any measure
 10 represents a very substantial punishment that reflects the seriousness of his offenses

 11 and the need for adequate deterrence. Also, it is a period of time that amply

 12 promotes respect for the law and provides just punishment for his crimes.

 13        With respect to the need to avoid sentencing disparities, Mr. Harris' sentence
 14 was disparate relative to his more culpable co-defendants, who have all years ago

 15 been released from prison. At age 58, Mr. Harris not only is statistically unlikely to

 16 recidivate -- his 32 years in prison without a major disciplinary infraction, his

 17 substantial and documented post-conviction rehabilitation, and the fact that he was

 18 deemed suitable for release from a life sentence by the California State Parole Board

 19 all provide this Court with clear and refutable evidence that he does not any longer

 20 pose a danger to the safety of others or to the community.

 21        Equally important to why Mr. Harris has served 32 years in prison is how Mr.
 22 Harris chose to serve those years. Mr. Harris has demonstrably grown, matured,

 23 atoned, given back, and has a proven post-conviction record that simply is amazing.

 24 He devoted years to participating in numerous rehabilitative programs to pursue a

 25 journey of self-reflection and personal transformation. He had a central role in

 26 conceptualizing, developing and running a host of inmate rehabilitation programs
 27 that have assisted thousands of other prisoners in transforming their own lives as

 28 they prepare for a successful reentry.


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  1        Mr. Harris' exceptional post-conviction efforts are fully documented in
  2 numerous attached letters which verify his journey of redemption. Some of these

  3 letters come from volunteers, who have dedicated large portions of their lives to

  4 assisting inmates in their rehabilitation and reentry process back into their

  5 communities. Some are from prison officials, professionals tasked with assessing a

  6 prisoner's conduct and rehabilitation, all who strongly support Mr. Harris and

  7 recommend he be released. Some are from elected officials, law enforcement, and

  8 community leaders, who all believe Mr. Harris can leverage his unique experience to

  9 help stop the gang violence plaguing their communities. Some come from former
 10 prisoners, who have paroled and have become stable and productive members of

 11 their communities, each crediting Mr. Harris as a mentor and influential source of

 12 guidance and motivation. And some are from his family members, who desperately

 13 want Mr. Harris finally to return home, including from both his daughters, one, now

 14 35, who was three years old when her father began his journey in prison, and another

 15 daughter, now in her twenties, who never has known her father as a free man.

 16        Mr. Harris has provided clear and convincing evidence that his post-
 17 conviction rehabilitation is substantial and well-documented and he is an inmate

 18 whose case deserves a "second look" by this Court. But, when Congress passed the

 19 SRA in 1984, which included §3582(c)(1)(A), they stated that "[r]rehabilitation of

 20 the defendant alone shall not be considered an extraordinary and compelling reason"

 21 warranting release. In his motion before this Court, Mr. Harris has included several

 22 other grounds which this Court should consider "extraordinary and compelling," thus

 23 warranting the relief he seeks.

 24        First, when Mr. Harris was indicted by the federal grand jury, he instructed his
 25 attorney to inform the government that he was willing to accept responsibility and

 26 would plead guilty to his role in the charged criminal offense. The government,
 27 however, refused to allow Mr. Harris to plead guilty unless he provided Substantial

 28 Assistance against his co-defendants. Had Mr. Harris been allowed to enter into a


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  1 non-cooperation plea agreement, like six of his co-defendants who were actual

  2 supervisees in the conspiracy, he would have received a significantly lower sentence

  3 and like those co-defendants, would be a free man today.

  4        Second, when Mr. Harris was brought to trial, he was charged as a co-
  5 conspirator and supervisee of Mario Villabona and Brian Bennett. Because of this

  6 improper jury instruction, Mr. Harris was found guilty for the substantive acts of his

  7 co-defendants who were active participants in the conspiracy, and not as a direct

  8 result of his involvement as a customer of the conspiracy. In 1995, Villabona's and

  9 Bennet's §848 CCE/Kingpin convictions were overturned when the government
 10 conceded that Mr. Harris was not a "supervisee" of the conspiracy, but merely a

 11 buyer/seller. Had the buyer/seller jury instruction been made available to Mr. Harris

 12 during the trial, there is a reasonable probability that a different verdict would have

 13 been reached for Mr. Harris, and like Mr. Villabona and Mr. Bennett, Mr. Harris

 14 would be a free man today.

 15        During the course of the investigation into the Villabona/Bennett conspiracy,
 16 numerous drug weights were attributed to different individuals on various dates. But

 17 the only specific reference to a drug weight of 2,776 kilograms of cocaine is found in

 18 the original Grand Jury transcript and was attributed to an intercepted phone call in

 19 December, 1987 between Mario Villabona and Maria Barona discussing the overall

 20 amount of cocaine they distributed during the preceding years. Further, in Mr.

 21 Harris' PSR, the Probation Office attributes the entire 2,776 kilograms of cocaine

 22 specifically to Mario Villabona (see PSR, ¶70). The only drug weight directly

 23 attributed to Mr. Harris' own actions was an 11.5 kilogram cocaine deal, referenced

 24 in an intercepted phone call between Mr. Harris and Mr. Villabona.

 25        When the Probation Office determined Mr. Harris' base offense level for
 26 sentencing, it incorrectly attributed the entire amount of cocaine (2,776 kilograms)
 27 alleged in the whole conspiracy to Mr. Harris. Since the Probation Office attributed

 28 the same 2,776 kilograms of cocaine to Villabona, the leader of the conspiracy, as


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  1 they did to Mr. Harris, this calculation was not the result of an individualized drug

  2 quantity determination based upon Mr. Harris' own offense conduct, as required by

  3 the Sentencing Guidelines. The District Court failed to determine the scope of Mr.

  4 Harris' agreement with his co-conspirators before sentencing him on the basis of all

  5 the conspiracy's sales during the period of his participation.

  6        Unlike criminal liability for acts of co-conspirators [see U.S.S.G. §1B1.3
  7 comment (n.1)], "the sentencing court may not rely simply upon the total amount

  8 involved in drug conspiracy, but must undertake an individualized evaluation of the

  9 amount for which [the defendant] is accountable under the Guidelines." United
 10 States v. Newland, 116 F.3d 400, 405 (9th Cir. 1997). See also United States v.

 11 Petty, 992 F .2d 8867, 890 (9th Cir. 1993) ("Under the Guidelines each

 12 conspirator...is to be judged not on the distribution made by the entire conspiracy but

 13 on the basis of the quantity of drugs which he reasonably foresaw or which fell

 14 within the scope of his particular agreement with the conspirators.").

 15        The reason for Mr. Harris' continued insistence to correct the factual record,
 16 by attributing only the amount of cocaine Mr. Harris was directly responsible for, is

 17 two-fold. First, the correct amount of cocaine attributable to Mr. Harris would

 18 significantly reduce his federal sentence. And second, it finally would correct the

 19 misperception that Mr. Harris was intimately involved in the Villabona conspiracy.

 20        Mr. Harris is not attempting to mislead the Court into believing he was not
 21 involved in the drug trade; he was. Mr. Harris is not denying that for a time he

 22 distributed drugs; he did. Nor is Mr. Harris attempting to minimize the damage the

 23 drugs he distributed caused his community, which is undeniable.

 24        What Mr. Harris is trying to convey to the Court is that his involvement, as it
 25 relates to the Villabona conspiracy for which he was indicted, was simply as a

 26 customer, who was directly identified on a single occasion attempting to purchase
 27 drugs from the Villabona organization. Having the entire 2,776 kilograms of cocaine

 28 incorrectly attributed to him was highly prejudicial, and in the sentencing Court's


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  1 eyes simply reduced Mr. Harris' entire life to being a major drug dealer, completely

  2 overlooking all of the positive and legitimate accomplishments Mr. Harris had

  3 achieved in the first 23 years of his life.

  4        Another factor for this Court to consider is the Rule 32 error committed by the
  5 Sentencing Court when it failed to address Mr. Harris' request for a two-level minor

  6 role adjustment. Mr. Harris has consistently provided evidence that he was a

  7 customer of the Villabona organization and never a member of the larger conspiracy.

  8 The Probation Office, in Mr. Harris' PSR, specifically found Mr. Harris was

  9 "separate" and "apart" from the Villabona enterprise (see PSR, ¶109). In both his
 10 sentencing memorandum (see GER at 56-57) and during sentencing (see GER at

 11 128-131), Mr. Harris made his objections known to the government and the Court,

 12 arguing that based on the facts, his offense level should be reduced from 36 to 34. A

 13 review of the sentencing transcript will show the plain error, when the Sentencing

 14 Court never addressed Mr. Harris' objection, even to dismiss them in shorthand,

 15 which plainly goes against the "strict compliance" of Rule 32.

 16        Additionally, Mr. Harris' case is very unusual and unique which warrants a
 17 "second look" because it involves the actual innocence of a man who served 23 years

 18 of a life sentence in state prison, prior to the commencement of the 19-year federal

 19 sentence he is currently serving. The victim (and sole witness) in the state case

 20 admitted in a series of sworn declarations and affidavits -- and also testified under

 21 oath twice before the State Board of Parole Hearings -- that he had provided perjured

 22 testimony to convict Mr. Harris.

 23        It was based on the state crime, of which Mr. Harris actually is innocent, that
 24 the Sentencing Court ordered Mr. Harris' federal sentence to run consecutive to the

 25 undischarged determinate state sentence Mr. Harris was "presently serving." If the

 26 district court in 1990 had been aware that the only evidence used to convict Mr.
 27 Harris of his state crime was derived from perjured testimony, it is more likely than

 28 not that the federal court would have ordered Mr. Harris' federal sentence to run


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  1 concurrent to his undischarged state sentence and Mr. Harris would be a free man

  2 today.

  3          Another reason for the court to consider is the fact that due to extreme
  4 negligence or deliberate indifference, the Marshals failed to execute the District

  5 Court's 1990 sentencing order for over twenty years. It is clear from the record that

  6 the sentencing judge was aware Mr. Harris was serving two undischarged

  7 consecutive state sentences. When the District Court ordered Mr. Harris to serve a

  8 235-month federal term of imprisonment, it was ordered to run consecutive to the

  9 undischarged state sentence Mr. Harris was "presently serving," which was the first
 10 of the two undischarged state sentences.

 11          It was the sole responsibility of the Marshals to determine which undischarged
 12 state sentence Mr. Harris was "presently serving" when the federal sentence was

 13 imposed, and to determine the date that sentence expired. Had the Marshals done

 14 their due diligence when executing the District Court's sentencing order, they would

 15 have become aware Mr. Harris was serving a three-year determinate sentence that

 16 was set to expire on January 27, 1991. Instead of delivering Mr. Harris into the

 17 Custody of the Attorney General (CAG) in 1991 to commence serving his federal

 18 sentence, the Marshals improperly left him in state custody until Mr. Harris paroled

 19 from his second undischarged state sentence in 2011. Due to the failure by the

 20 Marshals to properly execute the District Court's order, Mr. Harris has been

 21 unlawfully denied credit to his federal sentence, from January 28, 1991 when the 3-

 22 year state term expired until the expiration of his federal sentence in 2008. Had the

 23 Marshals properly executed the District Court's order in 1991, Mr. Harris would be a

 24 free man today.

 25          A final "extraordinary and compelling" factor for this Court to consider is the
 26 current COVID-19 pandemic which has affected the globe and has caused the
 27 President to declare a National State of emergency. It has been well documented that

 28 the COVID-19 virus can be fatal to vulnerable persons who contract this disease. On


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  1 March 29, 2020, an inmate at FCI Oakdale became the first BOP COVID-19 death;

  2 as of today’s date at least 26 more Federal inmates are dead of this contagion, with

  3 scores of others hospitalized. The BOP is now operating under emergency

  4 conditions and has ordered a complete nationwide lockdown of all federal prisons.

  5 As of April 26, 2020, over 800 inmates and 350 staff have tested positive. Of those

  6 totals, 89 inmates and 27 staff have tested positive in Lompoc prison complex, which

  7 is where Mr. Harris is housed.

  8        A review of Mr. Harris' medical records (see Exhibit U) will confirm that in
  9 February, 1996, he contracted and almost died from Guillain-Barré Syndrome (GBS)
 10 while in the California state prison system. GBS is an incurable disease associated

 11 with a weakening of the breathing muscles that also severely compromises a person's

 12 immune system, thus making Mr. Harris highly susceptible to the COVID-19 virus if

 13 it is introduced into the dorm in which he is being housed. This pandemic is so

 14 serious, and the concern for the safety of vulnerable federal inmates and prison staff

 15 so great, that when Congress passed the CARES Act on March 28, 2020, they

 16 specifically included a provision (§12003(b)(2)) to address the need to reduce the

 17 elderly and medically vulnerable inmate population by releasing those inmates to

 18 home confinement.

 19        It is Mr. Harris' position, which is backed by a growing number of recent
 20 rulings by District Courts across the nation, that this Court has unfettered discretion

 21 when assessing a defendant's §3582(c)(1)(A) motion and determining whether

 22 "extraordinary and compelling reasons" exist to grant early release. In Mr. Harris'

 23 motion, he has presented multiple reasons that the Court can consider, either

 24 individually or collectively as part of a “combination of factors,” to reach the

 25 required threshold of "extraordinary and compelling reasons" warranting a reduction

 26 of sentence.
 27        The overarching upward trajectory of Mr. Harris' exceptional post-conviction
 28 behavior, within both the state and federal systems, strongly militates for a


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  1 reassessment of Mr. Harris' sentence. The sentencing considerations set forth in 18

  2 U.S.C. §3553(a), along with the “extraordinary and compelling reasons" that have

  3 been provided to be assessed both individually and cumulatively, all warrant this

  4 Court to take a "second look" at Mr. Harris' case and provide the right relief for a

  5 deserving defendant by granting Mr. Harris a "second chance."

  6        In reviewing the 18 U.S.C. §3553(a) factors, this Court may elect to invoke
  7 U.S.S.G. §5G1.3, Amendment 660, which allows the Court to resentence Mr. Harris

  8 under the present amended guideline provision which sets forth the following:

  9              Concurrent or consecutive subsection (c) cases. In
 10              circumstances not covered under subsection (a) or (b),
 11              subsection (c) applies. Under this subsection, the court
 12              may impose a sentence concurrently, partially
 13              concurrently, or consecutively. To achieve a reasonable
 14              punishment and avoid unwarranted disparity, the court
 15              should consider the factors set forth in 18 U.S.C. 3584
 16              (referencing 18 U.S.C. 3553) and be cognizant of:
 17              (a)    the type (e.g., determinate,
 18                     indeterminate/parolable) and length of the prior
 19                     undischarged sentence;
 20              (b)     the time served on the undischarged sentence and
 21                     the time likely to be served before release;
 22              (c)    the fact that the prior undischarged sentence may
 23                     have been imposed in state court rather than federal
 24                     court, or at a different time before the same or
 25                     different federal court; and
 26              (d)    any other circumstance relevant to the determination
 27                     of an appropriate sentence for the instant offense."
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  1        The updated version of U.S.S.G. §5G1.3, as modified by Amendment 660,
  2 could under this Court's review of §3553(a)(5) remedy the U.S. Marshals' error of

  3 improperly executing Mr. Harris' federal sentence.

  4        Providing Mr. Harris a reduction of his sentence today will be a statement of
  5 fairness and justice that will reflect this country's evolving criminal justice priorities.

  6        Accordingly, and for all the foregoing reasons, Mr. Harris respectfully submits
  7 that this Court enter an order, pursuant to 18 U.S.C. §3582(c)(1)(A), as amended by

  8 the First Step Act of 2018, and reduce his 235-month federal sentence to time served.

  9 Date: April 27, 2020                     Respectfully submitted:
 10
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